Case 1:23-cv-00272-MW-HTC Document 1-7 Filed 11/15/23 Page 1 of 146




               EXHIBIT G
9/7/23, 1:46 AM     Case 1:23-cv-00272-MW-HTC                  Document
                           Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                   Eligible NonCitizenship     11/15/23
                                                                                           Determination        Page 2 of 146
                                                                                                         [ ref:_00D412ElGo._5001K1FnuoE:ref ]



                                                                                                               Chris Garson <chris.garson@exlsolutions.net>



 Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]
 33 messages

 Chris Garson <chris.garson@exlsolutions.net>                                                                                        Wed, Jul 5, 2023 at 1:54 PM
 To: "Jiwon I. Byun-Garson" <jiwon.byungarson@ufl.edu>, sfa-help@mail.ufl.edu

   Hi Marie,

   Thank you for the update. Jiwon forwarded your email to me; I'm responding as the father of Jiwon Byun-Garson.

   We have spoken to the Department of Education, the Department of Homeland Security, and our immigration lawyer prior to submitting this, and all three
   have confirmed that her status (parolee) is eligible for aid. Here is the legal basis for this.

   First, the Department of Education's Federal Aid Student Handbook states the basis for my eligibility as one of the eligible non-citizen categories:



   Source: https://fsapartners.ed.gov/knowledge-center/fsa-handbook/2022-2023/vol1/ch2-us-citizenship-eligible-noncitizens

   Her evidence of parole status is indicated on my I-766 (Employment Authorization) with the endorsement of "I-512 ADVANCE PROLE". Additionally, I
   have a pending I-485 and submitted the applicable I-797C to evidence this. This card is valid for 2 years, meeting the 1 year parole requirement along
   with a pending I-485 (showing clear intent to become a permanent resident). These factors meet the eligible category of "Persons paroled into the US for
   at least one year" in accordance with the above.

   You can also see, for example, on the USC citizen verification form (linked below) that the "Employment Authorization with the notation of 'Serves as I-512
   Advance Parole'" is clearly eligible for federal aid under the "Person Paroled into the US for at least one year" category.

   Even though this is a different university, the federal rules still apply country-wide.

   Source: https://financialaid.usc.edu/docs/NCIT.S.pdf

   Second, the source of the parolee with a pending I-485 aid eligibility stems from Title 34 of the Federal Regulations.

   34 CFR § 668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose with the intention of becoming a citizen or
   permanent resident" are eligible for federal aid. The pending I-485 shows that she has a pending application for permanent residency.




   Source: https://www.ecfr.gov/current/title-34/subtitle-B/chapter-VI/part-668/subpart-C/section-668.33


   Third, the Department of Education, through the FAFSA process, has verified her eligibility with USCIS/DHS shown below. The date matches the date we
   submitted her FAFSA application. You indicated that you attempted to verify this yourself, but there is no record with DHS/USCIS that you (the school)
   attempted to do so after this date. All requests for verification with DHS are stored in the SAVE system. Her FAFSA shows that her status has been
   verified.




   ** Please clarify your legal basis for denying her aid that the DOE, DHS, Federal Regulations, and other schools clearly indicate she is eligible for.
   This may not be a situation you handle on a regular basis, so please review the legal basis above and let me know how we can appeal this determination.
   We can have our lawyer speak with your legal team if needed.

   The Federal Aid Student Handbook indicates that you may need to submit a third-level SAVE request to get the correct determination.

   Please let us know as soon as possible so we can resolve before the term begins.

   Regards,
   Chris Garson


   On Wed, Jul 05, 2023 at 11:59 AM, Jiwon I. Byun-Garson <jiwon.byungarson@ufl.edu> wrote:
    Sent from my iPhone

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:1770604138707119…                        1/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                             Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                     Eligible NonCitizenship     11/15/23
                                                                                             Determination        Page 3 of 146
                                                                                                           [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      Begin forwarded message:


               From: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
               Date: July 5, 2023 at 9:36:04 AM EDT
               To: "Byun-Garson, Jiwon I." <jiwon.byungarson@ufl.edu>
               Subject: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]


               ﻿Hello Jiwon,

               We submitted the documentation you gave to us for your eligible non-citizenship status to the Department of Homeland Security for their
               review to see if you are eligible for financial aid. Unfortunately, based on their review of the documentation provided, you are not eligible
               for financial aid with your current status. If in the future your status changes, please do not hesitate to reach out to us so that we can
               resubmit and check to see if your new status would qualify.

               While federal funding for your university endeavor, at least with your current immigration status, is not available, there are many other
               options available to you. You can check out our scholarship page to see if you qualify for any institutional or outside scholarships:
               http://www.sfa.ufl.edu/types-of-aid/scholarships/

               If you have any questions, please contact the UF OneStop at www.onestop.ufl.edu.

               Regards

               Marie Guerra Rosado
               Student Financial Aid and Scholarships
               Division of Enrollment Management

               ref:_00D412ElGo._5001K1FnuoE:ref


    2 attachments


                                                untitled
                                                87K


                                                untitled
                                                27K



 Chris Garson <chris.garson@exlsolutions.net>                                                                                             Fri, Jul 28, 2023 at 7:00 AM
 To: "Jiwon I. Byun-Garson" <jiwon.byungarson@ufl.edu>, sfa-help@mail.ufl.edu

   Hi Marie,

   I hope you've been well. Although we have not received a response from you, I see that on July 6th (the day after I sent the previous email) , the DHS
   SAVE case was reopened, presumably because you submitted a third step request. As of this email on July 28th, the case is still pending.




   According to the "SAVE System Instructions for US Department of Education (School) Users" guide, the maximum time the school is to wait is 15
   business days. These 15 business days expired yesterday July 27th. After this time, the school is to make a decision based on the documentation
   submitted and to not follow up with the SAVE case further. Please see the excerpt cited below for further detail.




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:1770604138707119…                             2/29
9/7/23, 1:46 AM           Case 1:23-cv-00272-MW-HTC                  Document
                                 Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                         Eligible NonCitizenship     11/15/23
                                                                                                 Determination        Page 4 of 146
                                                                                                               [ ref:_00D412ElGo._5001K1FnuoE:ref ]




   Source: https://fsapartners.ed.gov/sites/default/files/attachments/2019-11/SAVEInstructions30Final.pdf (page 30)

   Linking source: https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2019-10-16/save-instructions-us-department-education-
   school-users-version-30-available-updated-sept-9-2022

   Please advise as soon as possible if you will follow these directives from the Department of Education, such that we can ensure this is resolved before the
   term begins. Please also refer to my previous email regarding the legal basis for her eligibility.

   Thank you,
   Chris Garson

   [Quoted text hidden]



 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                            Fri, Jul 28, 2023 at 8:40 AM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   I am not sure what happened but I did reply to your email on July 6th. Here is my response to your email:


                    To: chris.garson, Jiwon Iris Byun-Garson                                July 6, 2023 at 11:14 AM

                    Mr. Garson,
                    I understand your concerns and want you to know that I will do whatever I can to assist you and your daughter with this case.

                    Based on the information I received from the SAVE system for DHS, the status provided was that "the applicant status was application
                    pending as a non-national of the US that has filed an application with USCIS for an extension, change or adjustment of status or to obtain
                    employment, but a decision has not yet been made".

                    Per our federal regulations, advance parole is not the same parolee status as an individual who is paroled in the United States for at least
                    one year [Section 212(d)(5) of the Immigration and Nationality Act (INA)]. Therefore, individuals with advance parole status are not eligible
                    for Title IV for aid unless they also fall into some other Title IV-eligible category (e.g., permanent residents, asylees, or parolees) and can
                    document that eligible status.

                    If you have any additional documentation that you can provide me that shows a status other than advance parolee I can resubmit the forms
                    to SAVE.

                    Please let me know how you want to proceed. If you have any additional questions feel free to response back to this email or you can call
                    me directly at 352.294.3259

   You are correct, I did resubmit the documentation that was provided to SAVE. Per our federal regulations, that was mentioned above, I am unable to
   approve for your daugther's citizenship status without an eligible SAVE response. If you have any additional documentation that you can provide me that
   shows a status other than advance parolee, please send me a copy and I will review it immediately.

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 7/28/2023, 7:00 AM
   To: jiwon.byungarson@ufl.edu; sfa-help@mail.ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Hi Marie,

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:1770604138707119…                                3/29
9/7/23, 1:46 AM        Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship     11/15/23
                                                                                              Determination        Page 5 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   I hope you've been well. Although we have not received a response from you, I see that on July 6th (the day after I sent the previous email) , the DHS
   SAVE case was reopened, presumably because you submitted a third step request. As of this email on July 28th, the case is still pending.




   According to the "SAVE System Instructions for US Department of Education (School) Users" guide, the maximum time the school is to wait is 15
   business days. These 15 business days expired yesterday July 27th. After this time, the school is to make a decision based on the documentation
   submitted and to not follow up with the SAVE case further. Please see the excerpt cited below for further detail.




   Source: https://fsapartners.ed.gov/sites/default/files/attachments/2019-11/SAVEInstructions30Final.pdf (page 30)

   Linking source: https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2019-10-16/save-instructions-us-department-education-
   school-users-version-30-available-updated-sept-9-2022

   Please advise as soon as possible if you will follow these directives from the Department of Education, such that we can ensure this is resolved before the
   term begins. Please also refer to my previous email regarding the legal basis for her eligibility.

   Thank you,
   Chris Garson



   On Wed, Jul 05, 2023 at 1:54 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
      [Quoted text hidden]
      [Quoted text hidden]
        [Quoted text hidden]

              ?
   Hello Jiwon,

   We submitted the documentation you gave to us for your eligible non-citizenship status to the Department of Homeland Security for their review to see if
   you are eligible for financial aid. Unfortunately, based on their review of the documentation provided, you are not eligible for financial aid with your current
   status. If in the future your status changes, please do not hesitate to reach out to us so that we can resubmit and check to see if your new status would
   qualify.

   While federal funding for your university endeavor, at least with your current immigration status, is not available, there are many other options available to
   you. You can check out our scholarship page to see if you qualify for any institutional or outside scholarships: http://www.sfa.ufl.edu/types-of-
   aid/scholarships/

   If you have any questions, please contact the UF OneStop at www.onestop.ufl.edu.

   Regards

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management

   ref:_00D412ElGo._5001K1FnuoE:ref



    3 attachments



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:1770604138707119…                                4/29
9/7/23, 1:46 AM           Case 1:23-cv-00272-MW-HTC                  Document
                                 Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                         Eligible NonCitizenship     11/15/23
                                                                                                 Determination        Page 6 of 146
                                                                                                               [ ref:_00D412ElGo._5001K1FnuoE:ref ]

         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                         Fri, Jul 28, 2023 at 9:24 AM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   Hi Marie,

   Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34 CFR § 668.33(a)(2)(ii) states that persons "in the United
   States for other than a temporary purpose with the intention of becoming a citizen or permanent resident" are eligible for federal aid.

   The pending I-485 shows that she has a pending application for permanent residency and that is fully compliant with the SAVE response you received.
   Please let me know why the SAVE response is incompatible with this federal regulation that clearly makes her eligible for Title IV aid.

   Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application for permanent residency) is an instrument that
   allows a person to be paroled once returning to the US from a trip abroad to resume processing of their I-485. The stated parole period upon entry is
   always 1 year for those in this category. Based on her EAD, her authorization to use advance parole is valid through February 2025, meaning that she can
   leave and return an infinite number of times to be paroled back into the US for 1 year each time, effectively making her parole period through February 12,
   2026.

   I previously sent you a document from the University of Southern California that seems to understand this better. Only those with a pending application for
   permanent residency can receive an I-512 endorsement on their EAD, and USC seems to understand that. That's why their citizenship eligibility form
   makes specific reference to that endorsement as a valid way to evidence parole for the purposes of Title IV aid. If you're operating under the same federal
   regulations, why does USC accept this as valid evidence and you do not? They will receive the exact same SAVE responses in this case, which, as I
   noted above, is fully compatible with 34 CFR § 668.33(a)(2)(ii).

   Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

   Again, after speaking with our lawyer and with other schools that operate under the same federal regulations, we firmly believe that UF is misapplying the
   law in this case.

   Please advise.

   Thanks,
   Chris Garson


   [Quoted text hidden]
      [Quoted text hidden]
      [External Email]
      [Quoted text hidden]
      [Quoted text hidden]
      [Quoted text hidden]




    3 attachments
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                       Fri, Jul 28, 2023 at 11:32 AM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   I have notified my supervisors about your concerns and they are researching your case.

   As soon as I have more information I will contact you.

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:1770604138707119…                          5/29
9/7/23, 1:46 AM           Case 1:23-cv-00272-MW-HTC                  Document
                                 Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                         Eligible NonCitizenship     11/15/23
                                                                                                 Determination        Page 7 of 146
                                                                                                               [ ref:_00D412ElGo._5001K1FnuoE:ref ]
   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 7/28/2023, 9:24 AM
   To: sfa-help@mail.ufl.edu
   Cc: jiwon.byungarson@ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Hi Marie,

   Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34 CFR § 668.33(a)(2)(ii) states that persons "in the United
   States for other than a temporary purpose with the intention of becoming a citizen or permanent resident" are eligible for federal aid.

   The pending I-485 shows that she has a pending application for permanent residency and that is fully compliant with the SAVE response you received.
   Please let me know why the SAVE response is incompatible with this federal regulation that clearly makes her eligible for Title IV aid.

   Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application for permanent residency) is an instrument that
   allows a person to be paroled once returning to the US from a trip abroad to resume processing of their I-485. The stated parole period upon entry is
   always 1 year for those in this category. Based on her EAD, her authorization to use advance parole is valid through February 2025, meaning that she can
   leave and return an infinite number of times to be paroled back into the US for 1 year each time, effectively making her parole period through February 12,
   2026.

   I previously sent you a document from the University of Southern California that seems to understand this better. Only those with a pending application for
   permanent residency can receive an I-512 endorsement on their EAD, and USC seems to understand that. That's why their citizenship eligibility form
   makes specific reference to that endorsement as a valid way to evidence parole for the purposes of Title IV aid. If you're operating under the same federal
   regulations, why does USC accept this as valid evidence and you do not? They will receive the exact same SAVE responses in this case, which, as I
   noted above, is fully compatible with 34 CFR § 668.33(a)(2)(ii).

   Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

   Again, after speaking with our lawyer and with other schools that operate under the same federal regulations, we firmly believe that UF is misapplying the
   law in this case.

   Please advise.

   Thanks,
   Chris Garson



   [Quoted text hidden]
      [Quoted text hidden]
      [External Email]
      [Quoted text hidden]
      [Quoted text hidden]
      [Quoted text hidden]




    3 attachments
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                       Mon, Jul 31, 2023 at 5:14 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   Thank you for the update. We will wait to hear from you.

   Please feel free to contact me at (904) 402-2026 if you have any follow-up questions.

   Thanks,
   Chris


   On Fri, Jul 28, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      I have notified my supervisors about your concerns and they are researching your case.

      As soon as I have more information I will contact you.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:1770604138707119…                          6/29
9/7/23, 1:46 AM        Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship     11/15/23
                                                                                              Determination        Page 8 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 7/28/2023, 9:24 AM
      To: sfa-help@mail.ufl.edu
      Cc: jiwon.byungarson@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Hi Marie,

      Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34 CFR § 668.33(a)(2)(ii) states that persons "in the
      United States for other than a temporary purpose with the intention of becoming a citizen or permanent resident" are eligible for federal aid.

      The pending I-485 shows that she has a pending application for permanent residency and that is fully compliant with the SAVE response you received.
      Please let me know why the SAVE response is incompatible with this federal regulation that clearly makes her eligible for Title IV aid.

      Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application for permanent residency) is an instrument that
      allows a person to be paroled once returning to the US from a trip abroad to resume processing of their I-485. The stated parole period upon entry is
      always 1 year for those in this category. Based on her EAD, her authorization to use advance parole is valid through February 2025, meaning that she
      can leave and return an infinite number of times to be paroled back into the US for 1 year each time, effectively making her parole period through
      February 12, 2026.

      I previously sent you a document from the University of Southern California that seems to understand this better. Only those with a pending application
      for permanent residency can receive an I-512 endorsement on their EAD, and USC seems to understand that. That's why their citizenship eligibility
      form makes specific reference to that endorsement as a valid way to evidence parole for the purposes of Title IV aid. If you're operating under the same
      federal regulations, why does USC accept this as valid evidence and you do not? They will receive the exact same SAVE responses in this case, which,
      as I noted above, is fully compatible with 34 CFR § 668.33(a)(2)(ii).

      Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

      Again, after speaking with our lawyer and with other schools that operate under the same federal regulations, we firmly believe that UF is misapplying
      the law in this case.

      Please advise.

      Thanks,
      Chris Garson



      [Quoted text hidden]




    3 attachments
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                         Wed, Aug 2, 2023 at 4:04 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   Marie,

   Thank you again for your call today and the information; it was very helpful.

   It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to enter the receipt number on the I-485
   receipt that we sent you (IOE0915492398) into the USCIS/DHS case status check on the website here: https://egov.uscis.gov/

   This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time you run the check.




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:1770604138707119…                         7/29
9/7/23, 1:46 AM           Case 1:23-cv-00272-MW-HTC                  Document
                                 Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                         Eligible NonCitizenship     11/15/23
                                                                                                 Determination        Page 9 of 146
                                                                                                               [ ref:_00D412ElGo._5001K1FnuoE:ref ]




   I may renew this assertion later, but I thought it may be an idea.

   Thanks,
   Chris

   [Quoted text hidden]


    3 attachments
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                      Tue, Aug 8, 2023 at 11:32 AM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   I apologize for my delayed response. Thank you for this information. I will include this document with your case. I will continue to monitor your daughter's
   DHS case. I am hoping we will receive an update soon.

   If you have any questions please do not hesitate to reach out to me.

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/2/2023, 4:04 PM
   To: sfa-help@mail.ufl.edu
   Cc: jiwon.byungarson@ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Marie,

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:1770604138707119…                            8/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 10 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   Thank you again for your call today and the information; it was very helpful.

   It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to enter the receipt number on the I-485
   receipt that we sent you (IOE0915492398) into the USCIS/DHS case status check on the website here: https://egov.uscis.gov/

   This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time you run the check.




   I may renew this assertion later, but I thought it may be an idea.

   Thanks,
   Chris


   [Quoted text hidden]




    4 attachments
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                        Tue, Aug 8, 2023 at 10:33 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   Marie,

   SAVE is now reporting that the request has been returned. Can you verify?

   Thanks,
   Chris


   On Tue, Aug 08, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:1770604138707119…                        9/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 11 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      Mr. Garson,

      I apologize for my delayed response. Thank you for this information. I will include this document with your case. I will continue to monitor your
      daughter's DHS case. I am hoping we will receive an update soon.

      If you have any questions please do not hesitate to reach out to me.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/2/2023, 4:04 PM
      To: sfa-help@mail.ufl.edu
      Cc: jiwon.byungarson@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,

      Thank you again for your call today and the information; it was very helpful.

      It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to enter the receipt number on the I-485
      receipt that we sent you (IOE0915492398) into the USCIS/DHS case status check on the website here: https://egov.uscis.gov/

      This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time you run the check.




      I may renew this assertion later, but I thought it may be an idea.

      Thanks,
      Chris



      [Quoted text hidden]




    4 attachments



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                         10/29
9/7/23, 1:46 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 12 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]

        untitled.
        144K
        untitled.
        41K
        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                      Wed, Aug 9, 2023 at 10:47 AM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   Yes, the response was returned but it was a completely different status. The SAVE Response received is VAWA Self-Petitioner but the VAWA Status is
   that your daughter is not the self-petitioner.

   Please allow me a few days to research this new status to determine if we can approve your daughter for federal aid based on the documentation we
   have received.

   If you have any documentation from DHS about the VAWA status you can send me a copy and I will review it immediately.

   Let me know if you have any questions.

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/8/2023, 10:33 PM
   To: sfa-help@mail.ufl.edu
   Cc: jiwon.byungarson@ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Marie,

   SAVE is now reporting that the request has been returned. Can you verify?

   Thanks,
   Chris



   On Tue, Aug 08, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      I apologize for my delayed response. Thank you for this information. I will include this document with your case. I will continue to monitor your
      daughter's DHS case. I am hoping we will receive an update soon.

      If you have any questions please do not hesitate to reach out to me.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/2/2023, 4:04 PM
      To: sfa-help@mail.ufl.edu
      Cc: jiwon.byungarson@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,

      Thank you again for your call today and the information; it was very helpful.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                       11/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 13 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to enter the receipt number on the I-485
      receipt that we sent you (IOE0915492398) into the USCIS/DHS case status check on the website here: https://egov.uscis.gov/

      This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time you run the check.




      I may renew this assertion later, but I thought it may be an idea.

      Thanks,
      Chris



      [Quoted text hidden]




    4 attachments
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                         Wed, Aug 9, 2023 at 11:01 AM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   Marie,

   She was recently approved for Special Immigrant Juvenile Status (SIJS) on July 28th, which is not VAWA but it is somewhat related conceptually (it uses
   the same application form). This is completely separate from, and is not affected by, her concurrent Adjustment of Status application based on
   an I-130. The VAWA specifically, however, is completely incorrect. They must have not looked at the specific details before responding.

   As shown to you both by the receipt notice and the fact that you can still check the I-485 on the USCIS website as pending, she has a pending I-485
   which makes her eligible by itself. Can you not use the confirmed pending 485 as evidence of this? You can check this easily on the USCIS website
   yourself.



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                         12/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 14 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
   When submitting the third-step request, it is important to specify exactly what you are attempting to verify (i.e, that she has a pending I-485). I'm not sure
   what you wrote originally, but this could have caused confusion.

   Please let me know as soon as possible.

   Thanks,
   Chris


   On Wed, Aug 09, 2023 at 10:47 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      Yes, the response was returned but it was a completely different status. The SAVE Response received is VAWA Self-Petitioner but the VAWA Status is
      that your daughter is not the self-petitioner.

      Please allow me a few days to research this new status to determine if we can approve your daughter for federal aid based on the documentation we
      have received.

      If you have any documentation from DHS about the VAWA status you can send me a copy and I will review it immediately.

      Let me know if you have any questions.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/8/2023, 10:33 PM
      To: sfa-help@mail.ufl.edu
      Cc: jiwon.byungarson@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,

      SAVE is now reporting that the request has been returned. Can you verify?

      Thanks,
      Chris



      [Quoted text hidden]




    4 attachments
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                       Mon, Aug 14, 2023 at 11:58 AM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Marie,

   Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you get anything back on it instantly—or
   did it immediately move to 2nd stage?

   Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid approved?

   Thanks,
   Chris

   [Quoted text hidden]




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                           13/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 15 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]

    4 attachments
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                            Mon, Aug 14, 2023 at 2:27 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>, "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit the student's information to determine if
   DHS can verify citizenship. I have not received a response back yet but as soon as I have more information I will reach out to you.

   As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the other aid she was awarded is still pending
   final confirmation of her citizenship status. I noticed that your daughter has not set up her student authorizations to release financial information yet.

   Can you please have her update this information and include you on the form so I can discuss the details of her financial aid awards with you?

   I have included the instructions on how to set up the student authorizations form.

   Let me know if you have any further questions.

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/14/2023, 11:58 AM
   To: sfa-help@mail.ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Marie,

   Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you get anything back on it instantly—or
   did it immediately move to 2nd stage?

   Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid approved?

   Thanks,
   Chris



   On Wed, Aug 09, 2023 at 11:01 AM, Chris Garson <chris.garson@exlsolutions.net> wrote:
   [Quoted text hidden]




    5 attachments




                                            Screen Shot 2023-08-14 at 2.26.07 PM.png
                                            350K




         untitled.
         144K
         untitled.
         41K


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                             14/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 16 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]

         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                        Mon, Aug 14, 2023 at 2:31 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   Thanks. She will do the release now.

   The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

   Can you confirm that the following items are approved? They are all FL or UF.

        1. FL Student Assistance Grant
        2. FL Academic Scholars Award (Bright Futures)
        3. UF Undergraduate Grant
        4. UF Welcome Grant

   Thanks,
   Chris



   On Mon, Aug 14, 2023 at 2:27 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit the student's information to determine
      if DHS can verify citizenship. I have not received a response back yet but as soon as I have more information I will reach out to you.

      As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the other aid she was awarded is still
      pending final confirmation of her citizenship status. I noticed that your daughter has not set up her student authorizations to release financial information
      yet.

      Can you please have her update this information and include you on the form so I can discuss the details of her financial aid awards with you?

      I have included the instructions on how to set up the student authorizations form.

      Let me know if you have any further questions.

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/14/2023, 11:58 AM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,

      Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you get anything back on it instantly—
      or did it immediately move to 2nd stage?

      Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid approved?

      Thanks,
      Chris



      [Quoted text hidden]




    4 attachments
         untitled.
         144K
         untitled.
         41K



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                            15/29
9/7/23, 1:46 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 17 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]

        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                       Mon, Aug 14, 2023 at 3:23 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   I confirmed that all awards except the Bright Futures award and the Welcome Grant are on hold until we complete the citizenship review.

   Let me know if you have any further questions.

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/14/2023, 2:31 PM
   To: sfa-help@mail.ufl.edu
   Cc: jiwon.byungarson@ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Thanks. She will do the release now.

   The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

   Can you confirm that the following items are approved? They are all FL or UF.

        1. FL Student Assistance Grant
        2. FL Academic Scholars Award (Bright Futures)
        3. UF Undergraduate Grant
        4. UF Welcome Grant

   Thanks,
   Chris




   On Mon, Aug 14, 2023 at 2:27 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit the student's information to determine
      if DHS can verify citizenship. I have not received a response back yet but as soon as I have more information I will reach out to you.

      As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the other aid she was awarded is still
      pending final confirmation of her citizenship status. I noticed that your daughter has not set up her student authorizations to release financial information
      yet.

      Can you please have her update this information and include you on the form so I can discuss the details of her financial aid awards with you?

      I have included the instructions on how to set up the student authorizations form.

      Let me know if you have any further questions.

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/14/2023, 11:58 AM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,

      Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you get anything back on it instantly—
      or did it immediately move to 2nd stage?

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                            16/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 18 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid approved?

      Thanks,
      Chris



      [Quoted text hidden]




    4 attachments
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                     Mon, Aug 14, 2023 at 3:25 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   Just so know you I do see where Jiwon updated her student authorizations. Thank you for getting this done so quick.
   [Quoted text hidden]




    4 attachments
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                      Mon, Aug 14, 2023 at 3:26 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   Marie,

   The FL State Assistance Grant and UF Undergraduate grant are not federal. You previously stated that FL aid was state-specific and FL residency was
   the requirement—and that it has been approved.

   Can you explain why these are different and tied to the federal awards when they are not related to the federal regulations in any way?

   Thanks,
   Chris


   On Mon, Aug 14, 2023 at 3:23 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      I confirmed that all awards except the Bright Futures award and the Welcome Grant are on hold until we complete the citizenship review.

      Let me know if you have any further questions.

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                      17/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 19 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/14/2023, 2:31 PM
      To: sfa-help@mail.ufl.edu
      Cc: jiwon.byungarson@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Thanks. She will do the release now.

      The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

      Can you confirm that the following items are approved? They are all FL or UF.

           1. FL Student Assistance Grant
           2. FL Academic Scholars Award (Bright Futures)
           3. UF Undergraduate Grant
           4. UF Welcome Grant

      Thanks,
      Chris




      [Quoted text hidden]




    4 attachments
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                    Mon, Aug 14, 2023 at 3:42 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student Assistance Grant. Residency is only
   required and follows the same rules as Bright Futures.

   Why is this not approvable?




   Thanks,
   Chris

   [Quoted text hidden]


    4 attachments
         untitled.
         144K
         untitled.
         41K

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                         18/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 20 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]

         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                   Mon, Aug 14, 2023 at 4:10 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free FAFSA. Once we receive the final
   confirmation for your daughter's citizenship status we will be able to determine her eligibility for the FSAG award.

   You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me from OSFA.

   Please let me know if you have any further questions.

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/14/2023, 3:42 PM
   To: sfa-help@mail.ufl.edu
   Cc: jiwon.byungarson@ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student Assistance Grant. Residency is only
   required and follows the same rules as Bright Futures.

   Why is this not approvable?




   Thanks,
   Chris


   [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                         19/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 21 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]

         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                     Mon, Aug 14, 2023 at 4:12 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   There are no "errors" listed on the FAFSA. It has been fully processed; this is different from what you're saying. Her A-number and SSN were confirmed.
   The immigration verification is irrelevant here and is not an "error". It is not Title IV aid.

   Can we schedule a conference with you and your supervisors this week to discuss this and the other items? I don't believe UF is interpreting this correctly.

   Thanks,
   Chris


   On Mon, Aug 14, 2023 at 4:10 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free FAFSA. Once we receive the final
      confirmation for your daughter's citizenship status we will be able to determine her eligibility for the FSAG award.

      You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me from OSFA.

      Please let me know if you have any further questions.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/14/2023, 3:42 PM
      To: sfa-help@mail.ufl.edu
      Cc: jiwon.byungarson@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student Assistance Grant. Residency is only
      required and follows the same rules as Bright Futures.

      Why is this not approvable?




      Thanks,
      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                        20/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 22 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]

         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                    Mon, Aug 14, 2023 at 4:19 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   I apologize I did not see your previous email.

   The FL Student Assistance Grant and UF Undergraduate grant are not federal but these two awards are need-based awards and eligibility is determined
   from information provided on the FAFSA. In order to receive these awards we must have an error-free FAFSA and the student must show need on their
   federal need analysis report.

   I hope this addresses your concerns.

   Let me know if you have any further questions.

   [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                     Mon, Aug 14, 2023 at 4:22 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   Yes, they are need-based awards based on the FAFSA. The FAFSA is what demonstrates the need. However, the fact that you even received the FAFSA
   data from the DOE indicates that there were no errors in processing. There is nothing listed as an error on her FAFSA when logging in, and the FAFSA
   shows as fully processed with no errors.

   I understand the Title IV is a separate matter, but the immigration status for purposes of Title IV has nothing to do with the need demonstrated on the
   FAFSA. The FAFSA has been fully processed, and you would not have even received it if there were errors on it.

   Can we schedule a conference with you and your supervisors this week to discuss this and other items? This is not being interpreted correctly.

   Thanks,
   Chris


   On Mon, Aug 14, 2023 at 4:19 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      [Quoted text hidden]
      [External Email]
      [Quoted text hidden]
      [Quoted text hidden]




    5 attachments



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                        21/29
9/7/23, 1:46 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 23 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]

        untitled.
        105K
        untitled.
        144K
        untitled.
        41K
        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                    Mon, Aug 14, 2023 at 4:22 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   I will inform my supervisors of your request for a meeting. As soon as I have a date and time I will let you know.

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/14/2023, 4:12 PM
   To: sfa-help@mail.ufl.edu
   Cc: jiwon.byungarson@ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   There are no "errors" listed on the FAFSA. It has been fully processed; this is different from what you're saying. Her A-number and SSN were confirmed.
   The immigration verification is irrelevant here and is not an "error". It is not Title IV aid.

   Can we schedule a conference with you and your supervisors this week to discuss this and the other items? I don't believe UF is interpreting this correctly.

   Thanks,
   Chris



   On Mon, Aug 14, 2023 at 4:10 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free FAFSA. Once we receive the final
      confirmation for your daughter's citizenship status we will be able to determine her eligibility for the FSAG award.

      You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me from OSFA.

      Please let me know if you have any further questions.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/14/2023, 3:42 PM
      To: sfa-help@mail.ufl.edu
      Cc: jiwon.byungarson@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student Assistance Grant. Residency is only
      required and follows the same rules as Bright Futures.

      Why is this not approvable?



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                        22/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 24 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]




      Thanks,
      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                    Mon, Aug 14, 2023 at 4:24 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   Yes, I will notify my supervisors and get back to you as soon as possible.

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/14/2023, 4:22 PM
   To: sfa-help@mail.ufl.edu
   Cc: jiwon.byungarson@ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Yes, they are need-based awards based on the FAFSA. The FAFSA is what demonstrates the need. However, the fact that you even received the FAFSA
   data from the DOE indicates that there were no errors in processing. There is nothing listed as an error on her FAFSA when logging in, and the FAFSA
   shows as fully processed with no errors.

   I understand the Title IV is a separate matter, but the immigration status for purposes of Title IV has nothing to do with the need demonstrated on the
   FAFSA. The FAFSA has been fully processed, and you would not have even received it if there were errors on it.

   Can we schedule a conference with you and your supervisors this week to discuss this and other items? This is not being interpreted correctly.

   Thanks,
   Chris



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                        23/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 25 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   On Mon, Aug 14, 2023 at 4:19 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      [Quoted text hidden]
      [External Email]
      [Quoted text hidden]
      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                             Mon, Aug 14, 2023 at 5:12 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   I spoke with my supervisor and the earliest availability is next week. Here are the days and times we can meet:

   Tuesday 8/22/23 - open all day
   Wednesday 8/23/23- Anytime before 3:00pm
   Thursday 8/24/23- Anytime before 2:00pm

   Please let me know if you would like to have conference call, Zoom meeting, or in person.
   [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                              Mon, Aug 14, 2023 at 5:15 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   Thank you for the prompt reply.

   We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

   Chris


   On Mon, Aug 14, 2023 at 5:12 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      [Quoted text hidden]
      [External Email]
      [Quoted text hidden]


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…              24/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 26 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                             Tue, Aug 15, 2023 at 9:09 AM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>
 Cc: "jiwon.byungarson@ufl.edu" <jiwon.byungarson@ufl.edu>

   Mr. Garson,

   There is a scheduling conflict, can we meet at 12:30pm on 8/22?

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/14/2023, 5:15 PM
   To: sfa-help@mail.ufl.edu
   Cc: jiwon.byungarson@ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Thank you for the prompt reply.

   We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

   Chris



   On Mon, Aug 14, 2023 at 5:12 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      [Quoted text hidden]
      [External Email]
      [Quoted text hidden]
      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…              25/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 27 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
 Chris Garson <chris.garson@exlsolutions.net>                                                                              Tue, Aug 15, 2023 at 11:45 AM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: jiwon.byungarson@ufl.edu

   That's fine. Please confirm if that works.

   Thanks,
   Chris


   On Tue, Aug 15, 2023 at 9:09 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      There is a scheduling conflict, can we meet at 12:30pm on 8/22?

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/14/2023, 5:15 PM
      To: sfa-help@mail.ufl.edu
      Cc: jiwon.byungarson@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Thank you for the prompt reply.

      We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                             Tue, Aug 15, 2023 at 12:53 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>

   Mr. Garson,

   Yes sir, that does work for us.

   Can you please tell me who all is coming with you so I can make sure we can accommodate everyone?

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/15/2023, 11:45 AM
   To: sfa-help@mail.ufl.edu
   Cc: jiwon.byungarson@ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…               26/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 28 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
   [External Email]
   [External Email]
   That's fine. Please confirm if that works.

   Thanks,
   Chris



   On Tue, Aug 15, 2023 at 9:09 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      There is a scheduling conflict, can we meet at 12:30pm on 8/22?

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/14/2023, 5:15 PM
      To: sfa-help@mail.ufl.edu
      Cc: jiwon.byungarson@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Thank you for the prompt reply.

      We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                           Tue, Aug 15, 2023 at 3:03 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   It will be Jiwon and myself. I will attempt to ensure any other relevant parties are available by phone at that time if necessary.

   Thanks,
   Chris


   On Tue, Aug 15, 2023 at 12:53 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      Yes sir, that does work for us.

      Can you please tell me who all is coming with you so I can make sure we can accommodate everyone?

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                           27/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 29 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/15/2023, 11:45 AM
      To: sfa-help@mail.ufl.edu
      Cc: jiwon.byungarson@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      That's fine. Please confirm if that works.

      Thanks,
      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                  Wed, Aug 16, 2023 at 1:44 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Marie,

   I just left you a VM, but I wanted to let you know that I was able to talk with someone at SAVE Case Resolutions & Audits to correct the SAVE response
   you received on the case 0023111080901TP that had the incorrect VAWA response.

   They acknowledged that the VAWA response was incorrect and they changed the response to Pending I-485, which is what you indicated was necessary
   for your purposes.

   Please call me at 904-402-2026.

   Thanks,
   Chris

   [Quoted text hidden]


    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                   Thu, Aug 17, 2023 at 2:35 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Hi Marie,

   I left you a VM a few minutes ago; sorry I missed you. I just wanted to make sure you got my last email and to get an update on where we are—and if we
   still need that meeting next week.



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                       28/29
9/7/23, 1:46 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 30 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
   This has been really stressful for us, and we really would appreciate an update. I'm sure you're swamped with the term starting next week, and I'm really
   sorry to add to that!

   Thanks again for your help—and hope to hear from you soon.

   Thanks,
   Chris

   [Quoted text hidden]


    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                        Fri, Aug 18, 2023 at 2:39 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
 Cc: countess@ufl.edu

   Hi Marie,

   I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to travel down there
   for our meeting on Tuesday—or if everything is resolved now.

   Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again later today.

   Thanks again for your help on this.

   Chris

   [Quoted text hidden]


    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1770604138707119976&simpl=msg-f:177060413870711…                            29/29
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                  Document
                           Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                   Eligible NonCitizenship    11/15/23
                                                                                           Determination       Page 31 of 146
                                                                                                         [ ref:_00D412ElGo._5001K1FnuoE:ref ]



                                                                                                                Chris Garson <chris.garson@exlsolutions.net>



 Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]
 16 messages

 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                        Fri, Aug 18, 2023 at 4:09 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>

   Mr. Garson,

   I apologize for the delay in my response.

   I am writing to provide you with a summary of the status of the citizenship status verification related to your daughter’s FAFSA application for the 2023-
   2024 aid year.

   The documentation you have provided was submitted to the Department of Homeland Security, and the Systematic Alien Verification for Entitlements
   (SAVE) responses received, per federal guidelines, are ineligible statuses to receive Title IV federal financial aid and the Florida Student Assistance
   Grant.

   Our office has consulted with Federal Student Aid regarding your situation and the Department of Homeland Security SAVE system representatives. The
   SAVE eligible non-citizen 3rd step verification resulted in an ineligible status twice, based upon federal documentation for eligible statuses. Our office then
   consulted with Federal Student Aid regarding this status and the verbal information you provided; Federal Student Aid confirmed the initial determination
   that the documentation received from both you and SAVE cannot result in an eligible status.

   You have requested a meeting, in person, with our office to discuss the above. Before you make the trip to campus and potentially take yourself away
   from work or other responsibilities, I wanted to make you aware that we cannot override the determination from the Department of Homeland Security.
   Unless you have additional documentation to provide, there is nothing else we can do to assist you in eligibility for federal financial aid or state need-
   based financial aid.

   We have exhausted all options available through our office. If you still want to discuss this matter in-person, I am willing to meet with you. However, I
   would only be able to reiterate the above facts and would not be able to help you further.

   If you wish to pursue this matter, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone at 1-800-
   433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/18/2023, 2:39 PM
   To: sfa-help@mail.ufl.edu
   Cc: countess@ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Hi Marie,

   I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to travel down there
   for our meeting on Tuesday—or if everything is resolved now.

   Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again later today.

   Thanks again for your help on this.

   Chris



   On Thu, Aug 17, 2023 at 2:35 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
    Hi Marie,

      I left you a VM a few minutes ago; sorry I missed you. I just wanted to make sure you got my last email and to get an update on where we are—and if
      we still need that meeting next week.

      This has been really stressful for us, and we really would appreciate an update. I'm sure you're swamped with the term starting next week, and I'm
      really sorry to add to that!

      Thanks again for your help—and hope to hear from you soon.

      Thanks,
      Chris
https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:177459890211948…                            1/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 32 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]




      On Wed, Aug 16, 2023 at 1:44 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
       Marie,

        I just left you a VM, but I wanted to let you know that I was able to talk with someone at SAVE Case Resolutions & Audits to correct the SAVE
        response you received on the case 0023111080901TP that had the incorrect VAWA response.

        They acknowledged that the VAWA response was incorrect and they changed the response to Pending I-485, which is what you indicated was
        necessary for your purposes.

        Please call me at 904-402-2026.

        Thanks,
        Chris




        On Tue, Aug 15, 2023 at 3:03 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
         It will be Jiwon and myself. I will attempt to ensure any other relevant parties are available by phone at that time if necessary.

          Thanks,
          Chris




          On Tue, Aug 15, 2023 at 12:53 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
           Mr. Garson,

            Yes sir, that does work for us.

            Can you please tell me who all is coming with you so I can make sure we can accommodate everyone?

            Regards,

            Marie Guerra Rosado
            Student Financial Aid and Scholarships
            Division of Enrollment Management


            --------------- Original Message ---------------
            From: Chris Garson [chris.garson@exlsolutions.net]
            Sent: 8/15/2023, 11:45 AM
            To: sfa-help@mail.ufl.edu
            Cc: jiwon.byungarson@ufl.edu
            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

            [External Email]
            [External Email]
            That's fine. Please confirm if that works.

            Thanks,
            Chris



            On Tue, Aug 15, 2023 at 9:09 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
             Mr. Garson,

               There is a scheduling conflict, can we meet at 12:30pm on 8/22?

               Marie Guerra Rosado
               Student Financial Aid and Scholarships
               Division of Enrollment Management


               --------------- Original Message ---------------
               From: Chris Garson [chris.garson@exlsolutions.net]
               Sent: 8/14/2023, 5:15 PM
               To: sfa-help@mail.ufl.edu
               Cc: jiwon.byungarson@ufl.edu
               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

               [External Email]
               [External Email]
               Thank you for the prompt reply.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:177459890211948…                   2/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                  Document
                           Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                   Eligible NonCitizenship    11/15/23
                                                                                           Determination       Page 33 of 146
                                                                                                         [ ref:_00D412ElGo._5001K1FnuoE:ref ]
              We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

              Chris



              On Mon, Aug 14, 2023 at 5:12 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
               Mr. Garson,

                  I spoke with my supervisor and the earliest availability is next week. Here are the days and times we can meet:

                  Tuesday 8/22/23 - open all day
                  Wednesday 8/23/23- Anytime before 3:00pm
                  Thursday 8/24/23- Anytime before 2:00pm

                  Please let me know if you would like to have conference call, Zoom meeting, or in person.

                  Regards,

                  Marie Guerra Rosado
                  Student Financial Aid and Scholarships
                  Division of Enrollment Management


                  --------------- Original Message ---------------
                  From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                  Sent: 8/14/2023, 4:24 PM
                  To: chris.garson@exlsolutions.net
                  Cc: jiwon.byungarson@ufl.edu
                  Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                  Mr. Garson,

                  Yes, I will notify my supervisors and get back to you as soon as possible.

                  Regards,

                  Marie Guerra Rosado
                  Student Financial Aid and Scholarships
                  Division of Enrollment Management


                  --------------- Original Message ---------------
                  From: Chris Garson [chris.garson@exlsolutions.net]
                  Sent: 8/14/2023, 4:22 PM
                  To: sfa-help@mail.ufl.edu
                  Cc: jiwon.byungarson@ufl.edu
                  Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                  [External Email]
                  [External Email]
                  Yes, they are need-based awards based on the FAFSA. The FAFSA is what demonstrates the need. However, the fact that you even
                  received the FAFSA data from the DOE indicates that there were no errors in processing. There is nothing listed as an error on her FAFSA
                  when logging in, and the FAFSA shows as fully processed with no errors.

                  I understand the Title IV is a separate matter, but the immigration status for purposes of Title IV has nothing to do with the need
                  demonstrated on the FAFSA. The FAFSA has been fully processed, and you would not have even received it if there were errors on it.

                  Can we schedule a conference with you and your supervisors this week to discuss this and other items? This is not being
                  interpreted correctly.

                  Thanks,
                  Chris



                  On Mon, Aug 14, 2023 at 4:19 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                   Mr. Garson,

                    I apologize I did not see your previous email.

                    The FL Student Assistance Grant and UF Undergraduate grant are not federal but these two awards are need-based awards and eligibility
                    is determined from information provided on the FAFSA. In order to receive these awards we must have an error-free FAFSA and the
                    student must show need on their federal need analysis report.

                    I hope this addresses your concerns.

                    Let me know if you have any further questions.

                    Regards,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:177459890211948…                        3/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 34 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                  Marie Guerra Rosado
                  Student Financial Aid and Scholarships
                  Division of Enrollment Management


                  --------------- Original Message ---------------
                  From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                  Sent: 8/14/2023, 4:10 PM
                  To: chris.garson@exlsolutions.net
                  Cc: jiwon.byungarson@ufl.edu
                  Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                  Mr. Garson,

                  Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free FAFSA. Once we
                  receive the final confirmation for your daughter's citizenship status we will be able to determine her eligibility for the FSAG award.

                  You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me from OSFA.

                  Please let me know if you have any further questions.

                  Regards,

                  Marie Guerra Rosado
                  Student Financial Aid and Scholarships
                  Division of Enrollment Management


                  --------------- Original Message ---------------
                  From: Chris Garson [chris.garson@exlsolutions.net]
                  Sent: 8/14/2023, 3:42 PM
                  To: sfa-help@mail.ufl.edu
                  Cc: jiwon.byungarson@ufl.edu
                  Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                  [External Email]
                  [External Email]
                  Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student Assistance Grant.
                  Residency is only required and follows the same rules as Bright Futures.

                  Why is this not approvable?




                  Thanks,
                  Chris



                  On Mon, Aug 14, 2023 at 3:26 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                   Marie,

                    The FL State Assistance Grant and UF Undergraduate grant are not federal. You previously stated that FL aid was state-specific and FL
                    residency was the requirement—and that it has been approved.

                    Can you explain why these are different and tied to the federal awards when they are not related to the federal regulations in any way?

                    Thanks,
                    Chris




                    On Mon, Aug 14, 2023 at 3:23 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                     Mr. Garson,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:177459890211948…                      4/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 35 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                      I confirmed that all awards except the Bright Futures award and the Welcome Grant are on hold until we complete the citizenship
                      review.

                      Let me know if you have any further questions.

                      Marie Guerra Rosado
                      Student Financial Aid and Scholarships
                      Division of Enrollment Management


                      --------------- Original Message ---------------
                      From: Chris Garson [chris.garson@exlsolutions.net]
                      Sent: 8/14/2023, 2:31 PM
                      To: sfa-help@mail.ufl.edu
                      Cc: jiwon.byungarson@ufl.edu
                      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                      [External Email]
                      [External Email]
                      Thanks. She will do the release now.

                      The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

                      Can you confirm that the following items are approved? They are all FL or UF.

                          1. FL Student Assistance Grant
                          2. FL Academic Scholars Award (Bright Futures)
                          3. UF Undergraduate Grant
                          4. UF Welcome Grant

                      Thanks,
                      Chris




                      On Mon, Aug 14, 2023 at 2:27 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                       Mr. Garson,

                        Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit the student's
                        information to determine if DHS can verify citizenship. I have not received a response back yet but as soon as I have more
                        information I will reach out to you.

                        As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the other aid she was
                        awarded is still pending final confirmation of her citizenship status. I noticed that your daughter has not set up her student
                        authorizations to release financial information yet.

                        Can you please have her update this information and include you on the form so I can discuss the details of her financial aid
                        awards with you?

                        I have included the instructions on how to set up the student authorizations form.

                        Let me know if you have any further questions.

                        Marie Guerra Rosado
                        Student Financial Aid and Scholarships
                        Division of Enrollment Management


                        --------------- Original Message ---------------
                        From: Chris Garson [chris.garson@exlsolutions.net]
                        Sent: 8/14/2023, 11:58 AM
                        To: sfa-help@mail.ufl.edu
                        Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                        [External Email]
                        [External Email]
                        Marie,

                        Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you get anything
                        back on it instantly—or did it immediately move to 2nd stage?

                        Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid approved?

                        Thanks,
                        Chris



                        On Wed, Aug 09, 2023 at 11:01 AM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                         Marie,

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:177459890211948…                          5/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 36 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                          She was recently approved for Special Immigrant Juvenile Status (SIJS) on July 28th, which is not VAWA but it is somewhat
                          related conceptually (it uses the same application form). This is completely separate from, and is not affected by, her
                          concurrent Adjustment of Status application based on an I-130. The VAWA specifically, however, is completely incorrect.
                          They must have not looked at the specific details before responding.

                          As shown to you both by the receipt notice and the fact that you can still check the I-485 on the USCIS website as pending, she
                          has a pending I-485 which makes her eligible by itself. Can you not use the confirmed pending 485 as evidence of this? You can
                          check this easily on the USCIS website yourself.

                          When submitting the third-step request, it is important to specify exactly what you are attempting to verify (i.e, that she has a
                          pending I-485). I'm not sure what you wrote originally, but this could have caused confusion.

                          Please let me know as soon as possible.

                          Thanks,
                          Chris




                          On Wed, Aug 09, 2023 at 10:47 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                           Mr. Garson,

                            Yes, the response was returned but it was a completely different status. The SAVE Response received is VAWA Self-Petitioner
                            but the VAWA Status is that your daughter is not the self-petitioner.

                            Please allow me a few days to research this new status to determine if we can approve your daughter for federal aid based on
                            the documentation we have received.

                            If you have any documentation from DHS about the VAWA status you can send me a copy and I will review it immediately.

                            Let me know if you have any questions.

                            Regards,

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: Chris Garson [chris.garson@exlsolutions.net]
                            Sent: 8/8/2023, 10:33 PM
                            To: sfa-help@mail.ufl.edu
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            [External Email]
                            [External Email]
                            Marie,

                            SAVE is now reporting that the request has been returned. Can you verify?

                            Thanks,
                            Chris



                            On Tue, Aug 08, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                             Mr. Garson,

                               I apologize for my delayed response. Thank you for this information. I will include this document with your case. I will
                               continue to monitor your daughter's DHS case. I am hoping we will receive an update soon.

                               If you have any questions please do not hesitate to reach out to me.

                               Regards,

                               Marie Guerra Rosado
                               Student Financial Aid and Scholarships
                               Division of Enrollment Management


                               --------------- Original Message ---------------
                               From: Chris Garson [chris.garson@exlsolutions.net]
                               Sent: 8/2/2023, 4:04 PM
                               To: sfa-help@mail.ufl.edu
                               Cc: jiwon.byungarson@ufl.edu
                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:177459890211948…                         6/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 37 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                               [External Email]
                               [External Email]
                               Marie,

                               Thank you again for your call today and the information; it was very helpful.

                               It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to enter the receipt
                               number on the I-485 receipt that we sent you (IOE0915492398) into the USCIS/DHS case status check on the website
                               here: https://egov.uscis.gov/

                               This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time you run the
                               check.




                               I may renew this assertion later, but I thought it may be an idea.

                               Thanks,
                               Chris



                               On Mon, Jul 31, 2023 at 5:14 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                Thank you for the update. We will wait to hear from you.

                                 Please feel free to contact me at (904) 402-2026 if you have any follow-up questions.

                                 Thanks,
                                 Chris




                                 On Fri, Jul 28, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                  Mr. Garson,

                                   I have notified my supervisors about your concerns and they are researching your case.

                                   As soon as I have more information I will contact you.

                                   Regards,

                                   Marie Guerra Rosado
                                   Student Financial Aid and Scholarships
                                   Division of Enrollment Management


                                   --------------- Original Message ---------------
                                   From: Chris Garson [chris.garson@exlsolutions.net]
                                   Sent: 7/28/2023, 9:24 AM
                                   To: sfa-help@mail.ufl.edu
                                   Cc: jiwon.byungarson@ufl.edu
https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:177459890211948…                              7/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 38 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                   [External Email]
                                   [External Email]
                                   Hi Marie,

                                   Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34 CFR § 668.33(a)(2)(ii)
                                   states that persons "in the United States for other than a temporary purpose with the intention of becoming a citizen or
                                   permanent resident" are eligible for federal aid.

                                   The pending I-485 shows that she has a pending application for permanent residency and that is fully compliant with
                                   the SAVE response you received. Please let me know why the SAVE response is incompatible with this federal
                                   regulation that clearly makes her eligible for Title IV aid.

                                   Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application for permanent
                                   residency) is an instrument that allows a person to be paroled once returning to the US from a trip abroad to resume
                                   processing of their I-485. The stated parole period upon entry is always 1 year for those in this category. Based on her
                                   EAD, her authorization to use advance parole is valid through February 2025, meaning that she can leave and return
                                   an infinite number of times to be paroled back into the US for 1 year each time, effectively making her parole period
                                   through February 12, 2026.

                                   I previously sent you a document from the University of Southern California that seems to understand this better. Only
                                   those with a pending application for permanent residency can receive an I-512 endorsement on their EAD, and USC
                                   seems to understand that. That's why their citizenship eligibility form makes specific reference to that endorsement as a
                                   valid way to evidence parole for the purposes of Title IV aid. If you're operating under the same federal regulations, why
                                   does USC accept this as valid evidence and you do not? They will receive the exact same SAVE responses in this
                                   case, which, as I noted above, is fully compatible with 34 CFR § 668.33(a)(2)(ii).

                                   Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                   Again, after speaking with our lawyer and with other schools that operate under the same federal regulations, we firmly
                                   believe that UF is misapplying the law in this case.

                                   Please advise.

                                   Thanks,
                                   Chris Garson



                                   On Fri, Jul 28, 2023 at 8:40 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                    Mr. Garson,

                                     I am not sure what happened but I did reply to your email on July 6th. Here is my response to your email:


                                                      To: chris.garson, Jiwon Iris Byun-Garson                                July 6, 2023 at 11:14 AM

                                                      Mr. Garson,
                                                      I understand your concerns and want you to know that I will do whatever I can to assist you and your
                                                      daughter with this case.

                                                      Based on the information I received from the SAVE system for DHS, the status provided was that "the
                                                      applicant status was application pending as a non-national of the US that has filed an application with
                                                      USCIS for an extension, change or adjustment of status or to obtain employment, but a decision has
                                                      not yet been made".

                                                      Per our federal regulations, advance parole is not the same parolee status as an individual who is
                                                      paroled in the United States for at least one year [Section 212(d)(5) of the Immigration and Nationality
                                                      Act (INA)]. Therefore, individuals with advance parole status are not eligible for Title IV for aid unless
                                                      they also fall into some other Title IV-eligible category (e.g., permanent residents, asylees, or parolees)
                                                      and can document that eligible status.

                                                      If you have any additional documentation that you can provide me that shows a status other than
                                                      advance parolee I can resubmit the forms to SAVE.

                                                      Please let me know how you want to proceed. If you have any additional questions feel free to
                                                      response back to this email or you can call me directly at 352.294.3259

                                     You are correct, I did resubmit the documentation that was provided to SAVE. Per our federal regulations, that was
                                     mentioned above, I am unable to approve for your daugther's citizenship status without an eligible SAVE response. If
                                     you have any additional documentation that you can provide me that shows a status other than advance parolee,
                                     please send me a copy and I will review it immediately.

                                     Marie Guerra Rosado
                                     Student Financial Aid and Scholarships
                                     Division of Enrollment Management


                                     --------------- Original Message ---------------
                                     From: Chris Garson [chris.garson@exlsolutions.net]

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:177459890211948…                           8/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 39 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                     Sent: 7/28/2023, 7:00 AM
                                     To: jiwon.byungarson@ufl.edu; sfa-help@mail.ufl.edu
                                     Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                     [External Email]
                                     [External Email]
                                     Hi Marie,

                                     I hope you've been well. Although we have not received a response from you, I see that on July 6th (the day after I
                                     sent the previous email) , the DHS SAVE case was reopened, presumably because you submitted a third step
                                     request. As of this email on July 28th, the case is still pending.




                                     According to the "SAVE System Instructions for US Department of Education (School) Users" guide, the maximum
                                     time the school is to wait is 15 business days. These 15 business days expired yesterday July 27th. After this time,
                                     the school is to make a decision based on the documentation submitted and to not follow up with the SAVE case
                                     further. Please see the excerpt cited below for further detail.




                                     Source: https://fsapartners.ed.gov/sites/default/files/attachments/2019-11/SAVEInstructions30Final.pdf (page 30)

                                     Linking source: https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2019-10-16/save-
                                     instructions-us-department-education-school-users-version-30-available-updated-sept-9-2022

                                     Please advise as soon as possible if you will follow these directives from the Department of Education, such that we
                                     can ensure this is resolved before the term begins. Please also refer to my previous email regarding the legal basis
                                     for her eligibility.

                                     Thank you,
                                     Chris Garson



                                     On Wed, Jul 05, 2023 at 1:54 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                      Hi Marie,

                                       Thank you for the update. Jiwon forwarded your email to me; I'm responding as the father of Jiwon Byun-Garson.

                                       We have spoken to the Department of Education, the Department of Homeland Security, and our immigration
                                       lawyer prior to submitting this, and all three have confirmed that her status (parolee) is eligible for aid. Here is the
                                       legal basis for this.

                                       First, the Department of Education's Federal Aid Student Handbook states the basis for my eligibility as one of the
                                       eligible non-citizen categories:



                                       Source: https://fsapartners.ed.gov/knowledge-center/fsa-handbook/2022-2023/vol1/ch2-us-citizenship-eligible-
                                       noncitizens

                                       Her evidence of parole status is indicated on my I-766 (Employment Authorization) with the endorsement of "I-512
                                       ADVANCE PROLE". Additionally, I have a pending I-485 and submitted the applicable I-797C to evidence this. This
                                       card is valid for 2 years, meeting the 1 year parole requirement along with a pending I-485 (showing clear intent to


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:177459890211948…                             9/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 40 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                       become a permanent resident). These factors meet the eligible category of "Persons paroled into the US for at
                                       least one year" in accordance with the above.

                                       You can also see, for example, on the USC citizen verification form (linked below) that the "Employment
                                       Authorization with the notation of 'Serves as I-512 Advance Parole'" is clearly eligible for federal aid under the
                                       "Person Paroled into the US for at least one year" category.

                                       Even though this is a different university, the federal rules still apply country-wide.

                                       Source: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                       Second, the source of the parolee with a pending I-485 aid eligibility stems from Title 34 of the Federal
                                       Regulations.

                                       34 CFR § 668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose with the
                                       intention of becoming a citizen or permanent resident" are eligible for federal aid. The pending I-485 shows that
                                       she has a pending application for permanent residency.




                                       Source: https://www.ecfr.gov/current/title-34/subtitle-B/chapter-VI/part-668/subpart-C/section-668.33


                                       Third, the Department of Education, through the FAFSA process, has verified her eligibility with USCIS/DHS shown
                                       below. The date matches the date we submitted her FAFSA application. You indicated that you attempted to verify
                                       this yourself, but there is no record with DHS/USCIS that you (the school) attempted to do so after this date. All
                                       requests for verification with DHS are stored in the SAVE system. Her FAFSA shows that her status has been
                                       verified.




                                       ** Please clarify your legal basis for denying her aid that the DOE, DHS, Federal Regulations, and other schools
                                       clearly indicate she is eligible for. This may not be a situation you handle on a regular basis, so please review the
                                       legal basis above and let me know how we can appeal this determination. We can have our lawyer speak with your
                                       legal team if needed.

                                       The Federal Aid Student Handbook indicates that you may need to submit a third-level SAVE request to get the
                                       correct determination.

                                       Please let us know as soon as possible so we can resolve before the term begins.

                                       Regards,
                                       Chris Garson




                                       On Wed, Jul 05, 2023 at 11:59 AM, Jiwon I. Byun-Garson <jiwon.byungarson@ufl.edu> wrote:
                                        Sent from my iPhone

                                         Begin forwarded message:


                                                From: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                                Date: July 5, 2023 at 9:36:04 AM EDT
                                                To: "Byun-Garson, Jiwon I." <jiwon.byungarson@ufl.edu>
                                                Subject: 2023-24 Eligible NonCitizenship Determination [
                                                ref:_00D412ElGo._5001K1FnuoE:ref ]


                                                ?
                                     Hello Jiwon,

                                     We submitted the documentation you gave to us for your eligible non-citizenship status to the Department of
                                     Homeland Security for their review to see if you are eligible for financial aid. Unfortunately, based on their review of
                                     the documentation provided, you are not eligible for financial aid with your current status. If in the future your status
                                     changes, please do not hesitate to reach out to us so that we can resubmit and check to see if your new status would
                                     qualify.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        10/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 41 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                          While federal funding for your university endeavor, at least with your current immigration status, is not available, there
                                          are many other options available to you. You can check out our scholarship page to see if you qualify for any
                                          institutional or outside scholarships: http://www.sfa.ufl.edu/types-of-aid/scholarships/

                                          If you have any questions, please contact the UF OneStop at www.onestop.ufl.edu.

                                          Regards

                                          Marie Guerra Rosado
                                          Student Financial Aid and Scholarships
                                          Division of Enrollment Management

                                          ref:_00D412ElGo._5001K1FnuoE:ref




    5 attachments
        untitled.
        105K
        untitled.
        144K
        untitled.
        41K
        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                           Fri, Aug 18, 2023 at 4:38 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Marie,

   I did not see this email before attempting to contact you, as it went to a different part of my inbox.

   You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous times that you
   required.

   Is this not the correct status that is required?

   We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

   In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you have
   previously confirmed with me.

   Please advise as soon as possible.

   Thanks,
   Chris


   On Fri, Aug 18, 2023 at 4:09 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      I apologize for the delay in my response.

      I am writing to provide you with a summary of the status of the citizenship status verification related to your daughter’s FAFSA application for the 2023-
      2024 aid year.

      The documentation you have provided was submitted to the Department of Homeland Security, and the Systematic Alien Verification for Entitlements
      (SAVE) responses received, per federal guidelines, are ineligible statuses to receive Title IV federal financial aid and the Florida Student Assistance
      Grant.

      Our office has consulted with Federal Student Aid regarding your situation and the Department of Homeland Security SAVE system representatives.
      The SAVE eligible non-citizen 3rd step verification resulted in an ineligible status twice, based upon federal documentation for eligible statuses. Our

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:177459890211948… 11/116
9/7/23, 1:45 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 42 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      office then consulted with Federal Student Aid regarding this status and the verbal information you provided; Federal Student Aid confirmed the initial
      determination that the documentation received from both you and SAVE cannot result in an eligible status.

      You have requested a meeting, in person, with our office to discuss the above. Before you make the trip to campus and potentially take yourself away
      from work or other responsibilities, I wanted to make you aware that we cannot override the determination from the Department of Homeland Security.
      Unless you have additional documentation to provide, there is nothing else we can do to assist you in eligibility for federal financial aid or state need-
      based financial aid.

      We have exhausted all options available through our office. If you still want to discuss this matter in-person, I am willing to meet with you. However, I
      would only be able to reiterate the above facts and would not be able to help you further.

      If you wish to pursue this matter, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone at 1-800-
      433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/18/2023, 2:39 PM
      To: sfa-help@mail.ufl.edu
      Cc: countess@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Hi Marie,

      I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to travel down there
      for our meeting on Tuesday—or if everything is resolved now.

      Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again later today.

      Thanks again for your help on this.

      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                        Fri, Aug 18, 2023 at 5:16 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>

   Mr. Garson,

   I apologize for not including the update for the most recent status.

   The SAVE response received was "application pending" again without the I-485. According to the Federal Student Aid Handbook and other federal
   guidance we have received, this response is ineligible status to receive Title IV federal financial aid and the Florida Student Assistance Grant.

   I will inform my supervisors that you want to keep the meeting for Tuesday at 12:30pm.

   If you do wish to pursue this matter further, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone at
   1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

   Regards,

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                            12/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                  Document
                           Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                   Eligible NonCitizenship    11/15/23
                                                                                           Determination       Page 43 of 146
                                                                                                         [ ref:_00D412ElGo._5001K1FnuoE:ref ]
   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/18/2023, 4:38 PM
   To: sfa-help@mail.ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Marie,

   I did not see this email before attempting to contact you, as it went to a different part of my inbox.

   You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous times that you
   required.

   Is this not the correct status that is required?

   We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

   In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you have
   previously confirmed with me.

   Please advise as soon as possible.

   Thanks,
   Chris



   On Fri, Aug 18, 2023 at 4:09 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      I apologize for the delay in my response.

      I am writing to provide you with a summary of the status of the citizenship status verification related to your daughter’s FAFSA application for the 2023-
      2024 aid year.

      The documentation you have provided was submitted to the Department of Homeland Security, and the Systematic Alien Verification for Entitlements
      (SAVE) responses received, per federal guidelines, are ineligible statuses to receive Title IV federal financial aid and the Florida Student Assistance
      Grant.

      Our office has consulted with Federal Student Aid regarding your situation and the Department of Homeland Security SAVE system representatives.
      The SAVE eligible non-citizen 3rd step verification resulted in an ineligible status twice, based upon federal documentation for eligible statuses. Our
      office then consulted with Federal Student Aid regarding this status and the verbal information you provided; Federal Student Aid confirmed the initial
      determination that the documentation received from both you and SAVE cannot result in an eligible status.

      You have requested a meeting, in person, with our office to discuss the above. Before you make the trip to campus and potentially take yourself away
      from work or other responsibilities, I wanted to make you aware that we cannot override the determination from the Department of Homeland Security.
      Unless you have additional documentation to provide, there is nothing else we can do to assist you in eligibility for federal financial aid or state need-
      based financial aid.

      We have exhausted all options available through our office. If you still want to discuss this matter in-person, I am willing to meet with you. However, I
      would only be able to reiterate the above facts and would not be able to help you further.

      If you wish to pursue this matter, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone at 1-800-
      433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/18/2023, 2:39 PM
      To: sfa-help@mail.ufl.edu
      Cc: countess@ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Hi Marie,



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                            13/116
9/7/23, 1:45 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 44 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to travel down there
      for our meeting on Tuesday—or if everything is resolved now.

      Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again later today.

      Thanks again for your help on this.

      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                         Fri, Aug 18, 2023 at 5:20 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Thanks for the update.

   SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were very clear
   that the VAWA response is incorrect and had updated it to show Pending I-485.

   Are you looking at the specific SAVE case 0023111080901TP?

   Please bring the printouts of SAVE with you to the meeting so we can look together.

   Please confirm if you are looking at that specific case, and have a good weekend.

   Chris


   On Fri, Aug 18, 2023 at 5:16 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      I apologize for not including the update for the most recent status.

      The SAVE response received was "application pending" again without the I-485. According to the Federal Student Aid Handbook and other federal
      guidance we have received, this response is ineligible status to receive Title IV federal financial aid and the Florida Student Assistance Grant.

      I will inform my supervisors that you want to keep the meeting for Tuesday at 12:30pm.

      If you do wish to pursue this matter further, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone
      at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/18/2023, 4:38 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,

      I did not see this email before attempting to contact you, as it went to a different part of my inbox.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                          14/116
9/7/23, 1:45 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 45 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous times that
      you required.

      Is this not the correct status that is required?

      We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

      In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you have
      previously confirmed with me.

      Please advise as soon as possible.

      Thanks,
      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                     Mon, Aug 21, 2023 at 11:58 AM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>

   Mr. Garson,

   The SAVE case number is 0023111080901TP that has the SAVE response "Application Pending".

   I will make sure that all the screenshots are available for your review tomorrow.

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/18/2023, 5:20 PM
   To: sfa-help@mail.ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Thanks for the update.

   SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were very clear
   that the VAWA response is incorrect and had updated it to show Pending I-485.

   Are you looking at the specific SAVE case 0023111080901TP?

   Please bring the printouts of SAVE with you to the meeting so we can look together.

   Please confirm if you are looking at that specific case, and have a good weekend.

   Chris



   On Fri, Aug 18, 2023 at 5:16 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                          15/116
9/7/23, 1:45 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 46 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      I apologize for not including the update for the most recent status.

      The SAVE response received was "application pending" again without the I-485. According to the Federal Student Aid Handbook and other federal
      guidance we have received, this response is ineligible status to receive Title IV federal financial aid and the Florida Student Assistance Grant.

      I will inform my supervisors that you want to keep the meeting for Tuesday at 12:30pm.

      If you do wish to pursue this matter further, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone
      at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/18/2023, 4:38 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,

      I did not see this email before attempting to contact you, as it went to a different part of my inbox.

      You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous times that
      you required.

      Is this not the correct status that is required?

      We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

      In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you have
      previously confirmed with me.

      Please advise as soon as possible.

      Thanks,
      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                      Mon, Aug 21, 2023 at 12:00 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Marie,

   Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still showing
   VAWA under that section?

   Thanks,
   Chris


   On Mon, Aug 21, 2023 at 11:58 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                            16/116
9/7/23, 1:45 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 47 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      Mr. Garson,

      The SAVE case number is 0023111080901TP that has the SAVE response "Application Pending".

      I will make sure that all the screenshots are available for your review tomorrow.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/18/2023, 5:20 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Thanks for the update.

      SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were very clear
      that the VAWA response is incorrect and had updated it to show Pending I-485.

      Are you looking at the specific SAVE case 0023111080901TP?

      Please bring the printouts of SAVE with you to the meeting so we can look together.

      Please confirm if you are looking at that specific case, and have a good weekend.

      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                               Mon, Aug 21, 2023 at 12:07 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>

   Mr. Garson,

   No, it is no longer showing the SAVE response "VAWA". It now shows the SAVE response "application pending".

   Tomorrow when you and Jiwon arrive please go to the OneStop office located at S-107 Criser Hall. You will be meeting with my supervisor, Jennifer
   Bennett.

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/21/2023, 12:00 PM
   To: sfa-help@mail.ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                   17/116
9/7/23, 1:45 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 48 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
   [External Email]
   Marie,

   Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still showing
   VAWA under that section?

   Thanks,
   Chris



   On Mon, Aug 21, 2023 at 11:58 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      The SAVE case number is 0023111080901TP that has the SAVE response "Application Pending".

      I will make sure that all the screenshots are available for your review tomorrow.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/18/2023, 5:20 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Thanks for the update.

      SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were very clear
      that the VAWA response is incorrect and had updated it to show Pending I-485.

      Are you looking at the specific SAVE case 0023111080901TP?

      Please bring the printouts of SAVE with you to the meeting so we can look together.

      Please confirm if you are looking at that specific case, and have a good weekend.

      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                      Mon, Aug 21, 2023 at 12:11 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Got it. I will talk with SAVE again between now and then, and, if they inform me that it was changed, I will email back to see if you would be willing to
   check it.

   Thanks for your help,
   Chris


   On Mon, Aug 21, 2023 at 12:07 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                            18/116
9/7/23, 1:45 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 49 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      Mr. Garson,

      No, it is no longer showing the SAVE response "VAWA". It now shows the SAVE response "application pending".

      Tomorrow when you and Jiwon arrive please go to the OneStop office located at S-107 Criser Hall. You will be meeting with my supervisor, Jennifer
      Bennett.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/21/2023, 12:00 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,

      Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still showing
      VAWA under that section?

      Thanks,
      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                     Mon, Aug 21, 2023 at 12:59 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>

   Mr. Garson,

   I can definitely check the status again if it changes.

   Regards,

   Marie Guerra Rosado
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/21/2023, 12:11 PM
   To: sfa-help@mail.ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Got it. I will talk with SAVE again between now and then, and, if they inform me that it was changed, I will email back to see if you would be willing to
   check it.

   Thanks for your help,
   Chris


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           19/116
9/7/23, 1:45 AM       Case 1:23-cv-00272-MW-HTC                  Document
                              Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                      Eligible NonCitizenship    11/15/23
                                                                                              Determination       Page 50 of 146
                                                                                                            [ ref:_00D412ElGo._5001K1FnuoE:ref ]



   On Mon, Aug 21, 2023 at 12:07 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      No, it is no longer showing the SAVE response "VAWA". It now shows the SAVE response "application pending".

      Tomorrow when you and Jiwon arrive please go to the OneStop office located at S-107 Criser Hall. You will be meeting with my supervisor, Jennifer
      Bennett.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/21/2023, 12:00 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,

      Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still showing
      VAWA under that section?

      Thanks,
      Chris



      [Quoted text hidden]




    5 attachments
         untitled.
         105K
         untitled.
         144K
         untitled.
         41K
         d7b16ecd-8043-4430-9c09-4a79d167af63.
         120K
         untitled.
         48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                      Wed, Aug 23, 2023 at 10:57 AM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Marie,

   I emailed Jennifer & Tracy yesterday, but I thought I should also send to you this way.

   UF's position currently is that the FAFSA has an "error" due to the C-code of a DHS mismatch. If we change the FAFSA to designate Jiwon as neither a
   citizen or eligible non-citizen, DOE will no longer attempt a DHS match/SAVE request at all. And since the FSAG does not require either Title IV eligibility
   or being an eligible non-citizen, having an error-free FAFSA without an attempt of a DHS match at this stage should theoretically make her eligible for the
   FSAG, correct?

   Please let us know so we can get the FAFSA reprocessed with this changed information. We understand this will remove our claim to Title IV eligibility at
   this stage while we explore options with the DOE and legally.

   Thanks again for your help—and for assistance with setting up the meeting yesterday. It was much more efficient than trying to communicate over email,
   but I didn't think to ask this question then.

   Thanks,
   Chris


   On Mon, Aug 21, 2023 at 12:59 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           20/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 51 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]
      Mr. Garson,

      I can definitely check the status again if it changes.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/21/2023, 12:11 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Got it. I will talk with SAVE again between now and then, and, if they inform me that it was changed, I will email back to see if you would be willing to
      check it.

      Thanks for your help,
      Chris



      On Mon, Aug 21, 2023 at 12:07 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
       Mr. Garson,

        No, it is no longer showing the SAVE response "VAWA". It now shows the SAVE response "application pending".

        Tomorrow when you and Jiwon arrive please go to the OneStop office located at S-107 Criser Hall. You will be meeting with my supervisor, Jennifer
        Bennett.

        Regards,

        Marie Guerra Rosado
        Student Financial Aid and Scholarships
        Division of Enrollment Management


        --------------- Original Message ---------------
        From: Chris Garson [chris.garson@exlsolutions.net]
        Sent: 8/21/2023, 12:00 PM
        To: sfa-help@mail.ufl.edu
        Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

        [External Email]
        [External Email]
        Marie,

        Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still
        showing VAWA under that section?

        Thanks,
        Chris



        On Mon, Aug 21, 2023 at 11:58 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
         Mr. Garson,

          The SAVE case number is 0023111080901TP that has the SAVE response "Application Pending".

          I will make sure that all the screenshots are available for your review tomorrow.

          Regards,

          Marie Guerra Rosado
          Student Financial Aid and Scholarships
          Division of Enrollment Management


          --------------- Original Message ---------------
          From: Chris Garson [chris.garson@exlsolutions.net]
          Sent: 8/18/2023, 5:20 PM
          To: sfa-help@mail.ufl.edu
          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

          [External Email]

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                              21/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 52 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
          [External Email]
          Thanks for the update.

          SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were very
          clear that the VAWA response is incorrect and had updated it to show Pending I-485.

          Are you looking at the specific SAVE case 0023111080901TP?

          Please bring the printouts of SAVE with you to the meeting so we can look together.

          Please confirm if you are looking at that specific case, and have a good weekend.

          Chris



          On Fri, Aug 18, 2023 at 5:16 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
           Mr. Garson,

            I apologize for not including the update for the most recent status.

            The SAVE response received was "application pending" again without the I-485. According to the Federal Student Aid Handbook and other
            federal guidance we have received, this response is ineligible status to receive Title IV federal financial aid and the Florida Student Assistance
            Grant.

            I will inform my supervisors that you want to keep the meeting for Tuesday at 12:30pm.

            If you do wish to pursue this matter further, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by
            phone at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

            Regards,

            Marie Guerra Rosado
            Student Financial Aid and Scholarships
            Division of Enrollment Management


            --------------- Original Message ---------------
            From: Chris Garson [chris.garson@exlsolutions.net]
            Sent: 8/18/2023, 4:38 PM
            To: sfa-help@mail.ufl.edu
            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

            [External Email]
            [External Email]
            Marie,

            I did not see this email before attempting to contact you, as it went to a different part of my inbox.

            You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous times
            that you required.

            Is this not the correct status that is required?

            We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

            In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you
            have previously confirmed with me.

            Please advise as soon as possible.

            Thanks,
            Chris



            On Fri, Aug 18, 2023 at 4:09 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
             Mr. Garson,

              I apologize for the delay in my response.

              I am writing to provide you with a summary of the status of the citizenship status verification related to your daughter’s FAFSA application for
              the 2023-2024 aid year.

              The documentation you have provided was submitted to the Department of Homeland Security, and the Systematic Alien Verification for
              Entitlements (SAVE) responses received, per federal guidelines, are ineligible statuses to receive Title IV federal financial aid and the Florida
              Student Assistance Grant.

              Our office has consulted with Federal Student Aid regarding your situation and the Department of Homeland Security SAVE system
              representatives. The SAVE eligible non-citizen 3rd step verification resulted in an ineligible status twice, based upon federal documentation for
              eligible statuses. Our office then consulted with Federal Student Aid regarding this status and the verbal information you provided; Federal

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                             22/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                  Document
                           Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                   Eligible NonCitizenship    11/15/23
                                                                                           Determination       Page 53 of 146
                                                                                                         [ ref:_00D412ElGo._5001K1FnuoE:ref ]
              Student Aid confirmed the initial determination that the documentation received from both you and SAVE cannot result in an eligible status.

              You have requested a meeting, in person, with our office to discuss the above. Before you make the trip to campus and potentially take
              yourself away from work or other responsibilities, I wanted to make you aware that we cannot override the determination from the Department
              of Homeland Security. Unless you have additional documentation to provide, there is nothing else we can do to assist you in eligibility for
              federal financial aid or state need-based financial aid.

              We have exhausted all options available through our office. If you still want to discuss this matter in-person, I am willing to meet with you.
              However, I would only be able to reiterate the above facts and would not be able to help you further.

              If you wish to pursue this matter, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone
              at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

              Regards,

              Marie Guerra Rosado
              Student Financial Aid and Scholarships
              Division of Enrollment Management


              --------------- Original Message ---------------
              From: Chris Garson [chris.garson@exlsolutions.net]
              Sent: 8/18/2023, 2:39 PM
              To: sfa-help@mail.ufl.edu
              Cc: countess@ufl.edu
              Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

              [External Email]
              [External Email]
              Hi Marie,

              I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to travel
              down there for our meeting on Tuesday—or if everything is resolved now.

              Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again later
              today.

              Thanks again for your help on this.

              Chris



              On Thu, Aug 17, 2023 at 2:35 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
               Hi Marie,

                  I left you a VM a few minutes ago; sorry I missed you. I just wanted to make sure you got my last email and to get an update on where we
                  are—and if we still need that meeting next week.

                  This has been really stressful for us, and we really would appreciate an update. I'm sure you're swamped with the term starting next week,
                  and I'm really sorry to add to that!

                  Thanks again for your help—and hope to hear from you soon.

                  Thanks,
                  Chris




                  On Wed, Aug 16, 2023 at 1:44 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                   Marie,

                    I just left you a VM, but I wanted to let you know that I was able to talk with someone at SAVE Case Resolutions & Audits to correct the
                    SAVE response you received on the case 0023111080901TP that had the incorrect VAWA response.

                    They acknowledged that the VAWA response was incorrect and they changed the response to Pending I-485, which is what you indicated
                    was necessary for your purposes.

                    Please call me at 904-402-2026.

                    Thanks,
                    Chris




                    On Tue, Aug 15, 2023 at 3:03 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                     It will be Jiwon and myself. I will attempt to ensure any other relevant parties are available by phone at that time if necessary.

                      Thanks,

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                             23/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 54 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                    Chris




                    On Tue, Aug 15, 2023 at 12:53 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                     Mr. Garson,

                      Yes sir, that does work for us.

                      Can you please tell me who all is coming with you so I can make sure we can accommodate everyone?

                      Regards,

                      Marie Guerra Rosado
                      Student Financial Aid and Scholarships
                      Division of Enrollment Management


                      --------------- Original Message ---------------
                      From: Chris Garson [chris.garson@exlsolutions.net]
                      Sent: 8/15/2023, 11:45 AM
                      To: sfa-help@mail.ufl.edu
                      Cc: jiwon.byungarson@ufl.edu
                      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                      [External Email]
                      [External Email]
                      That's fine. Please confirm if that works.

                      Thanks,
                      Chris



                      On Tue, Aug 15, 2023 at 9:09 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                       Mr. Garson,

                        There is a scheduling conflict, can we meet at 12:30pm on 8/22?

                        Marie Guerra Rosado
                        Student Financial Aid and Scholarships
                        Division of Enrollment Management


                        --------------- Original Message ---------------
                        From: Chris Garson [chris.garson@exlsolutions.net]
                        Sent: 8/14/2023, 5:15 PM
                        To: sfa-help@mail.ufl.edu
                        Cc: jiwon.byungarson@ufl.edu
                        Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                        [External Email]
                        [External Email]
                        Thank you for the prompt reply.

                        We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

                        Chris



                        On Mon, Aug 14, 2023 at 5:12 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                         Mr. Garson,

                            I spoke with my supervisor and the earliest availability is next week. Here are the days and times we can meet:

                            Tuesday 8/22/23 - open all day
                            Wednesday 8/23/23- Anytime before 3:00pm
                            Thursday 8/24/23- Anytime before 2:00pm

                            Please let me know if you would like to have conference call, Zoom meeting, or in person.

                            Regards,

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…            24/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 55 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                          From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                          Sent: 8/14/2023, 4:24 PM
                          To: chris.garson@exlsolutions.net
                          Cc: jiwon.byungarson@ufl.edu
                          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                          Mr. Garson,

                          Yes, I will notify my supervisors and get back to you as soon as possible.

                          Regards,

                          Marie Guerra Rosado
                          Student Financial Aid and Scholarships
                          Division of Enrollment Management


                          --------------- Original Message ---------------
                          From: Chris Garson [chris.garson@exlsolutions.net]
                          Sent: 8/14/2023, 4:22 PM
                          To: sfa-help@mail.ufl.edu
                          Cc: jiwon.byungarson@ufl.edu
                          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                          [External Email]
                          [External Email]
                          Yes, they are need-based awards based on the FAFSA. The FAFSA is what demonstrates the need. However, the fact that you
                          even received the FAFSA data from the DOE indicates that there were no errors in processing. There is nothing listed as an error
                          on her FAFSA when logging in, and the FAFSA shows as fully processed with no errors.

                          I understand the Title IV is a separate matter, but the immigration status for purposes of Title IV has nothing to do with the need
                          demonstrated on the FAFSA. The FAFSA has been fully processed, and you would not have even received it if there were errors
                          on it.

                          Can we schedule a conference with you and your supervisors this week to discuss this and other items? This is not being
                          interpreted correctly.

                          Thanks,
                          Chris



                          On Mon, Aug 14, 2023 at 4:19 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                           Mr. Garson,

                            I apologize I did not see your previous email.

                            The FL Student Assistance Grant and UF Undergraduate grant are not federal but these two awards are need-based awards
                            and eligibility is determined from information provided on the FAFSA. In order to receive these awards we must have an error-
                            free FAFSA and the student must show need on their federal need analysis report.

                            I hope this addresses your concerns.

                            Let me know if you have any further questions.

                            Regards,

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                            Sent: 8/14/2023, 4:10 PM
                            To: chris.garson@exlsolutions.net
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            Mr. Garson,

                            Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free FAFSA.
                            Once we receive the final confirmation for your daughter's citizenship status we will be able to determine her eligibility for the
                            FSAG award.

                            You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me from
                            OSFA.

                            Please let me know if you have any further questions.

                            Regards,

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        25/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 56 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: Chris Garson [chris.garson@exlsolutions.net]
                            Sent: 8/14/2023, 3:42 PM
                            To: sfa-help@mail.ufl.edu
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            [External Email]
                            [External Email]
                            Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student Assistance
                            Grant. Residency is only required and follows the same rules as Bright Futures.

                            Why is this not approvable?




                            Thanks,
                            Chris



                            On Mon, Aug 14, 2023 at 3:26 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                             Marie,

                               The FL State Assistance Grant and UF Undergraduate grant are not federal. You previously stated that FL aid was state-
                               specific and FL residency was the requirement—and that it has been approved.

                               Can you explain why these are different and tied to the federal awards when they are not related to the federal regulations in
                               any way?

                               Thanks,
                               Chris




                               On Mon, Aug 14, 2023 at 3:23 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                Mr. Garson,

                                 I confirmed that all awards except the Bright Futures award and the Welcome Grant are on hold until we complete the
                                 citizenship review.

                                 Let me know if you have any further questions.

                                 Marie Guerra Rosado
                                 Student Financial Aid and Scholarships
                                 Division of Enrollment Management


                                 --------------- Original Message ---------------
                                 From: Chris Garson [chris.garson@exlsolutions.net]
                                 Sent: 8/14/2023, 2:31 PM
                                 To: sfa-help@mail.ufl.edu
                                 Cc: jiwon.byungarson@ufl.edu
                                 Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                 [External Email]
                                 [External Email]
                                 Thanks. She will do the release now.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                      26/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 57 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                 The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

                                 Can you confirm that the following items are approved? They are all FL or UF.

                                     1. FL Student Assistance Grant
                                     2. FL Academic Scholars Award (Bright Futures)
                                     3. UF Undergraduate Grant
                                     4. UF Welcome Grant

                                 Thanks,
                                 Chris




                                 On Mon, Aug 14, 2023 at 2:27 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                  Mr. Garson,

                                   Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit the
                                   student's information to determine if DHS can verify citizenship. I have not received a response back yet but as soon as
                                   I have more information I will reach out to you.

                                   As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the other
                                   aid she was awarded is still pending final confirmation of her citizenship status. I noticed that your daughter has not set
                                   up her student authorizations to release financial information yet.

                                   Can you please have her update this information and include you on the form so I can discuss the details of her
                                   financial aid awards with you?

                                   I have included the instructions on how to set up the student authorizations form.

                                   Let me know if you have any further questions.

                                   Marie Guerra Rosado
                                   Student Financial Aid and Scholarships
                                   Division of Enrollment Management


                                   --------------- Original Message ---------------
                                   From: Chris Garson [chris.garson@exlsolutions.net]
                                   Sent: 8/14/2023, 11:58 AM
                                   To: sfa-help@mail.ufl.edu
                                   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                   [External Email]
                                   [External Email]
                                   Marie,

                                   Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you get
                                   anything back on it instantly—or did it immediately move to 2nd stage?

                                   Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid
                                   approved?

                                   Thanks,
                                   Chris



                                   On Wed, Aug 09, 2023 at 11:01 AM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                    Marie,

                                     She was recently approved for Special Immigrant Juvenile Status (SIJS) on July 28th, which is not VAWA but it is
                                     somewhat related conceptually (it uses the same application form). This is completely separate from, and is not
                                     affected by, her concurrent Adjustment of Status application based on an I-130. The VAWA specifically,
                                     however, is completely incorrect. They must have not looked at the specific details before responding.

                                     As shown to you both by the receipt notice and the fact that you can still check the I-485 on the USCIS website as
                                     pending, she has a pending I-485 which makes her eligible by itself. Can you not use the confirmed pending 485 as
                                     evidence of this? You can check this easily on the USCIS website yourself.

                                     When submitting the third-step request, it is important to specify exactly what you are attempting to verify (i.e, that
                                     she has a pending I-485). I'm not sure what you wrote originally, but this could have caused confusion.

                                     Please let me know as soon as possible.

                                     Thanks,
                                     Chris




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           27/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 58 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                     On Wed, Aug 09, 2023 at 10:47 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                     wrote:
                                       Mr. Garson,

                                       Yes, the response was returned but it was a completely different status. The SAVE Response received is VAWA
                                       Self-Petitioner but the VAWA Status is that your daughter is not the self-petitioner.

                                       Please allow me a few days to research this new status to determine if we can approve your daughter for federal
                                       aid based on the documentation we have received.

                                       If you have any documentation from DHS about the VAWA status you can send me a copy and I will review it
                                       immediately.

                                       Let me know if you have any questions.

                                       Regards,

                                       Marie Guerra Rosado
                                       Student Financial Aid and Scholarships
                                       Division of Enrollment Management


                                       --------------- Original Message ---------------
                                       From: Chris Garson [chris.garson@exlsolutions.net]
                                       Sent: 8/8/2023, 10:33 PM
                                       To: sfa-help@mail.ufl.edu
                                       Cc: jiwon.byungarson@ufl.edu
                                       Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                       [External Email]
                                       [External Email]
                                       Marie,

                                       SAVE is now reporting that the request has been returned. Can you verify?

                                       Thanks,
                                       Chris



                                       On Tue, Aug 08, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                       wrote:
                                         Mr. Garson,

                                         I apologize for my delayed response. Thank you for this information. I will include this document with your case. I
                                         will continue to monitor your daughter's DHS case. I am hoping we will receive an update soon.

                                         If you have any questions please do not hesitate to reach out to me.

                                         Regards,

                                         Marie Guerra Rosado
                                         Student Financial Aid and Scholarships
                                         Division of Enrollment Management


                                         --------------- Original Message ---------------
                                         From: Chris Garson [chris.garson@exlsolutions.net]
                                         Sent: 8/2/2023, 4:04 PM
                                         To: sfa-help@mail.ufl.edu
                                         Cc: jiwon.byungarson@ufl.edu
                                         Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                         [External Email]
                                         [External Email]
                                         Marie,

                                         Thank you again for your call today and the information; it was very helpful.

                                         It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to enter
                                         the receipt number on the I-485 receipt that we sent you (IOE0915492398) into the USCIS/DHS case status
                                         check on the website here: https://egov.uscis.gov/

                                         This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time you
                                         run the check.




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        28/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 59 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]




                                         I may renew this assertion later, but I thought it may be an idea.

                                         Thanks,
                                         Chris



                                         On Mon, Jul 31, 2023 at 5:14 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                          Thank you for the update. We will wait to hear from you.

                                           Please feel free to contact me at (904) 402-2026 if you have any follow-up questions.

                                           Thanks,
                                           Chris




                                           On Fri, Jul 28, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                           help@mail.ufl.edu> wrote:
                                             Mr. Garson,

                                             I have notified my supervisors about your concerns and they are researching your case.

                                             As soon as I have more information I will contact you.

                                             Regards,

                                             Marie Guerra Rosado
                                             Student Financial Aid and Scholarships
                                             Division of Enrollment Management


                                             --------------- Original Message ---------------
                                             From: Chris Garson [chris.garson@exlsolutions.net]
                                             Sent: 7/28/2023, 9:24 AM
                                             To: sfa-help@mail.ufl.edu
                                             Cc: jiwon.byungarson@ufl.edu
                                             Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                             [External Email]
                                             [External Email]
                                             Hi Marie,

                                             Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34 CFR §
                                             668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose with the
                                             intention of becoming a citizen or permanent resident" are eligible for federal aid.

                                             The pending I-485 shows that she has a pending application for permanent residency and that is
                                             fully compliant with the SAVE response you received. Please let me know why the SAVE response is
                                             incompatible with this federal regulation that clearly makes her eligible for Title IV aid.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                     29/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 60 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                             Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application for
                                             permanent residency) is an instrument that allows a person to be paroled once returning to the US from a
                                             trip abroad to resume processing of their I-485. The stated parole period upon entry is always 1 year for
                                             those in this category. Based on her EAD, her authorization to use advance parole is valid through February
                                             2025, meaning that she can leave and return an infinite number of times to be paroled back into the US for 1
                                             year each time, effectively making her parole period through February 12, 2026.

                                             I previously sent you a document from the University of Southern California that seems to understand this
                                             better. Only those with a pending application for permanent residency can receive an I-512 endorsement on
                                             their EAD, and USC seems to understand that. That's why their citizenship eligibility form makes specific
                                             reference to that endorsement as a valid way to evidence parole for the purposes of Title IV aid. If you're
                                             operating under the same federal regulations, why does USC accept this as valid evidence and you do not?
                                             They will receive the exact same SAVE responses in this case, which, as I noted above, is fully compatible
                                             with 34 CFR § 668.33(a)(2)(ii).

                                             Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                             Again, after speaking with our lawyer and with other schools that operate under the same federal
                                             regulations, we firmly believe that UF is misapplying the law in this case.

                                             Please advise.

                                             Thanks,
                                             Chris Garson



                                             On Fri, Jul 28, 2023 at 8:40 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                             help@mail.ufl.edu> wrote:
                                               Mr. Garson,

                                               I am not sure what happened but I did reply to your email on July 6th. Here is my response to your email:


                                                              To: chris.garson, Jiwon Iris Byun-Garson                                  July 6, 2023 at 11:14
                                                              AM

                                                              Mr. Garson,
                                                              I understand your concerns and want you to know that I will do whatever I can to assist you
                                                              and your daughter with this case.

                                                              Based on the information I received from the SAVE system for DHS, the status provided
                                                              was that "the applicant status was application pending as a non-national of the US that has
                                                              filed an application with USCIS for an extension, change or adjustment of status or to obtain
                                                              employment, but a decision has not yet been made".

                                                              Per our federal regulations, advance parole is not the same parolee status as an individual
                                                              who is paroled in the United States for at least one year [Section 212(d)(5) of the
                                                              Immigration and Nationality Act (INA)]. Therefore, individuals with advance parole status are
                                                              not eligible for Title IV for aid unless they also fall into some other Title IV-eligible category
                                                              (e.g., permanent residents, asylees, or parolees) and can document that eligible status.

                                                              If you have any additional documentation that you can provide me that shows a status other
                                                              than advance parolee I can resubmit the forms to SAVE.

                                                              Please let me know how you want to proceed. If you have any additional questions feel free
                                                              to response back to this email or you can call me directly at 352.294.3259

                                               You are correct, I did resubmit the documentation that was provided to SAVE. Per our federal regulations,
                                               that was mentioned above, I am unable to approve for your daugther's citizenship status without an
                                               eligible SAVE response. If you have any additional documentation that you can provide me that shows a
                                               status other than advance parolee, please send me a copy and I will review it immediately.

                                               Marie Guerra Rosado
                                               Student Financial Aid and Scholarships
                                               Division of Enrollment Management


                                               --------------- Original Message ---------------
                                               From: Chris Garson [chris.garson@exlsolutions.net]
                                               Sent: 7/28/2023, 7:00 AM
                                               To: jiwon.byungarson@ufl.edu; sfa-help@mail.ufl.edu
                                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                               [External Email]
                                               [External Email]
                                               Hi Marie,

                                               I hope you've been well. Although we have not received a response from you, I see that on July 6th (the
                                               day after I sent the previous email) , the DHS SAVE case was reopened, presumably because you
                                               submitted a third step request. As of this email on July 28th, the case is still pending.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        30/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 61 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]




                                               According to the "SAVE System Instructions for US Department of Education (School) Users" guide, the
                                               maximum time the school is to wait is 15 business days. These 15 business days expired yesterday July
                                               27th. After this time, the school is to make a decision based on the documentation submitted and to not
                                               follow up with the SAVE case further. Please see the excerpt cited below for further detail.




                                               Source: https://fsapartners.ed.gov/sites/default/files/attachments/2019-11/SAVEInstruction
                                               s30Final.pdf (page 30)

                                               Linking source: https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2019-10-
                                               16/save-instructions-us-department-education-school-users-version-30-available-updated-sept-9-2022

                                               Please advise as soon as possible if you will follow these directives from the Department of Education,
                                               such that we can ensure this is resolved before the term begins. Please also refer to my previous email
                                               regarding the legal basis for her eligibility.

                                               Thank you,
                                               Chris Garson



                                               On Wed, Jul 05, 2023 at 1:54 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                                Hi Marie,

                                                 Thank you for the update. Jiwon forwarded your email to me; I'm responding as the father of Jiwon
                                                 Byun-Garson.

                                                 We have spoken to the Department of Education, the Department of Homeland Security, and our
                                                 immigration lawyer prior to submitting this, and all three have confirmed that her status (parolee) is
                                                 eligible for aid. Here is the legal basis for this.

                                                 First, the Department of Education's Federal Aid Student Handbook states the basis for my eligibility as
                                                 one of the eligible non-citizen categories:



                                                 Source: https://fsapartners.ed.gov/knowledge-center/fsa-handbook/2022-2023/vol1/ch2-us-citizenship-
                                                 eligible-noncitizens

                                                 Her evidence of parole status is indicated on my I-766 (Employment Authorization) with the
                                                 endorsement of "I-512 ADVANCE PROLE". Additionally, I have a pending I-485 and submitted the
                                                 applicable I-797C to evidence this. This card is valid for 2 years, meeting the 1 year parole requirement
                                                 along with a pending I-485 (showing clear intent to become a permanent resident). These factors meet
                                                 the eligible category of "Persons paroled into the US for at least one year" in accordance with the
                                                 above.

                                                 You can also see, for example, on the USC citizen verification form (linked below) that the "Employment
                                                 Authorization with the notation of 'Serves as I-512 Advance Parole'" is clearly eligible for federal aid
                                                 under the "Person Paroled into the US for at least one year" category.

                                                 Even though this is a different university, the federal rules still apply country-wide.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                      31/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 62 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                                 Source: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                                 Second, the source of the parolee with a pending I-485 aid eligibility stems from Title 34 of the Federal
                                                 Regulations.

                                                 34 CFR § 668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose
                                                 with the intention of becoming a citizen or permanent resident" are eligible for federal aid. The pending
                                                 I-485 shows that she has a pending application for permanent residency.




                                                 Source: https://www.ecfr.gov/current/title-34/subtitle-B/chapter-VI/part-668/subpart-C/section-668.33


                                                 Third, the Department of Education, through the FAFSA process, has verified her eligibility with
                                                 USCIS/DHS shown below. The date matches the date we submitted her FAFSA application. You
                                                 indicated that you attempted to verify this yourself, but there is no record with DHS/USCIS that you (the
                                                 school) attempted to do so after this date. All requests for verification with DHS are stored in the SAVE
                                                 system. Her FAFSA shows that her status has been verified.




                                                 ** Please clarify your legal basis for denying her aid that the DOE, DHS, Federal Regulations, and other
                                                 schools clearly indicate she is eligible for. This may not be a situation you handle on a regular basis, so
                                                 please review the legal basis above and let me know how we can appeal this determination. We can
                                                 have our lawyer speak with your legal team if needed.

                                                 The Federal Aid Student Handbook indicates that you may need to submit a third-level SAVE request to
                                                 get the correct determination.

                                                 Please let us know as soon as possible so we can resolve before the term begins.

                                                 Regards,
                                                 Chris Garson




                                                 On Wed, Jul 05, 2023 at 11:59 AM, Jiwon I. Byun-Garson <jiwon.byungarson@ufl.edu> wrote:
                                                  Sent from my iPhone

                                                   Begin forwarded message:


                                                           From: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                                           Date: July 5, 2023 at 9:36:04 AM EDT
                                                           To: "Byun-Garson, Jiwon I." <jiwon.byungarson@ufl.edu>
                                                           Subject: 2023-24 Eligible NonCitizenship Determination [
                                                           ref:_00D412ElGo._5001K1FnuoE:ref ]


                                                          ?
                                               Hello Jiwon,

                                               We submitted the documentation you gave to us for your eligible non-citizenship status to the Department
                                               of Homeland Security for their review to see if you are eligible for financial aid. Unfortunately, based on
                                               their review of the documentation provided, you are not eligible for financial aid with your current status. If
                                               in the future your status changes, please do not hesitate to reach out to us so that we can resubmit and
                                               check to see if your new status would qualify.

                                               While federal funding for your university endeavor, at least with your current immigration status, is not
                                               available, there are many other options available to you. You can check out our scholarship page to see if
                                               you qualify for any institutional or outside scholarships: http://www.sfa.ufl.edu/types-of-aid/scholarships/

                                               If you have any questions, please contact the UF OneStop at www.onestop.ufl.edu.

                                               Regards

                                               Marie Guerra Rosado

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       32/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 63 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                                    Student Financial Aid and Scholarships
                                                    Division of Enrollment Management

                                                    ref:_00D412ElGo._5001K1FnuoE:ref




    5 attachments
        untitled.
        105K
        untitled.
        144K
        untitled.
        41K
        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                     Wed, Aug 23, 2023 at 4:30 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>

   Hello Chris,

   We advise all students and parents to complete their FAFSA application accurately and honestly regarding bio-demographic information,
   dependency status, and financial information. The FAFSA must be error-free and complete to receive federal student aid, institutional aid (UF
   Undergraduate Grant), and the Florida Student Assistance Grant (FSAG).

   The requirement to receive FSAG funding states, “The student must be a Florida resident and a U.S. citizen or eligible non-citizen.” FSAG.pdf
   (floridastudentfinancialaidsg.org)

   Thank you,

   Tracy McMullen
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/23/2023, 10:57 AM
   To: sfa-help@mail.ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Marie,

   I emailed Jennifer & Tracy yesterday, but I thought I should also send to you this way.

   UF's position currently is that the FAFSA has an "error" due to the C-code of a DHS mismatch. If we change the FAFSA to designate Jiwon as neither a
   citizen or eligible non-citizen, DOE will no longer attempt a DHS match/SAVE request at all. And since the FSAG does not require either Title IV eligibility
   or being an eligible non-citizen, having an error-free FAFSA without an attempt of a DHS match at this stage should theoretically make her eligible for the
   FSAG, correct?

   Please let us know so we can get the FAFSA reprocessed with this changed information. We understand this will remove our claim to Title IV eligibility at
   this stage while we explore options with the DOE and legally.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                         33/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                  Document
                           Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                   Eligible NonCitizenship    11/15/23
                                                                                           Determination       Page 64 of 146
                                                                                                         [ ref:_00D412ElGo._5001K1FnuoE:ref ]
   Thanks again for your help—and for assistance with setting up the meeting yesterday. It was much more efficient than trying to communicate over email,
   but I didn't think to ask this question then.

   Thanks,
   Chris



   On Mon, Aug 21, 2023 at 12:59 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      I can definitely check the status again if it changes.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/21/2023, 12:11 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Got it. I will talk with SAVE again between now and then, and, if they inform me that it was changed, I will email back to see if you would be willing to
      check it.

      Thanks for your help,
      Chris



      On Mon, Aug 21, 2023 at 12:07 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
       Mr. Garson,

        No, it is no longer showing the SAVE response "VAWA". It now shows the SAVE response "application pending".

        Tomorrow when you and Jiwon arrive please go to the OneStop office located at S-107 Criser Hall. You will be meeting with my supervisor, Jennifer
        Bennett.

        Regards,

        Marie Guerra Rosado
        Student Financial Aid and Scholarships
        Division of Enrollment Management


        --------------- Original Message ---------------
        From: Chris Garson [chris.garson@exlsolutions.net]
        Sent: 8/21/2023, 12:00 PM
        To: sfa-help@mail.ufl.edu
        Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

        [External Email]
        [External Email]
        Marie,

        Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still
        showing VAWA under that section?

        Thanks,
        Chris



        On Mon, Aug 21, 2023 at 11:58 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
         Mr. Garson,

          The SAVE case number is 0023111080901TP that has the SAVE response "Application Pending".

          I will make sure that all the screenshots are available for your review tomorrow.

          Regards,

          Marie Guerra Rosado
          Student Financial Aid and Scholarships
          Division of Enrollment Management

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                              34/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 65 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]



          --------------- Original Message ---------------
          From: Chris Garson [chris.garson@exlsolutions.net]
          Sent: 8/18/2023, 5:20 PM
          To: sfa-help@mail.ufl.edu
          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

          [External Email]
          [External Email]
          Thanks for the update.

          SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were very
          clear that the VAWA response is incorrect and had updated it to show Pending I-485.

          Are you looking at the specific SAVE case 0023111080901TP?

          Please bring the printouts of SAVE with you to the meeting so we can look together.

          Please confirm if you are looking at that specific case, and have a good weekend.

          Chris



          On Fri, Aug 18, 2023 at 5:16 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
           Mr. Garson,

            I apologize for not including the update for the most recent status.

            The SAVE response received was "application pending" again without the I-485. According to the Federal Student Aid Handbook and other
            federal guidance we have received, this response is ineligible status to receive Title IV federal financial aid and the Florida Student Assistance
            Grant.

            I will inform my supervisors that you want to keep the meeting for Tuesday at 12:30pm.

            If you do wish to pursue this matter further, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by
            phone at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

            Regards,

            Marie Guerra Rosado
            Student Financial Aid and Scholarships
            Division of Enrollment Management


            --------------- Original Message ---------------
            From: Chris Garson [chris.garson@exlsolutions.net]
            Sent: 8/18/2023, 4:38 PM
            To: sfa-help@mail.ufl.edu
            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

            [External Email]
            [External Email]
            Marie,

            I did not see this email before attempting to contact you, as it went to a different part of my inbox.

            You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous times
            that you required.

            Is this not the correct status that is required?

            We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

            In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you
            have previously confirmed with me.

            Please advise as soon as possible.

            Thanks,
            Chris



            On Fri, Aug 18, 2023 at 4:09 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
             Mr. Garson,

              I apologize for the delay in my response.

              I am writing to provide you with a summary of the status of the citizenship status verification related to your daughter’s FAFSA application for

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                             35/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                  Document
                           Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                   Eligible NonCitizenship    11/15/23
                                                                                           Determination       Page 66 of 146
                                                                                                         [ ref:_00D412ElGo._5001K1FnuoE:ref ]
              the 2023-2024 aid year.

              The documentation you have provided was submitted to the Department of Homeland Security, and the Systematic Alien Verification for
              Entitlements (SAVE) responses received, per federal guidelines, are ineligible statuses to receive Title IV federal financial aid and the Florida
              Student Assistance Grant.

              Our office has consulted with Federal Student Aid regarding your situation and the Department of Homeland Security SAVE system
              representatives. The SAVE eligible non-citizen 3rd step verification resulted in an ineligible status twice, based upon federal documentation for
              eligible statuses. Our office then consulted with Federal Student Aid regarding this status and the verbal information you provided; Federal
              Student Aid confirmed the initial determination that the documentation received from both you and SAVE cannot result in an eligible status.

              You have requested a meeting, in person, with our office to discuss the above. Before you make the trip to campus and potentially take
              yourself away from work or other responsibilities, I wanted to make you aware that we cannot override the determination from the Department
              of Homeland Security. Unless you have additional documentation to provide, there is nothing else we can do to assist you in eligibility for
              federal financial aid or state need-based financial aid.

              We have exhausted all options available through our office. If you still want to discuss this matter in-person, I am willing to meet with you.
              However, I would only be able to reiterate the above facts and would not be able to help you further.

              If you wish to pursue this matter, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone
              at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

              Regards,

              Marie Guerra Rosado
              Student Financial Aid and Scholarships
              Division of Enrollment Management


              --------------- Original Message ---------------
              From: Chris Garson [chris.garson@exlsolutions.net]
              Sent: 8/18/2023, 2:39 PM
              To: sfa-help@mail.ufl.edu
              Cc: countess@ufl.edu
              Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

              [External Email]
              [External Email]
              Hi Marie,

              I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to travel
              down there for our meeting on Tuesday—or if everything is resolved now.

              Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again later
              today.

              Thanks again for your help on this.

              Chris



              On Thu, Aug 17, 2023 at 2:35 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
               Hi Marie,

                  I left you a VM a few minutes ago; sorry I missed you. I just wanted to make sure you got my last email and to get an update on where we
                  are—and if we still need that meeting next week.

                  This has been really stressful for us, and we really would appreciate an update. I'm sure you're swamped with the term starting next week,
                  and I'm really sorry to add to that!

                  Thanks again for your help—and hope to hear from you soon.

                  Thanks,
                  Chris




                  On Wed, Aug 16, 2023 at 1:44 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                   Marie,

                    I just left you a VM, but I wanted to let you know that I was able to talk with someone at SAVE Case Resolutions & Audits to correct the
                    SAVE response you received on the case 0023111080901TP that had the incorrect VAWA response.

                    They acknowledged that the VAWA response was incorrect and they changed the response to Pending I-485, which is what you indicated
                    was necessary for your purposes.

                    Please call me at 904-402-2026.

                    Thanks,

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                             36/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 67 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                  Chris




                  On Tue, Aug 15, 2023 at 3:03 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                   It will be Jiwon and myself. I will attempt to ensure any other relevant parties are available by phone at that time if necessary.

                    Thanks,
                    Chris




                    On Tue, Aug 15, 2023 at 12:53 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                     Mr. Garson,

                      Yes sir, that does work for us.

                      Can you please tell me who all is coming with you so I can make sure we can accommodate everyone?

                      Regards,

                      Marie Guerra Rosado
                      Student Financial Aid and Scholarships
                      Division of Enrollment Management


                      --------------- Original Message ---------------
                      From: Chris Garson [chris.garson@exlsolutions.net]
                      Sent: 8/15/2023, 11:45 AM
                      To: sfa-help@mail.ufl.edu
                      Cc: jiwon.byungarson@ufl.edu
                      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                      [External Email]
                      [External Email]
                      That's fine. Please confirm if that works.

                      Thanks,
                      Chris



                      On Tue, Aug 15, 2023 at 9:09 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                       Mr. Garson,

                          There is a scheduling conflict, can we meet at 12:30pm on 8/22?

                          Marie Guerra Rosado
                          Student Financial Aid and Scholarships
                          Division of Enrollment Management


                          --------------- Original Message ---------------
                          From: Chris Garson [chris.garson@exlsolutions.net]
                          Sent: 8/14/2023, 5:15 PM
                          To: sfa-help@mail.ufl.edu
                          Cc: jiwon.byungarson@ufl.edu
                          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                          [External Email]
                          [External Email]
                          Thank you for the prompt reply.

                          We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

                          Chris



                          On Mon, Aug 14, 2023 at 5:12 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                           Mr. Garson,

                            I spoke with my supervisor and the earliest availability is next week. Here are the days and times we can meet:

                            Tuesday 8/22/23 - open all day
                            Wednesday 8/23/23- Anytime before 3:00pm
                            Thursday 8/24/23- Anytime before 2:00pm

                            Please let me know if you would like to have conference call, Zoom meeting, or in person.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                    37/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 68 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                          Regards,

                          Marie Guerra Rosado
                          Student Financial Aid and Scholarships
                          Division of Enrollment Management


                          --------------- Original Message ---------------
                          From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                          Sent: 8/14/2023, 4:24 PM
                          To: chris.garson@exlsolutions.net
                          Cc: jiwon.byungarson@ufl.edu
                          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                          Mr. Garson,

                          Yes, I will notify my supervisors and get back to you as soon as possible.

                          Regards,

                          Marie Guerra Rosado
                          Student Financial Aid and Scholarships
                          Division of Enrollment Management


                          --------------- Original Message ---------------
                          From: Chris Garson [chris.garson@exlsolutions.net]
                          Sent: 8/14/2023, 4:22 PM
                          To: sfa-help@mail.ufl.edu
                          Cc: jiwon.byungarson@ufl.edu
                          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                          [External Email]
                          [External Email]
                          Yes, they are need-based awards based on the FAFSA. The FAFSA is what demonstrates the need. However, the fact that you
                          even received the FAFSA data from the DOE indicates that there were no errors in processing. There is nothing listed as an error
                          on her FAFSA when logging in, and the FAFSA shows as fully processed with no errors.

                          I understand the Title IV is a separate matter, but the immigration status for purposes of Title IV has nothing to do with the need
                          demonstrated on the FAFSA. The FAFSA has been fully processed, and you would not have even received it if there were errors
                          on it.

                          Can we schedule a conference with you and your supervisors this week to discuss this and other items? This is not being
                          interpreted correctly.

                          Thanks,
                          Chris



                          On Mon, Aug 14, 2023 at 4:19 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                           Mr. Garson,

                            I apologize I did not see your previous email.

                            The FL Student Assistance Grant and UF Undergraduate grant are not federal but these two awards are need-based awards
                            and eligibility is determined from information provided on the FAFSA. In order to receive these awards we must have an error-
                            free FAFSA and the student must show need on their federal need analysis report.

                            I hope this addresses your concerns.

                            Let me know if you have any further questions.

                            Regards,

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                            Sent: 8/14/2023, 4:10 PM
                            To: chris.garson@exlsolutions.net
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            Mr. Garson,

                            Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free FAFSA.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                      38/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 69 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                            Once we receive the final confirmation for your daughter's citizenship status we will be able to determine her eligibility for the
                            FSAG award.

                            You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me from
                            OSFA.

                            Please let me know if you have any further questions.

                            Regards,

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: Chris Garson [chris.garson@exlsolutions.net]
                            Sent: 8/14/2023, 3:42 PM
                            To: sfa-help@mail.ufl.edu
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            [External Email]
                            [External Email]
                            Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student Assistance
                            Grant. Residency is only required and follows the same rules as Bright Futures.

                            Why is this not approvable?




                            Thanks,
                            Chris



                            On Mon, Aug 14, 2023 at 3:26 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                             Marie,

                               The FL State Assistance Grant and UF Undergraduate grant are not federal. You previously stated that FL aid was state-
                               specific and FL residency was the requirement—and that it has been approved.

                               Can you explain why these are different and tied to the federal awards when they are not related to the federal regulations in
                               any way?

                               Thanks,
                               Chris




                               On Mon, Aug 14, 2023 at 3:23 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                Mr. Garson,

                                 I confirmed that all awards except the Bright Futures award and the Welcome Grant are on hold until we complete the
                                 citizenship review.

                                 Let me know if you have any further questions.

                                 Marie Guerra Rosado
                                 Student Financial Aid and Scholarships
                                 Division of Enrollment Management


                                 --------------- Original Message ---------------
                                 From: Chris Garson [chris.garson@exlsolutions.net]

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                         39/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 70 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                 Sent: 8/14/2023, 2:31 PM
                                 To: sfa-help@mail.ufl.edu
                                 Cc: jiwon.byungarson@ufl.edu
                                 Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                 [External Email]
                                 [External Email]
                                 Thanks. She will do the release now.

                                 The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

                                 Can you confirm that the following items are approved? They are all FL or UF.

                                     1. FL Student Assistance Grant
                                     2. FL Academic Scholars Award (Bright Futures)
                                     3. UF Undergraduate Grant
                                     4. UF Welcome Grant

                                 Thanks,
                                 Chris




                                 On Mon, Aug 14, 2023 at 2:27 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                  Mr. Garson,

                                   Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit the
                                   student's information to determine if DHS can verify citizenship. I have not received a response back yet but as soon as
                                   I have more information I will reach out to you.

                                   As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the other
                                   aid she was awarded is still pending final confirmation of her citizenship status. I noticed that your daughter has not set
                                   up her student authorizations to release financial information yet.

                                   Can you please have her update this information and include you on the form so I can discuss the details of her
                                   financial aid awards with you?

                                   I have included the instructions on how to set up the student authorizations form.

                                   Let me know if you have any further questions.

                                   Marie Guerra Rosado
                                   Student Financial Aid and Scholarships
                                   Division of Enrollment Management


                                   --------------- Original Message ---------------
                                   From: Chris Garson [chris.garson@exlsolutions.net]
                                   Sent: 8/14/2023, 11:58 AM
                                   To: sfa-help@mail.ufl.edu
                                   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                   [External Email]
                                   [External Email]
                                   Marie,

                                   Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you get
                                   anything back on it instantly—or did it immediately move to 2nd stage?

                                   Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid
                                   approved?

                                   Thanks,
                                   Chris



                                   On Wed, Aug 09, 2023 at 11:01 AM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                    Marie,

                                     She was recently approved for Special Immigrant Juvenile Status (SIJS) on July 28th, which is not VAWA but it is
                                     somewhat related conceptually (it uses the same application form). This is completely separate from, and is not
                                     affected by, her concurrent Adjustment of Status application based on an I-130. The VAWA specifically,
                                     however, is completely incorrect. They must have not looked at the specific details before responding.

                                     As shown to you both by the receipt notice and the fact that you can still check the I-485 on the USCIS website as
                                     pending, she has a pending I-485 which makes her eligible by itself. Can you not use the confirmed pending 485 as
                                     evidence of this? You can check this easily on the USCIS website yourself.



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                         40/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 71 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                     When submitting the third-step request, it is important to specify exactly what you are attempting to verify (i.e, that
                                     she has a pending I-485). I'm not sure what you wrote originally, but this could have caused confusion.

                                     Please let me know as soon as possible.

                                     Thanks,
                                     Chris




                                     On Wed, Aug 09, 2023 at 10:47 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                     wrote:
                                       Mr. Garson,

                                       Yes, the response was returned but it was a completely different status. The SAVE Response received is VAWA
                                       Self-Petitioner but the VAWA Status is that your daughter is not the self-petitioner.

                                       Please allow me a few days to research this new status to determine if we can approve your daughter for federal
                                       aid based on the documentation we have received.

                                       If you have any documentation from DHS about the VAWA status you can send me a copy and I will review it
                                       immediately.

                                       Let me know if you have any questions.

                                       Regards,

                                       Marie Guerra Rosado
                                       Student Financial Aid and Scholarships
                                       Division of Enrollment Management


                                       --------------- Original Message ---------------
                                       From: Chris Garson [chris.garson@exlsolutions.net]
                                       Sent: 8/8/2023, 10:33 PM
                                       To: sfa-help@mail.ufl.edu
                                       Cc: jiwon.byungarson@ufl.edu
                                       Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                       [External Email]
                                       [External Email]
                                       Marie,

                                       SAVE is now reporting that the request has been returned. Can you verify?

                                       Thanks,
                                       Chris



                                       On Tue, Aug 08, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                       wrote:
                                         Mr. Garson,

                                         I apologize for my delayed response. Thank you for this information. I will include this document with your case. I
                                         will continue to monitor your daughter's DHS case. I am hoping we will receive an update soon.

                                         If you have any questions please do not hesitate to reach out to me.

                                         Regards,

                                         Marie Guerra Rosado
                                         Student Financial Aid and Scholarships
                                         Division of Enrollment Management


                                         --------------- Original Message ---------------
                                         From: Chris Garson [chris.garson@exlsolutions.net]
                                         Sent: 8/2/2023, 4:04 PM
                                         To: sfa-help@mail.ufl.edu
                                         Cc: jiwon.byungarson@ufl.edu
                                         Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                         [External Email]
                                         [External Email]
                                         Marie,

                                         Thank you again for your call today and the information; it was very helpful.



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           41/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 72 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                         It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to enter
                                         the receipt number on the I-485 receipt that we sent you (IOE0915492398) into the USCIS/DHS case status
                                         check on the website here: https://egov.uscis.gov/

                                         This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time you
                                         run the check.




                                         I may renew this assertion later, but I thought it may be an idea.

                                         Thanks,
                                         Chris



                                         On Mon, Jul 31, 2023 at 5:14 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                          Thank you for the update. We will wait to hear from you.

                                           Please feel free to contact me at (904) 402-2026 if you have any follow-up questions.

                                           Thanks,
                                           Chris




                                           On Fri, Jul 28, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                           help@mail.ufl.edu> wrote:
                                             Mr. Garson,

                                             I have notified my supervisors about your concerns and they are researching your case.

                                             As soon as I have more information I will contact you.

                                             Regards,

                                             Marie Guerra Rosado
                                             Student Financial Aid and Scholarships
                                             Division of Enrollment Management


                                             --------------- Original Message ---------------
                                             From: Chris Garson [chris.garson@exlsolutions.net]
                                             Sent: 7/28/2023, 9:24 AM
                                             To: sfa-help@mail.ufl.edu
                                             Cc: jiwon.byungarson@ufl.edu
                                             Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                             [External Email]
                                             [External Email]
                                             Hi Marie,




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        42/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 73 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                             Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34 CFR §
                                             668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose with the
                                             intention of becoming a citizen or permanent resident" are eligible for federal aid.

                                             The pending I-485 shows that she has a pending application for permanent residency and that is
                                             fully compliant with the SAVE response you received. Please let me know why the SAVE response is
                                             incompatible with this federal regulation that clearly makes her eligible for Title IV aid.

                                             Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application for
                                             permanent residency) is an instrument that allows a person to be paroled once returning to the US from a
                                             trip abroad to resume processing of their I-485. The stated parole period upon entry is always 1 year for
                                             those in this category. Based on her EAD, her authorization to use advance parole is valid through February
                                             2025, meaning that she can leave and return an infinite number of times to be paroled back into the US for 1
                                             year each time, effectively making her parole period through February 12, 2026.

                                             I previously sent you a document from the University of Southern California that seems to understand this
                                             better. Only those with a pending application for permanent residency can receive an I-512 endorsement on
                                             their EAD, and USC seems to understand that. That's why their citizenship eligibility form makes specific
                                             reference to that endorsement as a valid way to evidence parole for the purposes of Title IV aid. If you're
                                             operating under the same federal regulations, why does USC accept this as valid evidence and you do not?
                                             They will receive the exact same SAVE responses in this case, which, as I noted above, is fully compatible
                                             with 34 CFR § 668.33(a)(2)(ii).

                                             Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                             Again, after speaking with our lawyer and with other schools that operate under the same federal
                                             regulations, we firmly believe that UF is misapplying the law in this case.

                                             Please advise.

                                             Thanks,
                                             Chris Garson



                                             On Fri, Jul 28, 2023 at 8:40 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                             help@mail.ufl.edu> wrote:
                                               Mr. Garson,

                                               I am not sure what happened but I did reply to your email on July 6th. Here is my response to your email:


                                                              To: chris.garson, Jiwon Iris Byun-Garson                                  July 6, 2023 at 11:14
                                                              AM

                                                              Mr. Garson,
                                                              I understand your concerns and want you to know that I will do whatever I can to assist you
                                                              and your daughter with this case.

                                                              Based on the information I received from the SAVE system for DHS, the status provided
                                                              was that "the applicant status was application pending as a non-national of the US that has
                                                              filed an application with USCIS for an extension, change or adjustment of status or to obtain
                                                              employment, but a decision has not yet been made".

                                                              Per our federal regulations, advance parole is not the same parolee status as an individual
                                                              who is paroled in the United States for at least one year [Section 212(d)(5) of the
                                                              Immigration and Nationality Act (INA)]. Therefore, individuals with advance parole status are
                                                              not eligible for Title IV for aid unless they also fall into some other Title IV-eligible category
                                                              (e.g., permanent residents, asylees, or parolees) and can document that eligible status.

                                                              If you have any additional documentation that you can provide me that shows a status other
                                                              than advance parolee I can resubmit the forms to SAVE.

                                                              Please let me know how you want to proceed. If you have any additional questions feel free
                                                              to response back to this email or you can call me directly at 352.294.3259

                                               You are correct, I did resubmit the documentation that was provided to SAVE. Per our federal regulations,
                                               that was mentioned above, I am unable to approve for your daugther's citizenship status without an
                                               eligible SAVE response. If you have any additional documentation that you can provide me that shows a
                                               status other than advance parolee, please send me a copy and I will review it immediately.

                                               Marie Guerra Rosado
                                               Student Financial Aid and Scholarships
                                               Division of Enrollment Management


                                               --------------- Original Message ---------------
                                               From: Chris Garson [chris.garson@exlsolutions.net]
                                               Sent: 7/28/2023, 7:00 AM
                                               To: jiwon.byungarson@ufl.edu; sfa-help@mail.ufl.edu


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        43/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 74 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                               [External Email]
                                               [External Email]
                                               Hi Marie,

                                               I hope you've been well. Although we have not received a response from you, I see that on July 6th (the
                                               day after I sent the previous email) , the DHS SAVE case was reopened, presumably because you
                                               submitted a third step request. As of this email on July 28th, the case is still pending.




                                               According to the "SAVE System Instructions for US Department of Education (School) Users" guide, the
                                               maximum time the school is to wait is 15 business days. These 15 business days expired yesterday July
                                               27th. After this time, the school is to make a decision based on the documentation submitted and to not
                                               follow up with the SAVE case further. Please see the excerpt cited below for further detail.




                                               Source: https://fsapartners.ed.gov/sites/default/files/attachments/2019-11/SAVEInstructions30Final.pdf (
                                               page 30)

                                               Linking source: https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2019-10-
                                               16/save-instructions-us-department-education-school-users-version-30-available-updated-sept-9-2022

                                               Please advise as soon as possible if you will follow these directives from the Department of Education,
                                               such that we can ensure this is resolved before the term begins. Please also refer to my previous email
                                               regarding the legal basis for her eligibility.

                                               Thank you,
                                               Chris Garson



                                               On Wed, Jul 05, 2023 at 1:54 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                                Hi Marie,

                                                 Thank you for the update. Jiwon forwarded your email to me; I'm responding as the father of Jiwon
                                                 Byun-Garson.

                                                 We have spoken to the Department of Education, the Department of Homeland Security, and our
                                                 immigration lawyer prior to submitting this, and all three have confirmed that her status (parolee) is
                                                 eligible for aid. Here is the legal basis for this.

                                                 First, the Department of Education's Federal Aid Student Handbook states the basis for my eligibility as
                                                 one of the eligible non-citizen categories:



                                                 Source: https://fsapartners.ed.gov/knowledge-center/fsa-handbook/2022-2023/vol1/ch2-us-citizenship-
                                                 eligible-noncitizens

                                                 Her evidence of parole status is indicated on my I-766 (Employment Authorization) with the
                                                 endorsement of "I-512 ADVANCE PROLE". Additionally, I have a pending I-485 and submitted the
                                                 applicable I-797C to evidence this. This card is valid for 2 years, meeting the 1 year parole requirement
                                                 along with a pending I-485 (showing clear intent to become a permanent resident). These factors meet

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                      44/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 75 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                                 the eligible category of "Persons paroled into the US for at least one year" in accordance with the
                                                 above.

                                                 You can also see, for example, on the USC citizen verification form (linked below) that the "Employment
                                                 Authorization with the notation of 'Serves as I-512 Advance Parole'" is clearly eligible for federal aid
                                                 under the "Person Paroled into the US for at least one year" category.

                                                 Even though this is a different university, the federal rules still apply country-wide.

                                                 Source: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                                 Second, the source of the parolee with a pending I-485 aid eligibility stems from Title 34 of the Federal
                                                 Regulations.

                                                 34 CFR § 668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose
                                                 with the intention of becoming a citizen or permanent resident" are eligible for federal aid. The pending
                                                 I-485 shows that she has a pending application for permanent residency.




                                                 Source: https://www.ecfr.gov/current/title-34/subtitle-B/chapter-VI/part-668/subpart-C/section-668.33


                                                 Third, the Department of Education, through the FAFSA process, has verified her eligibility with
                                                 USCIS/DHS shown below. The date matches the date we submitted her FAFSA application. You
                                                 indicated that you attempted to verify this yourself, but there is no record with DHS/USCIS that you (the
                                                 school) attempted to do so after this date. All requests for verification with DHS are stored in the SAVE
                                                 system. Her FAFSA shows that her status has been verified.




                                                 ** Please clarify your legal basis for denying her aid that the DOE, DHS, Federal Regulations, and other
                                                 schools clearly indicate she is eligible for. This may not be a situation you handle on a regular basis, so
                                                 please review the legal basis above and let me know how we can appeal this determination. We can
                                                 have our lawyer speak with your legal team if needed.

                                                 The Federal Aid Student Handbook indicates that you may need to submit a third-level SAVE request to
                                                 get the correct determination.

                                                 Please let us know as soon as possible so we can resolve before the term begins.

                                                 Regards,
                                                 Chris Garson




                                                 On Wed, Jul 05, 2023 at 11:59 AM, Jiwon I. Byun-Garson <jiwon.byungarson@ufl.edu> wrote:
                                                  Sent from my iPhone

                                                   Begin forwarded message:


                                                           From: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                                           Date: July 5, 2023 at 9:36:04 AM EDT
                                                           To: "Byun-Garson, Jiwon I." <jiwon.byungarson@ufl.edu>
                                                           Subject: 2023-24 Eligible NonCitizenship Determination [
                                                           ref:_00D412ElGo._5001K1FnuoE:ref ]


                                                          ?
                                               Hello Jiwon,

                                               We submitted the documentation you gave to us for your eligible non-citizenship status to the Department
                                               of Homeland Security for their review to see if you are eligible for financial aid. Unfortunately, based on
                                               their review of the documentation provided, you are not eligible for financial aid with your current status. If
                                               in the future your status changes, please do not hesitate to reach out to us so that we can resubmit and
                                               check to see if your new status would qualify.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       45/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 76 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                                  While federal funding for your university endeavor, at least with your current immigration status, is not
                                                  available, there are many other options available to you. You can check out our scholarship page to see if
                                                  you qualify for any institutional or outside scholarships: http://www.sfa.ufl.edu/types-of-aid/scholarships/

                                                  If you have any questions, please contact the UF OneStop at www.onestop.ufl.edu.

                                                  Regards

                                                  Marie Guerra Rosado
                                                  Student Financial Aid and Scholarships
                                                  Division of Enrollment Management

                                                  ref:_00D412ElGo._5001K1FnuoE:ref




    5 attachments
        untitled.
        105K
        untitled.
        144K
        untitled.
        41K
        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                    Wed, Aug 23, 2023 at 4:52 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Tracy,

   We still believe she is an eligible non-citizen per our discussion, but if we concede that she is not for this purpose (which is your position as well),
   changing this on the FAFSA would then make her eligible for the UF Undergraduate Grant, correct? There would be no DHS match in this case, therefore
   making the FAFSA error-free.

   Given where we are with the start of the semester, this may make the most sense for us for the time being.

   Please confirm.

   Thanks,
   Chris


   On Wed, Aug 23 2023 at 16:30, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
     Hello Chris,

     We advise all students and parents to complete their FAFSA application accurately and honestly regarding bio-demographic information,
     dependency status, and financial information. The FAFSA must be error-free and complete to receive federal student aid, institutional aid (UF
     Undergraduate Grant), and the Florida Student Assistance Grant (FSAG).

     The requirement to receive FSAG funding states, “The student must be a Florida resident and a U.S. citizen or eligible non-
     citizen.” FSAG.pdf (floridastudentfinancialaidsg.org)


     Thank you,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       46/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 77 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]
     Tracy McMullen
     Student Financial Aid and Scholarships
     Division of Enrollment Management


     --------------- Original Message ---------------
     From: Chris Garson [chris.garson@exlsolutions.net]
     Sent: 8/23/2023, 10:57 AM
     To: sfa-help@mail.ufl.edu
     Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

     [External Email]
     [External Email]
     Marie,

     I emailed Jennifer & Tracy yesterday, but I thought I should also send to you this way.

     UF's position currently is that the FAFSA has an "error" due to the C-code of a DHS mismatch. If we change the FAFSA to designate Jiwon as neither a
     citizen or eligible non-citizen, DOE will no longer attempt a DHS match/SAVE request at all. And since the FSAG does not require either Title IV eligibility
     or being an eligible non-citizen, having an error-free FAFSA without an attempt of a DHS match at this stage should theoretically make her eligible for the
     FSAG, correct?

     Please let us know so we can get the FAFSA reprocessed with this changed information. We understand this will remove our claim to Title IV eligibility at
     this stage while we explore options with the DOE and legally.

     Thanks again for your help—and for assistance with setting up the meeting yesterday. It was much more efficient than trying to communicate over email,
     but I didn't think to ask this question then.

     Thanks,
     Chris



     On Mon, Aug 21, 2023 at 12:59 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
      Mr. Garson,

       I can definitely check the status again if it changes.

       Regards,

       Marie Guerra Rosado
       Student Financial Aid and Scholarships
       Division of Enrollment Management


       --------------- Original Message ---------------
       From: Chris Garson [chris.garson@exlsolutions.net]
       Sent: 8/21/2023, 12:11 PM
       To: sfa-help@mail.ufl.edu
       Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

       [External Email]
       [External Email]
       Got it. I will talk with SAVE again between now and then, and, if they inform me that it was changed, I will email back to see if you would be willing to
       check it.

       Thanks for your help,
       Chris



       On Mon, Aug 21, 2023 at 12:07 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
        Mr. Garson,

         No, it is no longer showing the SAVE response "VAWA". It now shows the SAVE response "application pending".

         Tomorrow when you and Jiwon arrive please go to the OneStop office located at S-107 Criser Hall. You will be meeting with my supervisor, Jennifer
         Bennett.

         Regards,

         Marie Guerra Rosado
         Student Financial Aid and Scholarships
         Division of Enrollment Management


         --------------- Original Message ---------------
         From: Chris Garson [chris.garson@exlsolutions.net]
         Sent: 8/21/2023, 12:00 PM
         To: sfa-help@mail.ufl.edu


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           47/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                  Document
                           Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                   Eligible NonCitizenship    11/15/23
                                                                                           Determination       Page 78 of 146
                                                                                                         [ ref:_00D412ElGo._5001K1FnuoE:ref ]
         Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

         [External Email]
         [External Email]
         Marie,

         Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still
         showing VAWA under that section?

         Thanks,
         Chris



         On Mon, Aug 21, 2023 at 11:58 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
          Mr. Garson,

           The SAVE case number is 0023111080901TP that has the SAVE response "Application Pending".

           I will make sure that all the screenshots are available for your review tomorrow.

           Regards,

           Marie Guerra Rosado
           Student Financial Aid and Scholarships
           Division of Enrollment Management


           --------------- Original Message ---------------
           From: Chris Garson [chris.garson@exlsolutions.net]
           Sent: 8/18/2023, 5:20 PM
           To: sfa-help@mail.ufl.edu
           Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

           [External Email]
           [External Email]
           Thanks for the update.

           SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were very
           clear that the VAWA response is incorrect and had updated it to show Pending I-485.

           Are you looking at the specific SAVE case 0023111080901TP?

           Please bring the printouts of SAVE with you to the meeting so we can look together.

           Please confirm if you are looking at that specific case, and have a good weekend.

           Chris



           On Fri, Aug 18, 2023 at 5:16 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
            Mr. Garson,

             I apologize for not including the update for the most recent status.

             The SAVE response received was "application pending" again without the I-485. According to the Federal Student Aid Handbook and other
             federal guidance we have received, this response is ineligible status to receive Title IV federal financial aid and the Florida Student Assistance
             Grant.

             I will inform my supervisors that you want to keep the meeting for Tuesday at 12:30pm.

             If you do wish to pursue this matter further, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by
             phone at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

             Regards,

             Marie Guerra Rosado
             Student Financial Aid and Scholarships
             Division of Enrollment Management


             --------------- Original Message ---------------
             From: Chris Garson [chris.garson@exlsolutions.net]
             Sent: 8/18/2023, 4:38 PM
             To: sfa-help@mail.ufl.edu
             Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

             [External Email]
             [External Email]
             Marie,

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                          48/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 79 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]

             I did not see this email before attempting to contact you, as it went to a different part of my inbox.

             You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous
             times that you required.

             Is this not the correct status that is required?

             We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

             In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you
             have previously confirmed with me.

             Please advise as soon as possible.

             Thanks,
             Chris



             On Fri, Aug 18, 2023 at 4:09 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
              Mr. Garson,

                  I apologize for the delay in my response.

                  I am writing to provide you with a summary of the status of the citizenship status verification related to your daughter’s FAFSA application for
                  the 2023-2024 aid year.

                  The documentation you have provided was submitted to the Department of Homeland Security, and the Systematic Alien Verification for
                  Entitlements (SAVE) responses received, per federal guidelines, are ineligible statuses to receive Title IV federal financial aid and the Florida
                  Student Assistance Grant.

                  Our office has consulted with Federal Student Aid regarding your situation and the Department of Homeland Security SAVE system
                  representatives. The SAVE eligible non-citizen 3rd step verification resulted in an ineligible status twice, based upon federal documentation
                  for eligible statuses. Our office then consulted with Federal Student Aid regarding this status and the verbal information you provided; Federal
                  Student Aid confirmed the initial determination that the documentation received from both you and SAVE cannot result in an eligible status.

                  You have requested a meeting, in person, with our office to discuss the above. Before you make the trip to campus and potentially take
                  yourself away from work or other responsibilities, I wanted to make you aware that we cannot override the determination from the
                  Department of Homeland Security. Unless you have additional documentation to provide, there is nothing else we can do to assist you in
                  eligibility for federal financial aid or state need-based financial aid.

                  We have exhausted all options available through our office. If you still want to discuss this matter in-person, I am willing to meet with you.
                  However, I would only be able to reiterate the above facts and would not be able to help you further.

                  If you wish to pursue this matter, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone
                  at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

                  Regards,

                  Marie Guerra Rosado
                  Student Financial Aid and Scholarships
                  Division of Enrollment Management


                  --------------- Original Message ---------------
                  From: Chris Garson [chris.garson@exlsolutions.net]
                  Sent: 8/18/2023, 2:39 PM
                  To: sfa-help@mail.ufl.edu
                  Cc: countess@ufl.edu
                  Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                  [External Email]
                  [External Email]
                  Hi Marie,

                  I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to travel
                  down there for our meeting on Tuesday—or if everything is resolved now.

                  Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again later
                  today.

                  Thanks again for your help on this.

                  Chris



                  On Thu, Aug 17, 2023 at 2:35 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                   Hi Marie,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                               49/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 80 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                  I left you a VM a few minutes ago; sorry I missed you. I just wanted to make sure you got my last email and to get an update on where we
                  are—and if we still need that meeting next week.

                  This has been really stressful for us, and we really would appreciate an update. I'm sure you're swamped with the term starting next week,
                  and I'm really sorry to add to that!

                  Thanks again for your help—and hope to hear from you soon.

                  Thanks,
                  Chris




                  On Wed, Aug 16, 2023 at 1:44 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                   Marie,

                    I just left you a VM, but I wanted to let you know that I was able to talk with someone at SAVE Case Resolutions & Audits to correct the
                    SAVE response you received on the case 0023111080901TP that had the incorrect VAWA response.

                    They acknowledged that the VAWA response was incorrect and they changed the response to Pending I-485, which is what you
                    indicated was necessary for your purposes.

                    Please call me at 904-402-2026.

                    Thanks,
                    Chris




                    On Tue, Aug 15, 2023 at 3:03 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                     It will be Jiwon and myself. I will attempt to ensure any other relevant parties are available by phone at that time if necessary.

                      Thanks,
                      Chris




                      On Tue, Aug 15, 2023 at 12:53 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                       Mr. Garson,

                        Yes sir, that does work for us.

                        Can you please tell me who all is coming with you so I can make sure we can accommodate everyone?

                        Regards,

                        Marie Guerra Rosado
                        Student Financial Aid and Scholarships
                        Division of Enrollment Management


                        --------------- Original Message ---------------
                        From: Chris Garson [chris.garson@exlsolutions.net]
                        Sent: 8/15/2023, 11:45 AM
                        To: sfa-help@mail.ufl.edu
                        Cc: jiwon.byungarson@ufl.edu
                        Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                        [External Email]
                        [External Email]
                        That's fine. Please confirm if that works.

                        Thanks,
                        Chris



                        On Tue, Aug 15, 2023 at 9:09 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                         Mr. Garson,

                            There is a scheduling conflict, can we meet at 12:30pm on 8/22?

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       50/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 81 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                          From: Chris Garson [chris.garson@exlsolutions.net]
                          Sent: 8/14/2023, 5:15 PM
                          To: sfa-help@mail.ufl.edu
                          Cc: jiwon.byungarson@ufl.edu
                          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                          [External Email]
                          [External Email]
                          Thank you for the prompt reply.

                          We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

                          Chris



                          On Mon, Aug 14, 2023 at 5:12 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                           Mr. Garson,

                            I spoke with my supervisor and the earliest availability is next week. Here are the days and times we can meet:

                            Tuesday 8/22/23 - open all day
                            Wednesday 8/23/23- Anytime before 3:00pm
                            Thursday 8/24/23- Anytime before 2:00pm

                            Please let me know if you would like to have conference call, Zoom meeting, or in person.

                            Regards,

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                            Sent: 8/14/2023, 4:24 PM
                            To: chris.garson@exlsolutions.net
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            Mr. Garson,

                            Yes, I will notify my supervisors and get back to you as soon as possible.

                            Regards,

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: Chris Garson [chris.garson@exlsolutions.net]
                            Sent: 8/14/2023, 4:22 PM
                            To: sfa-help@mail.ufl.edu
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            [External Email]
                            [External Email]
                            Yes, they are need-based awards based on the FAFSA. The FAFSA is what demonstrates the need. However, the fact that you
                            even received the FAFSA data from the DOE indicates that there were no errors in processing. There is nothing listed as an
                            error on her FAFSA when logging in, and the FAFSA shows as fully processed with no errors.

                            I understand the Title IV is a separate matter, but the immigration status for purposes of Title IV has nothing to do with the need
                            demonstrated on the FAFSA. The FAFSA has been fully processed, and you would not have even received it if there were
                            errors on it.

                            Can we schedule a conference with you and your supervisors this week to discuss this and other items? This is not being
                            interpreted correctly.

                            Thanks,
                            Chris



                            On Mon, Aug 14, 2023 at 4:19 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                             Mr. Garson,

                              I apologize I did not see your previous email.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        51/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 82 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                              The FL Student Assistance Grant and UF Undergraduate grant are not federal but these two awards are need-based awards
                              and eligibility is determined from information provided on the FAFSA. In order to receive these awards we must have an
                              error-free FAFSA and the student must show need on their federal need analysis report.

                              I hope this addresses your concerns.

                              Let me know if you have any further questions.

                              Regards,

                              Marie Guerra Rosado
                              Student Financial Aid and Scholarships
                              Division of Enrollment Management


                              --------------- Original Message ---------------
                              From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                              Sent: 8/14/2023, 4:10 PM
                              To: chris.garson@exlsolutions.net
                              Cc: jiwon.byungarson@ufl.edu
                              Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                              Mr. Garson,

                              Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free FAFSA.
                              Once we receive the final confirmation for your daughter's citizenship status we will be able to determine her eligibility for the
                              FSAG award.

                              You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me from
                              OSFA.

                              Please let me know if you have any further questions.

                              Regards,

                              Marie Guerra Rosado
                              Student Financial Aid and Scholarships
                              Division of Enrollment Management


                              --------------- Original Message ---------------
                              From: Chris Garson [chris.garson@exlsolutions.net]
                              Sent: 8/14/2023, 3:42 PM
                              To: sfa-help@mail.ufl.edu
                              Cc: jiwon.byungarson@ufl.edu
                              Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                              [External Email]
                              [External Email]
                              Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student
                              Assistance Grant. Residency is only required and follows the same rules as Bright Futures.

                              Why is this not approvable?




                              Thanks,
                              Chris



                              On Mon, Aug 14, 2023 at 3:26 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                               Marie,



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                         52/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 83 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                The FL State Assistance Grant and UF Undergraduate grant are not federal. You previously stated that FL aid was state-
                                specific and FL residency was the requirement—and that it has been approved.

                                Can you explain why these are different and tied to the federal awards when they are not related to the federal regulations
                                in any way?

                                Thanks,
                                Chris




                                On Mon, Aug 14, 2023 at 3:23 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                 Mr. Garson,

                                  I confirmed that all awards except the Bright Futures award and the Welcome Grant are on hold until we complete the
                                  citizenship review.

                                  Let me know if you have any further questions.

                                  Marie Guerra Rosado
                                  Student Financial Aid and Scholarships
                                  Division of Enrollment Management


                                  --------------- Original Message ---------------
                                  From: Chris Garson [chris.garson@exlsolutions.net]
                                  Sent: 8/14/2023, 2:31 PM
                                  To: sfa-help@mail.ufl.edu
                                  Cc: jiwon.byungarson@ufl.edu
                                  Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                  [External Email]
                                  [External Email]
                                  Thanks. She will do the release now.

                                  The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

                                  Can you confirm that the following items are approved? They are all FL or UF.

                                      1. FL Student Assistance Grant
                                      2. FL Academic Scholars Award (Bright Futures)
                                      3. UF Undergraduate Grant
                                      4. UF Welcome Grant

                                  Thanks,
                                  Chris




                                  On Mon, Aug 14, 2023 at 2:27 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                  wrote:
                                    Mr. Garson,

                                    Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit the
                                    student's information to determine if DHS can verify citizenship. I have not received a response back yet but as soon
                                    as I have more information I will reach out to you.

                                    As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the other
                                    aid she was awarded is still pending final confirmation of her citizenship status. I noticed that your daughter has not
                                    set up her student authorizations to release financial information yet.

                                    Can you please have her update this information and include you on the form so I can discuss the details of her
                                    financial aid awards with you?

                                    I have included the instructions on how to set up the student authorizations form.

                                    Let me know if you have any further questions.

                                    Marie Guerra Rosado
                                    Student Financial Aid and Scholarships
                                    Division of Enrollment Management


                                    --------------- Original Message ---------------
                                    From: Chris Garson [chris.garson@exlsolutions.net]
                                    Sent: 8/14/2023, 11:58 AM
                                    To: sfa-help@mail.ufl.edu
                                    Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                          53/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 84 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                    [External Email]
                                    [External Email]
                                    Marie,

                                    Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you
                                    get anything back on it instantly—or did it immediately move to 2nd stage?

                                    Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid
                                    approved?

                                    Thanks,
                                    Chris



                                    On Wed, Aug 09, 2023 at 11:01 AM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                     Marie,

                                      She was recently approved for Special Immigrant Juvenile Status (SIJS) on July 28th, which is not VAWA but it is
                                      somewhat related conceptually (it uses the same application form). This is completely separate from, and is not
                                      affected by, her concurrent Adjustment of Status application based on an I-130. The VAWA specifically,
                                      however, is completely incorrect. They must have not looked at the specific details before responding.

                                      As shown to you both by the receipt notice and the fact that you can still check the I-485 on the USCIS website as
                                      pending, she has a pending I-485 which makes her eligible by itself. Can you not use the confirmed pending 485 as
                                      evidence of this? You can check this easily on the USCIS website yourself.

                                      When submitting the third-step request, it is important to specify exactly what you are attempting to verify (i.e, that
                                      she has a pending I-485). I'm not sure what you wrote originally, but this could have caused confusion.

                                      Please let me know as soon as possible.

                                      Thanks,
                                      Chris




                                      On Wed, Aug 09, 2023 at 10:47 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                      wrote:
                                        Mr. Garson,

                                        Yes, the response was returned but it was a completely different status. The SAVE Response received is VAWA
                                        Self-Petitioner but the VAWA Status is that your daughter is not the self-petitioner.

                                        Please allow me a few days to research this new status to determine if we can approve your daughter for federal
                                        aid based on the documentation we have received.

                                        If you have any documentation from DHS about the VAWA status you can send me a copy and I will review it
                                        immediately.

                                        Let me know if you have any questions.

                                        Regards,

                                        Marie Guerra Rosado
                                        Student Financial Aid and Scholarships
                                        Division of Enrollment Management


                                        --------------- Original Message ---------------
                                        From: Chris Garson [chris.garson@exlsolutions.net]
                                        Sent: 8/8/2023, 10:33 PM
                                        To: sfa-help@mail.ufl.edu
                                        Cc: jiwon.byungarson@ufl.edu
                                        Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                        [External Email]
                                        [External Email]
                                        Marie,

                                        SAVE is now reporting that the request has been returned. Can you verify?

                                        Thanks,
                                        Chris



                                        On Tue, Aug 08, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                        help@mail.ufl.edu> wrote:


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        54/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 85 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                          Mr. Garson,

                                          I apologize for my delayed response. Thank you for this information. I will include this document with your case.
                                          I will continue to monitor your daughter's DHS case. I am hoping we will receive an update soon.

                                          If you have any questions please do not hesitate to reach out to me.

                                          Regards,

                                          Marie Guerra Rosado
                                          Student Financial Aid and Scholarships
                                          Division of Enrollment Management


                                          --------------- Original Message ---------------
                                          From: Chris Garson [chris.garson@exlsolutions.net]
                                          Sent: 8/2/2023, 4:04 PM
                                          To: sfa-help@mail.ufl.edu
                                          Cc: jiwon.byungarson@ufl.edu
                                          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                          [External Email]
                                          [External Email]
                                          Marie,

                                          Thank you again for your call today and the information; it was very helpful.

                                          It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to enter
                                          the receipt number on the I-485 receipt that we sent you (IOE0915492398) into the USCIS/DHS case status
                                          check on the website here: https://egov.uscis.gov/

                                          This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time
                                          you run the check.




                                          I may renew this assertion later, but I thought it may be an idea.

                                          Thanks,
                                          Chris



                                          On Mon, Jul 31, 2023 at 5:14 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                           Thank you for the update. We will wait to hear from you.

                                            Please feel free to contact me at (904) 402-2026 if you have any follow-up questions.

                                            Thanks,
                                            Chris




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        55/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 86 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                            On Fri, Jul 28, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                            help@mail.ufl.edu> wrote:
                                              Mr. Garson,

                                              I have notified my supervisors about your concerns and they are researching your case.

                                              As soon as I have more information I will contact you.

                                              Regards,

                                              Marie Guerra Rosado
                                              Student Financial Aid and Scholarships
                                              Division of Enrollment Management


                                              --------------- Original Message ---------------
                                              From: Chris Garson [chris.garson@exlsolutions.net]
                                              Sent: 7/28/2023, 9:24 AM
                                              To: sfa-help@mail.ufl.edu
                                              Cc: jiwon.byungarson@ufl.edu
                                              Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                              [External Email]
                                              [External Email]
                                              Hi Marie,

                                              Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34 CFR §
                                              668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose with the
                                              intention of becoming a citizen or permanent resident" are eligible for federal aid.

                                              The pending I-485 shows that she has a pending application for permanent residency and that is
                                              fully compliant with the SAVE response you received. Please let me know why the SAVE response is
                                              incompatible with this federal regulation that clearly makes her eligible for Title IV aid.

                                              Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application for
                                              permanent residency) is an instrument that allows a person to be paroled once returning to the US from a
                                              trip abroad to resume processing of their I-485. The stated parole period upon entry is always 1 year for
                                              those in this category. Based on her EAD, her authorization to use advance parole is valid through
                                              February 2025, meaning that she can leave and return an infinite number of times to be paroled back into
                                              the US for 1 year each time, effectively making her parole period through February 12, 2026.

                                              I previously sent you a document from the University of Southern California that seems to understand this
                                              better. Only those with a pending application for permanent residency can receive an I-512 endorsement
                                              on their EAD, and USC seems to understand that. That's why their citizenship eligibility form makes
                                              specific reference to that endorsement as a valid way to evidence parole for the purposes of Title IV aid. If
                                              you're operating under the same federal regulations, why does USC accept this as valid evidence and you
                                              do not? They will receive the exact same SAVE responses in this case, which, as I noted above, is fully
                                              compatible with 34 CFR § 668.33(a)(2)(ii).

                                              Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                              Again, after speaking with our lawyer and with other schools that operate under the same federal
                                              regulations, we firmly believe that UF is misapplying the law in this case.

                                              Please advise.

                                              Thanks,
                                              Chris Garson



                                              On Fri, Jul 28, 2023 at 8:40 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                              help@mail.ufl.edu> wrote:
                                                Mr. Garson,

                                                I am not sure what happened but I did reply to your email on July 6th. Here is my response to your
                                                email:


                                                                 To: chris.garson, Jiwon Iris Byun-Garson                              July 6, 2023 at 11:14
                                                                 AM

                                                                 Mr. Garson,
                                                                 I understand your concerns and want you to know that I will do whatever I can to assist
                                                                 you and your daughter with this case.

                                                                 Based on the information I received from the SAVE system for DHS, the status provided
                                                                 was that "the applicant status was application pending as a non-national of the US that
                                                                 has filed an application with USCIS for an extension, change or adjustment of status or to
                                                                 obtain employment, but a decision has not yet been made".


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       56/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 87 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                                              Per our federal regulations, advance parole is not the same parolee status as an individual
                                                              who is paroled in the United States for at least one year [Section 212(d)(5) of the
                                                              Immigration and Nationality Act (INA)]. Therefore, individuals with advance parole status
                                                              are not eligible for Title IV for aid unless they also fall into some other Title IV-eligible
                                                              category (e.g., permanent residents, asylees, or parolees) and can document that eligible
                                                              status.

                                                              If you have any additional documentation that you can provide me that shows a status
                                                              other than advance parolee I can resubmit the forms to SAVE.

                                                              Please let me know how you want to proceed. If you have any additional questions feel
                                                              free to response back to this email or you can call me directly at 352.294.3259

                                                You are correct, I did resubmit the documentation that was provided to SAVE. Per our federal
                                                regulations, that was mentioned above, I am unable to approve for your daugther's citizenship status
                                                without an eligible SAVE response. If you have any additional documentation that you can provide me
                                                that shows a status other than advance parolee, please send me a copy and I will review it immediately.

                                                Marie Guerra Rosado
                                                Student Financial Aid and Scholarships
                                                Division of Enrollment Management


                                                --------------- Original Message ---------------
                                                From: Chris Garson [chris.garson@exlsolutions.net]
                                                Sent: 7/28/2023, 7:00 AM
                                                To: jiwon.byungarson@ufl.edu; sfa-help@mail.ufl.edu
                                                Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                                [External Email]
                                                [External Email]
                                                Hi Marie,

                                                I hope you've been well. Although we have not received a response from you, I see that on July 6th (the
                                                day after I sent the previous email) , the DHS SAVE case was reopened, presumably because you
                                                submitted a third step request. As of this email on July 28th, the case is still pending.




                                                According to the "SAVE System Instructions for US Department of Education (School) Users" guide, the
                                                maximum time the school is to wait is 15 business days. These 15 business days expired yesterday July
                                                27th. After this time, the school is to make a decision based on the documentation submitted and to not
                                                follow up with the SAVE case further. Please see the excerpt cited below for further detail.




                                                Source: https://fsapartners.ed.gov/sites/default/files/attachments/2019-11/SAVEInstructions30Final.pdf (
                                                page 30)

                                                Linking source: https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2019-10-
                                                16/save-instructions-us-department-education-school-users-version-30-available-updated-sept-9-2022

                                                Please advise as soon as possible if you will follow these directives from the Department of Education,
                                                such that we can ensure this is resolved before the term begins. Please also refer to my previous email
                                                regarding the legal basis for her eligibility.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                    57/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 88 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                                Thank you,
                                                Chris Garson



                                                On Wed, Jul 05, 2023 at 1:54 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                                 Hi Marie,

                                                  Thank you for the update. Jiwon forwarded your email to me; I'm responding as the father of Jiwon
                                                  Byun-Garson.

                                                  We have spoken to the Department of Education, the Department of Homeland Security, and our
                                                  immigration lawyer prior to submitting this, and all three have confirmed that her status (parolee) is
                                                  eligible for aid. Here is the legal basis for this.

                                                  First, the Department of Education's Federal Aid Student Handbook states the basis for my eligibility
                                                  as one of the eligible non-citizen categories:



                                                  Source: https://fsapartners.ed.gov/knowledge-center/fsa-handbook/2022-2023/vol1/ch2-us-
                                                  citizenship-eligible-noncitizens

                                                  Her evidence of parole status is indicated on my I-766 (Employment Authorization) with the
                                                  endorsement of "I-512 ADVANCE PROLE". Additionally, I have a pending I-485 and submitted the
                                                  applicable I-797C to evidence this. This card is valid for 2 years, meeting the 1 year parole
                                                  requirement along with a pending I-485 (showing clear intent to become a permanent resident). These
                                                  factors meet the eligible category of "Persons paroled into the US for at least one year" in accordance
                                                  with the above.

                                                  You can also see, for example, on the USC citizen verification form (linked below) that the
                                                  "Employment Authorization with the notation of 'Serves as I-512 Advance Parole'" is clearly eligible for
                                                  federal aid under the "Person Paroled into the US for at least one year" category.

                                                  Even though this is a different university, the federal rules still apply country-wide.

                                                  Source: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                                  Second, the source of the parolee with a pending I-485 aid eligibility stems from Title 34 of the Federal
                                                  Regulations.

                                                  34 CFR § 668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose
                                                  with the intention of becoming a citizen or permanent resident" are eligible for federal aid. The pending
                                                  I-485 shows that she has a pending application for permanent residency.




                                                  Source: https://www.ecfr.gov/current/title-34/subtitle-B/chapter-VI/part-668/subpart-C/section-668.33


                                                  Third, the Department of Education, through the FAFSA process, has verified her eligibility with
                                                  USCIS/DHS shown below. The date matches the date we submitted her FAFSA application. You
                                                  indicated that you attempted to verify this yourself, but there is no record with DHS/USCIS that you
                                                  (the school) attempted to do so after this date. All requests for verification with DHS are stored in the
                                                  SAVE system. Her FAFSA shows that her status has been verified.




                                                  ** Please clarify your legal basis for denying her aid that the DOE, DHS, Federal Regulations, and
                                                  other schools clearly indicate she is eligible for. This may not be a situation you handle on a regular
                                                  basis, so please review the legal basis above and let me know how we can appeal this determination.
                                                  We can have our lawyer speak with your legal team if needed.

                                                  The Federal Aid Student Handbook indicates that you may need to submit a third-level SAVE request
                                                  to get the correct determination.

                                                  Please let us know as soon as possible so we can resolve before the term begins.

                                                  Regards,
https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       58/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 89 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                                    Chris Garson




                                                    On Wed, Jul 05, 2023 at 11:59 AM, Jiwon I. Byun-Garson <jiwon.byungarson@ufl.edu> wrote:
                                                     Sent from my iPhone

                                                      Begin forwarded message:


                                                             From: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                                             Date: July 5, 2023 at 9:36:04 AM EDT
                                                             To: "Byun-Garson, Jiwon I." <jiwon.byungarson@ufl.edu>
                                                             Subject: 2023-24 Eligible NonCitizenship Determination [
                                                             ref:_00D412ElGo._5001K1FnuoE:ref ]


                                                             ?
                                                  Hello Jiwon,

                                                  We submitted the documentation you gave to us for your eligible non-citizenship status to the
                                                  Department of Homeland Security for their review to see if you are eligible for financial aid.
                                                  Unfortunately, based on their review of the documentation provided, you are not eligible for financial aid
                                                  with your current status. If in the future your status changes, please do not hesitate to reach out to us so
                                                  that we can resubmit and check to see if your new status would qualify.

                                                  While federal funding for your university endeavor, at least with your current immigration status, is not
                                                  available, there are many other options available to you. You can check out our scholarship page to see
                                                  if you qualify for any institutional or outside scholarships: http://www.sfa.ufl.edu/types-of-
                                                  aid/scholarships/

                                                  If you have any questions, please contact the UF OneStop at www.onestop.ufl.edu.

                                                  Regards

                                                  Marie Guerra Rosado
                                                  Student Financial Aid and Scholarships
                                                  Division of Enrollment Management

                                                  ref:_00D412ElGo._5001K1FnuoE:ref




    5 attachments
        untitled.
        105K
        untitled.
        144K
        untitled.
        41K
        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                   Thu, Aug 24, 2023 at 5:21 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       59/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                  Document
                            Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                    Eligible NonCitizenship    11/15/23
                                                                                            Determination       Page 90 of 146
                                                                                                          [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   Hello Chris,

   Our office recommends that families complete their FAFSA applications with the most accurate information about their bio-demographic
   information. If you decide to update the FAFSA, the comment codes will remain from the previous FAFSA answers. That is because the
   Department of Homeland Security cannot make a secondary match on the identity information provided. As mentioned, the FAFSA must be
   error-free and complete to receive federal student aid, institutional aid (UF Undergraduate Grant), and the Florida Student Assistance Grant
   (FSAG).

   We recommend contacting the Federal Student Aid Ombudsman Group by phone at 1-800-433-3243 or online at https://student.aid.gov/
   feedback-center/ for further guidance.

   Thank you,

   Tracy McMullen
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/23/2023, 4:52 PM
   To: sfa-help@mail.ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Tracy,

   We still believe she is an eligible non-citizen per our discussion, but if we concede that she is not for this purpose (which is your position as well),
   changing this on the FAFSA would then make her eligible for the UF Undergraduate Grant, correct? There would be no DHS match in this case, therefore
   making the FAFSA error-free.

   Given where we are with the start of the semester, this may make the most sense for us for the time being.

   Please confirm.

   Thanks,
   Chris



   On Wed, Aug 23 2023 at 16:30, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
     Hello Chris,

     We advise all students and parents to complete their FAFSA application accurately and honestly regarding bio-demographic information,
     dependency status, and financial information. The FAFSA must be error-free and complete to receive federal student aid, institutional aid (UF
     Undergraduate Grant), and the Florida Student Assistance Grant (FSAG).

     The requirement to receive FSAG funding states, “The student must be a Florida resident and a U.S. citizen or eligible non-
     citizen.” FSAG.pdf (floridastudentfinancialaidsg.org)


     Thank you,

     Tracy McMullen
     Student Financial Aid and Scholarships
     Division of Enrollment Management


     --------------- Original Message ---------------
     From: Chris Garson [chris.garson@exlsolutions.net]
     Sent: 8/23/2023, 10:57 AM
     To: sfa-help@mail.ufl.edu
     Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Marie,

   I emailed Jennifer & Tracy yesterday, but I thought I should also send to you this way.

   UF's position currently is that the FAFSA has an "error" due to the C-code of a DHS mismatch. If we change the FAFSA to designate Jiwon as neither a
   citizen or eligible non-citizen, DOE will no longer attempt a DHS match/SAVE request at all. And since the FSAG does not require either Title IV eligibility
   or being an eligible non-citizen, having an error-free FAFSA without an attempt of a DHS match at this stage should theoretically make her eligible for the
   FSAG, correct?


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                         60/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                  Document
                           Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                   Eligible NonCitizenship    11/15/23
                                                                                           Determination       Page 91 of 146
                                                                                                         [ ref:_00D412ElGo._5001K1FnuoE:ref ]
   Please let us know so we can get the FAFSA reprocessed with this changed information. We understand this will remove our claim to Title IV eligibility at
   this stage while we explore options with the DOE and legally.

   Thanks again for your help—and for assistance with setting up the meeting yesterday. It was much more efficient than trying to communicate over email,
   but I didn't think to ask this question then.

   Thanks,
   Chris



   On Mon, Aug 21, 2023 at 12:59 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Mr. Garson,

      I can definitely check the status again if it changes.

      Regards,

      Marie Guerra Rosado
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/21/2023, 12:11 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Got it. I will talk with SAVE again between now and then, and, if they inform me that it was changed, I will email back to see if you would be willing to
      check it.

      Thanks for your help,
      Chris



      On Mon, Aug 21, 2023 at 12:07 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
       Mr. Garson,

        No, it is no longer showing the SAVE response "VAWA". It now shows the SAVE response "application pending".

        Tomorrow when you and Jiwon arrive please go to the OneStop office located at S-107 Criser Hall. You will be meeting with my supervisor, Jennifer
        Bennett.

        Regards,

        Marie Guerra Rosado
        Student Financial Aid and Scholarships
        Division of Enrollment Management


        --------------- Original Message ---------------
        From: Chris Garson [chris.garson@exlsolutions.net]
        Sent: 8/21/2023, 12:00 PM
        To: sfa-help@mail.ufl.edu
        Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

        [External Email]
        [External Email]
        Marie,

        Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still
        showing VAWA under that section?

        Thanks,
        Chris



        On Mon, Aug 21, 2023 at 11:58 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
         Mr. Garson,

          The SAVE case number is 0023111080901TP that has the SAVE response "Application Pending".

          I will make sure that all the screenshots are available for your review tomorrow.

          Regards,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                              61/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 92 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
          Marie Guerra Rosado
          Student Financial Aid and Scholarships
          Division of Enrollment Management


          --------------- Original Message ---------------
          From: Chris Garson [chris.garson@exlsolutions.net]
          Sent: 8/18/2023, 5:20 PM
          To: sfa-help@mail.ufl.edu
          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

          [External Email]
          [External Email]
          Thanks for the update.

          SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were very
          clear that the VAWA response is incorrect and had updated it to show Pending I-485.

          Are you looking at the specific SAVE case 0023111080901TP?

          Please bring the printouts of SAVE with you to the meeting so we can look together.

          Please confirm if you are looking at that specific case, and have a good weekend.

          Chris



          On Fri, Aug 18, 2023 at 5:16 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
           Mr. Garson,

            I apologize for not including the update for the most recent status.

            The SAVE response received was "application pending" again without the I-485. According to the Federal Student Aid Handbook and other
            federal guidance we have received, this response is ineligible status to receive Title IV federal financial aid and the Florida Student Assistance
            Grant.

            I will inform my supervisors that you want to keep the meeting for Tuesday at 12:30pm.

            If you do wish to pursue this matter further, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by
            phone at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

            Regards,

            Marie Guerra Rosado
            Student Financial Aid and Scholarships
            Division of Enrollment Management


            --------------- Original Message ---------------
            From: Chris Garson [chris.garson@exlsolutions.net]
            Sent: 8/18/2023, 4:38 PM
            To: sfa-help@mail.ufl.edu
            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

            [External Email]
            [External Email]
            Marie,

            I did not see this email before attempting to contact you, as it went to a different part of my inbox.

            You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous times
            that you required.

            Is this not the correct status that is required?

            We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

            In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you
            have previously confirmed with me.

            Please advise as soon as possible.

            Thanks,
            Chris



            On Fri, Aug 18, 2023 at 4:09 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
             Mr. Garson,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                             62/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                  Document
                           Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                   Eligible NonCitizenship    11/15/23
                                                                                           Determination       Page 93 of 146
                                                                                                         [ ref:_00D412ElGo._5001K1FnuoE:ref ]
              I apologize for the delay in my response.

              I am writing to provide you with a summary of the status of the citizenship status verification related to your daughter’s FAFSA application for
              the 2023-2024 aid year.

              The documentation you have provided was submitted to the Department of Homeland Security, and the Systematic Alien Verification for
              Entitlements (SAVE) responses received, per federal guidelines, are ineligible statuses to receive Title IV federal financial aid and the Florida
              Student Assistance Grant.

              Our office has consulted with Federal Student Aid regarding your situation and the Department of Homeland Security SAVE system
              representatives. The SAVE eligible non-citizen 3rd step verification resulted in an ineligible status twice, based upon federal documentation for
              eligible statuses. Our office then consulted with Federal Student Aid regarding this status and the verbal information you provided; Federal
              Student Aid confirmed the initial determination that the documentation received from both you and SAVE cannot result in an eligible status.

              You have requested a meeting, in person, with our office to discuss the above. Before you make the trip to campus and potentially take
              yourself away from work or other responsibilities, I wanted to make you aware that we cannot override the determination from the Department
              of Homeland Security. Unless you have additional documentation to provide, there is nothing else we can do to assist you in eligibility for
              federal financial aid or state need-based financial aid.

              We have exhausted all options available through our office. If you still want to discuss this matter in-person, I am willing to meet with you.
              However, I would only be able to reiterate the above facts and would not be able to help you further.

              If you wish to pursue this matter, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone
              at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

              Regards,

              Marie Guerra Rosado
              Student Financial Aid and Scholarships
              Division of Enrollment Management


              --------------- Original Message ---------------
              From: Chris Garson [chris.garson@exlsolutions.net]
              Sent: 8/18/2023, 2:39 PM
              To: sfa-help@mail.ufl.edu
              Cc: countess@ufl.edu
              Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

              [External Email]
              [External Email]
              Hi Marie,

              I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to travel
              down there for our meeting on Tuesday—or if everything is resolved now.

              Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again later
              today.

              Thanks again for your help on this.

              Chris



              On Thu, Aug 17, 2023 at 2:35 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
               Hi Marie,

                  I left you a VM a few minutes ago; sorry I missed you. I just wanted to make sure you got my last email and to get an update on where we
                  are—and if we still need that meeting next week.

                  This has been really stressful for us, and we really would appreciate an update. I'm sure you're swamped with the term starting next week,
                  and I'm really sorry to add to that!

                  Thanks again for your help—and hope to hear from you soon.

                  Thanks,
                  Chris




                  On Wed, Aug 16, 2023 at 1:44 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                   Marie,

                    I just left you a VM, but I wanted to let you know that I was able to talk with someone at SAVE Case Resolutions & Audits to correct the
                    SAVE response you received on the case 0023111080901TP that had the incorrect VAWA response.

                    They acknowledged that the VAWA response was incorrect and they changed the response to Pending I-485, which is what you indicated
                    was necessary for your purposes.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                             63/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 94 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                  Please call me at 904-402-2026.

                  Thanks,
                  Chris




                  On Tue, Aug 15, 2023 at 3:03 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                   It will be Jiwon and myself. I will attempt to ensure any other relevant parties are available by phone at that time if necessary.

                    Thanks,
                    Chris




                    On Tue, Aug 15, 2023 at 12:53 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                     Mr. Garson,

                      Yes sir, that does work for us.

                      Can you please tell me who all is coming with you so I can make sure we can accommodate everyone?

                      Regards,

                      Marie Guerra Rosado
                      Student Financial Aid and Scholarships
                      Division of Enrollment Management


                      --------------- Original Message ---------------
                      From: Chris Garson [chris.garson@exlsolutions.net]
                      Sent: 8/15/2023, 11:45 AM
                      To: sfa-help@mail.ufl.edu
                      Cc: jiwon.byungarson@ufl.edu
                      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                      [External Email]
                      [External Email]
                      That's fine. Please confirm if that works.

                      Thanks,
                      Chris



                      On Tue, Aug 15, 2023 at 9:09 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                       Mr. Garson,

                         There is a scheduling conflict, can we meet at 12:30pm on 8/22?

                         Marie Guerra Rosado
                         Student Financial Aid and Scholarships
                         Division of Enrollment Management


                         --------------- Original Message ---------------
                         From: Chris Garson [chris.garson@exlsolutions.net]
                         Sent: 8/14/2023, 5:15 PM
                         To: sfa-help@mail.ufl.edu
                         Cc: jiwon.byungarson@ufl.edu
                         Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                         [External Email]
                         [External Email]
                         Thank you for the prompt reply.

                         We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

                         Chris



                         On Mon, Aug 14, 2023 at 5:12 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                          Mr. Garson,

                            I spoke with my supervisor and the earliest availability is next week. Here are the days and times we can meet:

                            Tuesday 8/22/23 - open all day
                            Wednesday 8/23/23- Anytime before 3:00pm

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                    64/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 95 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                          Thursday 8/24/23- Anytime before 2:00pm

                          Please let me know if you would like to have conference call, Zoom meeting, or in person.

                          Regards,

                          Marie Guerra Rosado
                          Student Financial Aid and Scholarships
                          Division of Enrollment Management


                          --------------- Original Message ---------------
                          From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                          Sent: 8/14/2023, 4:24 PM
                          To: chris.garson@exlsolutions.net
                          Cc: jiwon.byungarson@ufl.edu
                          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                          Mr. Garson,

                          Yes, I will notify my supervisors and get back to you as soon as possible.

                          Regards,

                          Marie Guerra Rosado
                          Student Financial Aid and Scholarships
                          Division of Enrollment Management


                          --------------- Original Message ---------------
                          From: Chris Garson [chris.garson@exlsolutions.net]
                          Sent: 8/14/2023, 4:22 PM
                          To: sfa-help@mail.ufl.edu
                          Cc: jiwon.byungarson@ufl.edu
                          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                          [External Email]
                          [External Email]
                          Yes, they are need-based awards based on the FAFSA. The FAFSA is what demonstrates the need. However, the fact that you
                          even received the FAFSA data from the DOE indicates that there were no errors in processing. There is nothing listed as an error
                          on her FAFSA when logging in, and the FAFSA shows as fully processed with no errors.

                          I understand the Title IV is a separate matter, but the immigration status for purposes of Title IV has nothing to do with the need
                          demonstrated on the FAFSA. The FAFSA has been fully processed, and you would not have even received it if there were errors
                          on it.

                          Can we schedule a conference with you and your supervisors this week to discuss this and other items? This is not being
                          interpreted correctly.

                          Thanks,
                          Chris



                          On Mon, Aug 14, 2023 at 4:19 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                           Mr. Garson,

                            I apologize I did not see your previous email.

                            The FL Student Assistance Grant and UF Undergraduate grant are not federal but these two awards are need-based awards
                            and eligibility is determined from information provided on the FAFSA. In order to receive these awards we must have an error-
                            free FAFSA and the student must show need on their federal need analysis report.

                            I hope this addresses your concerns.

                            Let me know if you have any further questions.

                            Regards,

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                            Sent: 8/14/2023, 4:10 PM
                            To: chris.garson@exlsolutions.net
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                      65/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 96 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                            Mr. Garson,

                            Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free FAFSA.
                            Once we receive the final confirmation for your daughter's citizenship status we will be able to determine her eligibility for the
                            FSAG award.

                            You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me from
                            OSFA.

                            Please let me know if you have any further questions.

                            Regards,

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: Chris Garson [chris.garson@exlsolutions.net]
                            Sent: 8/14/2023, 3:42 PM
                            To: sfa-help@mail.ufl.edu
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            [External Email]
                            [External Email]
                            Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student Assistance
                            Grant. Residency is only required and follows the same rules as Bright Futures.

                            Why is this not approvable?




                            Thanks,
                            Chris



                            On Mon, Aug 14, 2023 at 3:26 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                             Marie,

                               The FL State Assistance Grant and UF Undergraduate grant are not federal. You previously stated that FL aid was state-
                               specific and FL residency was the requirement—and that it has been approved.

                               Can you explain why these are different and tied to the federal awards when they are not related to the federal regulations in
                               any way?

                               Thanks,
                               Chris




                               On Mon, Aug 14, 2023 at 3:23 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                Mr. Garson,

                                 I confirmed that all awards except the Bright Futures award and the Welcome Grant are on hold until we complete the
                                 citizenship review.

                                 Let me know if you have any further questions.

                                 Marie Guerra Rosado
                                 Student Financial Aid and Scholarships
                                 Division of Enrollment Management


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        66/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 97 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                 --------------- Original Message ---------------
                                 From: Chris Garson [chris.garson@exlsolutions.net]
                                 Sent: 8/14/2023, 2:31 PM
                                 To: sfa-help@mail.ufl.edu
                                 Cc: jiwon.byungarson@ufl.edu
                                 Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                 [External Email]
                                 [External Email]
                                 Thanks. She will do the release now.

                                 The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

                                 Can you confirm that the following items are approved? They are all FL or UF.

                                     1. FL Student Assistance Grant
                                     2. FL Academic Scholars Award (Bright Futures)
                                     3. UF Undergraduate Grant
                                     4. UF Welcome Grant

                                 Thanks,
                                 Chris




                                 On Mon, Aug 14, 2023 at 2:27 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                  Mr. Garson,

                                   Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit the
                                   student's information to determine if DHS can verify citizenship. I have not received a response back yet but as soon as
                                   I have more information I will reach out to you.

                                   As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the other
                                   aid she was awarded is still pending final confirmation of her citizenship status. I noticed that your daughter has not set
                                   up her student authorizations to release financial information yet.

                                   Can you please have her update this information and include you on the form so I can discuss the details of her
                                   financial aid awards with you?

                                   I have included the instructions on how to set up the student authorizations form.

                                   Let me know if you have any further questions.

                                   Marie Guerra Rosado
                                   Student Financial Aid and Scholarships
                                   Division of Enrollment Management


                                   --------------- Original Message ---------------
                                   From: Chris Garson [chris.garson@exlsolutions.net]
                                   Sent: 8/14/2023, 11:58 AM
                                   To: sfa-help@mail.ufl.edu
                                   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                   [External Email]
                                   [External Email]
                                   Marie,

                                   Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you get
                                   anything back on it instantly—or did it immediately move to 2nd stage?

                                   Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid
                                   approved?

                                   Thanks,
                                   Chris



                                   On Wed, Aug 09, 2023 at 11:01 AM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                    Marie,

                                     She was recently approved for Special Immigrant Juvenile Status (SIJS) on July 28th, which is not VAWA but it is
                                     somewhat related conceptually (it uses the same application form). This is completely separate from, and is not
                                     affected by, her concurrent Adjustment of Status application based on an I-130. The VAWA specifically,
                                     however, is completely incorrect. They must have not looked at the specific details before responding.

                                     As shown to you both by the receipt notice and the fact that you can still check the I-485 on the USCIS website as
                                     pending, she has a pending I-485 which makes her eligible by itself. Can you not use the confirmed pending 485 as

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                         67/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 98 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]
                                     evidence of this? You can check this easily on the USCIS website yourself.

                                     When submitting the third-step request, it is important to specify exactly what you are attempting to verify (i.e, that
                                     she has a pending I-485). I'm not sure what you wrote originally, but this could have caused confusion.

                                     Please let me know as soon as possible.

                                     Thanks,
                                     Chris




                                     On Wed, Aug 09, 2023 at 10:47 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                     wrote:
                                       Mr. Garson,

                                       Yes, the response was returned but it was a completely different status. The SAVE Response received is VAWA
                                       Self-Petitioner but the VAWA Status is that your daughter is not the self-petitioner.

                                       Please allow me a few days to research this new status to determine if we can approve your daughter for federal
                                       aid based on the documentation we have received.

                                       If you have any documentation from DHS about the VAWA status you can send me a copy and I will review it
                                       immediately.

                                       Let me know if you have any questions.

                                       Regards,

                                       Marie Guerra Rosado
                                       Student Financial Aid and Scholarships
                                       Division of Enrollment Management


                                       --------------- Original Message ---------------
                                       From: Chris Garson [chris.garson@exlsolutions.net]
                                       Sent: 8/8/2023, 10:33 PM
                                       To: sfa-help@mail.ufl.edu
                                       Cc: jiwon.byungarson@ufl.edu
                                       Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                       [External Email]
                                       [External Email]
                                       Marie,

                                       SAVE is now reporting that the request has been returned. Can you verify?

                                       Thanks,
                                       Chris



                                       On Tue, Aug 08, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                       wrote:
                                         Mr. Garson,

                                         I apologize for my delayed response. Thank you for this information. I will include this document with your case. I
                                         will continue to monitor your daughter's DHS case. I am hoping we will receive an update soon.

                                         If you have any questions please do not hesitate to reach out to me.

                                         Regards,

                                         Marie Guerra Rosado
                                         Student Financial Aid and Scholarships
                                         Division of Enrollment Management


                                         --------------- Original Message ---------------
                                         From: Chris Garson [chris.garson@exlsolutions.net]
                                         Sent: 8/2/2023, 4:04 PM
                                         To: sfa-help@mail.ufl.edu
                                         Cc: jiwon.byungarson@ufl.edu
                                         Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                         [External Email]
                                         [External Email]
                                         Marie,

                                         Thank you again for your call today and the information; it was very helpful.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           68/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                  Document
                          Excel Solutions, LLC Mail - Re: 2023-24             1-7 Filed
                                                                  Eligible NonCitizenship    11/15/23
                                                                                          Determination       Page 99 of 146
                                                                                                        [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                         It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to enter
                                         the receipt number on the I-485 receipt that we sent you (IOE0915492398) into the USCIS/DHS case status
                                         check on the website here: https://egov.uscis.gov/

                                         This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time you
                                         run the check.




                                         I may renew this assertion later, but I thought it may be an idea.

                                         Thanks,
                                         Chris



                                         On Mon, Jul 31, 2023 at 5:14 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                          Thank you for the update. We will wait to hear from you.

                                           Please feel free to contact me at (904) 402-2026 if you have any follow-up questions.

                                           Thanks,
                                           Chris




                                           On Fri, Jul 28, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                           help@mail.ufl.edu> wrote:
                                             Mr. Garson,

                                             I have notified my supervisors about your concerns and they are researching your case.

                                             As soon as I have more information I will contact you.

                                             Regards,

                                             Marie Guerra Rosado
                                             Student Financial Aid and Scholarships
                                             Division of Enrollment Management


                                             --------------- Original Message ---------------
                                             From: Chris Garson [chris.garson@exlsolutions.net]
                                             Sent: 7/28/2023, 9:24 AM
                                             To: sfa-help@mail.ufl.edu
                                             Cc: jiwon.byungarson@ufl.edu
                                             Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                             [External Email]
                                             [External Email]
                                             Hi Marie,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        69/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 100 of 146               ]
                                             Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34 CFR §
                                             668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose with the
                                             intention of becoming a citizen or permanent resident" are eligible for federal aid.

                                             The pending I-485 shows that she has a pending application for permanent residency and that is
                                             fully compliant with the SAVE response you received. Please let me know why the SAVE response is
                                             incompatible with this federal regulation that clearly makes her eligible for Title IV aid.

                                             Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application for
                                             permanent residency) is an instrument that allows a person to be paroled once returning to the US from a
                                             trip abroad to resume processing of their I-485. The stated parole period upon entry is always 1 year for
                                             those in this category. Based on her EAD, her authorization to use advance parole is valid through February
                                             2025, meaning that she can leave and return an infinite number of times to be paroled back into the US for 1
                                             year each time, effectively making her parole period through February 12, 2026.

                                             I previously sent you a document from the University of Southern California that seems to understand this
                                             better. Only those with a pending application for permanent residency can receive an I-512 endorsement on
                                             their EAD, and USC seems to understand that. That's why their citizenship eligibility form makes specific
                                             reference to that endorsement as a valid way to evidence parole for the purposes of Title IV aid. If you're
                                             operating under the same federal regulations, why does USC accept this as valid evidence and you do not?
                                             They will receive the exact same SAVE responses in this case, which, as I noted above, is fully compatible
                                             with 34 CFR § 668.33(a)(2)(ii).

                                             Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                             Again, after speaking with our lawyer and with other schools that operate under the same federal
                                             regulations, we firmly believe that UF is misapplying the law in this case.

                                             Please advise.

                                             Thanks,
                                             Chris Garson



                                             On Fri, Jul 28, 2023 at 8:40 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                             help@mail.ufl.edu> wrote:
                                               Mr. Garson,

                                               I am not sure what happened but I did reply to your email on July 6th. Here is my response to your email:


                                                              To: chris.garson, Jiwon Iris Byun-Garson                                  July 6, 2023 at 11:14
                                                              AM

                                                              Mr. Garson,
                                                              I understand your concerns and want you to know that I will do whatever I can to assist you
                                                              and your daughter with this case.

                                                              Based on the information I received from the SAVE system for DHS, the status provided
                                                              was that "the applicant status was application pending as a non-national of the US that has
                                                              filed an application with USCIS for an extension, change or adjustment of status or to obtain
                                                              employment, but a decision has not yet been made".

                                                              Per our federal regulations, advance parole is not the same parolee status as an individual
                                                              who is paroled in the United States for at least one year [Section 212(d)(5) of the
                                                              Immigration and Nationality Act (INA)]. Therefore, individuals with advance parole status are
                                                              not eligible for Title IV for aid unless they also fall into some other Title IV-eligible category
                                                              (e.g., permanent residents, asylees, or parolees) and can document that eligible status.

                                                              If you have any additional documentation that you can provide me that shows a status other
                                                              than advance parolee I can resubmit the forms to SAVE.

                                                              Please let me know how you want to proceed. If you have any additional questions feel free
                                                              to response back to this email or you can call me directly at 352.294.3259

                                               You are correct, I did resubmit the documentation that was provided to SAVE. Per our federal regulations,
                                               that was mentioned above, I am unable to approve for your daugther's citizenship status without an
                                               eligible SAVE response. If you have any additional documentation that you can provide me that shows a
                                               status other than advance parolee, please send me a copy and I will review it immediately.

                                               Marie Guerra Rosado
                                               Student Financial Aid and Scholarships
                                               Division of Enrollment Management


                                               --------------- Original Message ---------------
                                               From: Chris Garson [chris.garson@exlsolutions.net]
                                               Sent: 7/28/2023, 7:00 AM
                                               To: jiwon.byungarson@ufl.edu; sfa-help@mail.ufl.edu


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        70/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 101 of 146               ]
                                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                               [External Email]
                                               [External Email]
                                               Hi Marie,

                                               I hope you've been well. Although we have not received a response from you, I see that on July 6th (the
                                               day after I sent the previous email) , the DHS SAVE case was reopened, presumably because you
                                               submitted a third step request. As of this email on July 28th, the case is still pending.




                                               According to the "SAVE System Instructions for US Department of Education (School) Users" guide, the
                                               maximum time the school is to wait is 15 business days. These 15 business days expired yesterday July
                                               27th. After this time, the school is to make a decision based on the documentation submitted and to not
                                               follow up with the SAVE case further. Please see the excerpt cited below for further detail.




                                               Source: https://fsapartners.ed.gov/sites/default/files/attachments/2019-11/SAVEInstructions30Final.pdf (
                                               page 30)

                                               Linking source: https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2019-10-
                                               16/save-instructions-us-department-education-school-users-version-30-available-updated-sept-9-2022

                                               Please advise as soon as possible if you will follow these directives from the Department of Education,
                                               such that we can ensure this is resolved before the term begins. Please also refer to my previous email
                                               regarding the legal basis for her eligibility.

                                               Thank you,
                                               Chris Garson



                                               On Wed, Jul 05, 2023 at 1:54 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                                Hi Marie,

                                                 Thank you for the update. Jiwon forwarded your email to me; I'm responding as the father of Jiwon
                                                 Byun-Garson.

                                                 We have spoken to the Department of Education, the Department of Homeland Security, and our
                                                 immigration lawyer prior to submitting this, and all three have confirmed that her status (parolee) is
                                                 eligible for aid. Here is the legal basis for this.

                                                 First, the Department of Education's Federal Aid Student Handbook states the basis for my eligibility as
                                                 one of the eligible non-citizen categories:



                                                 Source: https://fsapartners.ed.gov/knowledge-center/fsa-handbook/2022-2023/vol1/ch2-us-citizenship-
                                                 eligible-noncitizens

                                                 Her evidence of parole status is indicated on my I-766 (Employment Authorization) with the
                                                 endorsement of "I-512 ADVANCE PROLE". Additionally, I have a pending I-485 and submitted the
                                                 applicable I-797C to evidence this. This card is valid for 2 years, meeting the 1 year parole requirement
                                                 along with a pending I-485 (showing clear intent to become a permanent resident). These factors meet

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                      71/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 102 of 146               ]
                                                 the eligible category of "Persons paroled into the US for at least one year" in accordance with the
                                                 above.

                                                 You can also see, for example, on the USC citizen verification form (linked below) that the "Employment
                                                 Authorization with the notation of 'Serves as I-512 Advance Parole'" is clearly eligible for federal aid
                                                 under the "Person Paroled into the US for at least one year" category.

                                                 Even though this is a different university, the federal rules still apply country-wide.

                                                 Source: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                                 Second, the source of the parolee with a pending I-485 aid eligibility stems from Title 34 of the Federal
                                                 Regulations.

                                                 34 CFR § 668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose
                                                 with the intention of becoming a citizen or permanent resident" are eligible for federal aid. The pending
                                                 I-485 shows that she has a pending application for permanent residency.




                                                 Source: https://www.ecfr.gov/current/title-34/subtitle-B/chapter-VI/part-668/subpart-C/section-668.33


                                                 Third, the Department of Education, through the FAFSA process, has verified her eligibility with
                                                 USCIS/DHS shown below. The date matches the date we submitted her FAFSA application. You
                                                 indicated that you attempted to verify this yourself, but there is no record with DHS/USCIS that you (the
                                                 school) attempted to do so after this date. All requests for verification with DHS are stored in the SAVE
                                                 system. Her FAFSA shows that her status has been verified.




                                                 ** Please clarify your legal basis for denying her aid that the DOE, DHS, Federal Regulations, and other
                                                 schools clearly indicate she is eligible for. This may not be a situation you handle on a regular basis, so
                                                 please review the legal basis above and let me know how we can appeal this determination. We can
                                                 have our lawyer speak with your legal team if needed.

                                                 The Federal Aid Student Handbook indicates that you may need to submit a third-level SAVE request to
                                                 get the correct determination.

                                                 Please let us know as soon as possible so we can resolve before the term begins.

                                                 Regards,
                                                 Chris Garson




                                                 On Wed, Jul 05, 2023 at 11:59 AM, Jiwon I. Byun-Garson <jiwon.byungarson@ufl.edu> wrote:
                                                  Sent from my iPhone

                                                   Begin forwarded message:


                                                           From: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                                           Date: July 5, 2023 at 9:36:04 AM EDT
                                                           To: "Byun-Garson, Jiwon I." <jiwon.byungarson@ufl.edu>
                                                           Subject: 2023-24 Eligible NonCitizenship Determination [
                                                           ref:_00D412ElGo._5001K1FnuoE:ref ]


                                                          ?
                                               Hello Jiwon,

                                               We submitted the documentation you gave to us for your eligible non-citizenship status to the Department
                                               of Homeland Security for their review to see if you are eligible for financial aid. Unfortunately, based on
                                               their review of the documentation provided, you are not eligible for financial aid with your current status. If
                                               in the future your status changes, please do not hesitate to reach out to us so that we can resubmit and
                                               check to see if your new status would qualify.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       72/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                 Document
                            Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                    Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                            Determination  Page 103 of 146               ]
                                                    While federal funding for your university endeavor, at least with your current immigration status, is not
                                                    available, there are many other options available to you. You can check out our scholarship page to see if
                                                    you qualify for any institutional or outside scholarships: http://www.sfa.ufl.edu/types-of-aid/scholarships/

                                                    If you have any questions, please contact the UF OneStop at www.onestop.ufl.edu.

                                                    Regards

                                                    Marie Guerra Rosado
                                                    Student Financial Aid and Scholarships
                                                    Division of Enrollment Management

                                                    ref:_00D412ElGo._5001K1FnuoE:ref




    5 attachments
        untitled.
        105K
        untitled.
        144K
        untitled.
        41K
        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                       Thu, Aug 24, 2023 at 5:30 PM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Tracy,

   We would like to submit her parole documentation to you in order to qualify for the "Parolee" eligible status. Based on the requirements listed for this in
   the Federal Student Aid Handbook, this would be:

        1. Her parole stamp
        2. Her parole I-94
        3. I-797 receipt for I-485

   This would appear to be the most clear way to meet the Title IV requirements. What is the best way to get these documents to you so you can submit
   them to both FSA and/or SAVE for additional third-step verification? The first two documents were previously not included, so this is new.

   Please advise.

   Thanks,
   Chris



   On Thu, Aug 24, 2023 at 5:21 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
      Hello Chris,

      Our office recommends that families complete their FAFSA applications with the most accurate information about their bio-demographic
      information. If you decide to update the FAFSA, the comment codes will remain from the previous FAFSA answers. That is because the
      Department of Homeland Security cannot make a secondary match on the identity information provided. As mentioned, the FAFSA must be
      error-free and complete to receive federal student aid, institutional aid (UF Undergraduate Grant), and the Florida Student Assistance Grant
      (FSAG).

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                             73/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                 Document
                           Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                   Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                           Determination  Page 104 of 146               ]


      We recommend contacting the Federal Student Aid Ombudsman Group by phone at 1-800-433-3243 or online at
      https://student.aid.gov/feedback-center/ for further guidance.

      Thank you,

      Tracy McMullen
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/23/2023, 4:52 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Tracy,

      We still believe she is an eligible non-citizen per our discussion, but if we concede that she is not for this purpose (which is your position as well),
      changing this on the FAFSA would then make her eligible for the UF Undergraduate Grant, correct? There would be no DHS match in this case,
      therefore making the FAFSA error-free.

      Given where we are with the start of the semester, this may make the most sense for us for the time being.

      Please confirm.

      Thanks,
      Chris



      On Wed, Aug 23 2023 at 16:30, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
       Hello Chris,

       We advise all students and parents to complete their FAFSA application accurately and honestly regarding bio-demographic information,
       dependency status, and financial information. The FAFSA must be error-free and complete to receive federal student aid, institutional aid
       (UF Undergraduate Grant), and the Florida Student Assistance Grant (FSAG).

       The requirement to receive FSAG funding states, “The student must be a Florida resident and a U.S. citizen or eligible non-
       citizen.” FSAG.pdf (floridastudentfinancialaidsg.org)


       Thank you,

       Tracy McMullen
       Student Financial Aid and Scholarships
       Division of Enrollment Management


       --------------- Original Message ---------------
       From: Chris Garson [chris.garson@exlsolutions.net]
       Sent: 8/23/2023, 10:57 AM
       To: sfa-help@mail.ufl.edu
       Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,

      I emailed Jennifer & Tracy yesterday, but I thought I should also send to you this way.

      UF's position currently is that the FAFSA has an "error" due to the C-code of a DHS mismatch. If we change the FAFSA to designate Jiwon as neither a
      citizen or eligible non-citizen, DOE will no longer attempt a DHS match/SAVE request at all. And since the FSAG does not require either Title IV
      eligibility or being an eligible non-citizen, having an error-free FAFSA without an attempt of a DHS match at this stage should theoretically make her
      eligible for the FSAG, correct?

      Please let us know so we can get the FAFSA reprocessed with this changed information. We understand this will remove our claim to Title IV eligibility
      at this stage while we explore options with the DOE and legally.

      Thanks again for your help—and for assistance with setting up the meeting yesterday. It was much more efficient than trying to communicate over
      email, but I didn't think to ask this question then.

      Thanks,
      Chris


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                             74/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                 Document
                           Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                   Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                           Determination  Page 105 of 146               ]



      On Mon, Aug 21, 2023 at 12:59 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
       Mr. Garson,

        I can definitely check the status again if it changes.

        Regards,

        Marie Guerra Rosado
        Student Financial Aid and Scholarships
        Division of Enrollment Management


        --------------- Original Message ---------------
        From: Chris Garson [chris.garson@exlsolutions.net]
        Sent: 8/21/2023, 12:11 PM
        To: sfa-help@mail.ufl.edu
        Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

        [External Email]
        [External Email]
        Got it. I will talk with SAVE again between now and then, and, if they inform me that it was changed, I will email back to see if you would be willing to
        check it.

        Thanks for your help,
        Chris



        On Mon, Aug 21, 2023 at 12:07 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
         Mr. Garson,

          No, it is no longer showing the SAVE response "VAWA". It now shows the SAVE response "application pending".

          Tomorrow when you and Jiwon arrive please go to the OneStop office located at S-107 Criser Hall. You will be meeting with my supervisor, Jennifer
          Bennett.

          Regards,

          Marie Guerra Rosado
          Student Financial Aid and Scholarships
          Division of Enrollment Management


          --------------- Original Message ---------------
          From: Chris Garson [chris.garson@exlsolutions.net]
          Sent: 8/21/2023, 12:00 PM
          To: sfa-help@mail.ufl.edu
          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

          [External Email]
          [External Email]
          Marie,

          Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still
          showing VAWA under that section?

          Thanks,
          Chris



          On Mon, Aug 21, 2023 at 11:58 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
           Mr. Garson,

            The SAVE case number is 0023111080901TP that has the SAVE response "Application Pending".

            I will make sure that all the screenshots are available for your review tomorrow.

            Regards,

            Marie Guerra Rosado
            Student Financial Aid and Scholarships
            Division of Enrollment Management


            --------------- Original Message ---------------
            From: Chris Garson [chris.garson@exlsolutions.net]
            Sent: 8/18/2023, 5:20 PM
            To: sfa-help@mail.ufl.edu

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           75/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 106 of 146               ]
            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

            [External Email]
            [External Email]
            Thanks for the update.

            SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were very
            clear that the VAWA response is incorrect and had updated it to show Pending I-485.

            Are you looking at the specific SAVE case 0023111080901TP?

            Please bring the printouts of SAVE with you to the meeting so we can look together.

            Please confirm if you are looking at that specific case, and have a good weekend.

            Chris



            On Fri, Aug 18, 2023 at 5:16 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
             Mr. Garson,

              I apologize for not including the update for the most recent status.

              The SAVE response received was "application pending" again without the I-485. According to the Federal Student Aid Handbook and other
              federal guidance we have received, this response is ineligible status to receive Title IV federal financial aid and the Florida Student Assistance
              Grant.

              I will inform my supervisors that you want to keep the meeting for Tuesday at 12:30pm.

              If you do wish to pursue this matter further, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group
              by phone at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

              Regards,

              Marie Guerra Rosado
              Student Financial Aid and Scholarships
              Division of Enrollment Management


              --------------- Original Message ---------------
              From: Chris Garson [chris.garson@exlsolutions.net]
              Sent: 8/18/2023, 4:38 PM
              To: sfa-help@mail.ufl.edu
              Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

              [External Email]
              [External Email]
              Marie,

              I did not see this email before attempting to contact you, as it went to a different part of my inbox.

              You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous
              times that you required.

              Is this not the correct status that is required?

              We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

              In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you
              have previously confirmed with me.

              Please advise as soon as possible.

              Thanks,
              Chris



              On Fri, Aug 18, 2023 at 4:09 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
               Mr. Garson,

                  I apologize for the delay in my response.

                  I am writing to provide you with a summary of the status of the citizenship status verification related to your daughter’s FAFSA application for
                  the 2023-2024 aid year.

                  The documentation you have provided was submitted to the Department of Homeland Security, and the Systematic Alien Verification for
                  Entitlements (SAVE) responses received, per federal guidelines, are ineligible statuses to receive Title IV federal financial aid and the
                  Florida Student Assistance Grant.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           76/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 107 of 146               ]
                  Our office has consulted with Federal Student Aid regarding your situation and the Department of Homeland Security SAVE system
                  representatives. The SAVE eligible non-citizen 3rd step verification resulted in an ineligible status twice, based upon federal documentation
                  for eligible statuses. Our office then consulted with Federal Student Aid regarding this status and the verbal information you provided;
                  Federal Student Aid confirmed the initial determination that the documentation received from both you and SAVE cannot result in an eligible
                  status.

                  You have requested a meeting, in person, with our office to discuss the above. Before you make the trip to campus and potentially take
                  yourself away from work or other responsibilities, I wanted to make you aware that we cannot override the determination from the
                  Department of Homeland Security. Unless you have additional documentation to provide, there is nothing else we can do to assist you in
                  eligibility for federal financial aid or state need-based financial aid.

                  We have exhausted all options available through our office. If you still want to discuss this matter in-person, I am willing to meet with you.
                  However, I would only be able to reiterate the above facts and would not be able to help you further.

                  If you wish to pursue this matter, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone
                  at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

                  Regards,

                  Marie Guerra Rosado
                  Student Financial Aid and Scholarships
                  Division of Enrollment Management


                  --------------- Original Message ---------------
                  From: Chris Garson [chris.garson@exlsolutions.net]
                  Sent: 8/18/2023, 2:39 PM
                  To: sfa-help@mail.ufl.edu
                  Cc: countess@ufl.edu
                  Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                  [External Email]
                  [External Email]
                  Hi Marie,

                  I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to travel
                  down there for our meeting on Tuesday—or if everything is resolved now.

                  Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again later
                  today.

                  Thanks again for your help on this.

                  Chris



                  On Thu, Aug 17, 2023 at 2:35 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                   Hi Marie,

                    I left you a VM a few minutes ago; sorry I missed you. I just wanted to make sure you got my last email and to get an update on where we
                    are—and if we still need that meeting next week.

                    This has been really stressful for us, and we really would appreciate an update. I'm sure you're swamped with the term starting next week,
                    and I'm really sorry to add to that!

                    Thanks again for your help—and hope to hear from you soon.

                    Thanks,
                    Chris




                    On Wed, Aug 16, 2023 at 1:44 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                     Marie,

                      I just left you a VM, but I wanted to let you know that I was able to talk with someone at SAVE Case Resolutions & Audits to correct the
                      SAVE response you received on the case 0023111080901TP that had the incorrect VAWA response.

                      They acknowledged that the VAWA response was incorrect and they changed the response to Pending I-485, which is what you
                      indicated was necessary for your purposes.

                      Please call me at 904-402-2026.

                      Thanks,
                      Chris




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           77/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 108 of 146               ]
                     On Tue, Aug 15, 2023 at 3:03 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                      It will be Jiwon and myself. I will attempt to ensure any other relevant parties are available by phone at that time if necessary.

                       Thanks,
                       Chris




                       On Tue, Aug 15, 2023 at 12:53 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                        Mr. Garson,

                         Yes sir, that does work for us.

                         Can you please tell me who all is coming with you so I can make sure we can accommodate everyone?

                         Regards,

                         Marie Guerra Rosado
                         Student Financial Aid and Scholarships
                         Division of Enrollment Management


                         --------------- Original Message ---------------
                         From: Chris Garson [chris.garson@exlsolutions.net]
                         Sent: 8/15/2023, 11:45 AM
                         To: sfa-help@mail.ufl.edu
                         Cc: jiwon.byungarson@ufl.edu
                         Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                         [External Email]
                         [External Email]
                         That's fine. Please confirm if that works.

                         Thanks,
                         Chris



                         On Tue, Aug 15, 2023 at 9:09 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                          Mr. Garson,

                            There is a scheduling conflict, can we meet at 12:30pm on 8/22?

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: Chris Garson [chris.garson@exlsolutions.net]
                            Sent: 8/14/2023, 5:15 PM
                            To: sfa-help@mail.ufl.edu
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            [External Email]
                            [External Email]
                            Thank you for the prompt reply.

                            We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

                            Chris



                            On Mon, Aug 14, 2023 at 5:12 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                             Mr. Garson,

                              I spoke with my supervisor and the earliest availability is next week. Here are the days and times we can meet:

                              Tuesday 8/22/23 - open all day
                              Wednesday 8/23/23- Anytime before 3:00pm
                              Thursday 8/24/23- Anytime before 2:00pm

                              Please let me know if you would like to have conference call, Zoom meeting, or in person.

                              Regards,

                              Marie Guerra Rosado
                              Student Financial Aid and Scholarships

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       78/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 109 of 146               ]
                             Division of Enrollment Management


                             --------------- Original Message ---------------
                             From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                             Sent: 8/14/2023, 4:24 PM
                             To: chris.garson@exlsolutions.net
                             Cc: jiwon.byungarson@ufl.edu
                             Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                             Mr. Garson,

                             Yes, I will notify my supervisors and get back to you as soon as possible.

                             Regards,

                             Marie Guerra Rosado
                             Student Financial Aid and Scholarships
                             Division of Enrollment Management


                             --------------- Original Message ---------------
                             From: Chris Garson [chris.garson@exlsolutions.net]
                             Sent: 8/14/2023, 4:22 PM
                             To: sfa-help@mail.ufl.edu
                             Cc: jiwon.byungarson@ufl.edu
                             Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                             [External Email]
                             [External Email]
                             Yes, they are need-based awards based on the FAFSA. The FAFSA is what demonstrates the need. However, the fact that
                             you even received the FAFSA data from the DOE indicates that there were no errors in processing. There is nothing listed as
                             an error on her FAFSA when logging in, and the FAFSA shows as fully processed with no errors.

                             I understand the Title IV is a separate matter, but the immigration status for purposes of Title IV has nothing to do with the
                             need demonstrated on the FAFSA. The FAFSA has been fully processed, and you would not have even received it if there
                             were errors on it.

                             Can we schedule a conference with you and your supervisors this week to discuss this and other items? This is not being
                             interpreted correctly.

                             Thanks,
                             Chris



                             On Mon, Aug 14, 2023 at 4:19 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                              Mr. Garson,

                               I apologize I did not see your previous email.

                               The FL Student Assistance Grant and UF Undergraduate grant are not federal but these two awards are need-based
                               awards and eligibility is determined from information provided on the FAFSA. In order to receive these awards we must have
                               an error-free FAFSA and the student must show need on their federal need analysis report.

                               I hope this addresses your concerns.

                               Let me know if you have any further questions.

                               Regards,

                               Marie Guerra Rosado
                               Student Financial Aid and Scholarships
                               Division of Enrollment Management


                               --------------- Original Message ---------------
                               From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                               Sent: 8/14/2023, 4:10 PM
                               To: chris.garson@exlsolutions.net
                               Cc: jiwon.byungarson@ufl.edu
                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                               Mr. Garson,

                               Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free
                               FAFSA. Once we receive the final confirmation for your daughter's citizenship status we will be able to determine her
                               eligibility for the FSAG award.

                               You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me from
                               OSFA.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                          79/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 110 of 146               ]

                               Please let me know if you have any further questions.

                               Regards,

                               Marie Guerra Rosado
                               Student Financial Aid and Scholarships
                               Division of Enrollment Management


                               --------------- Original Message ---------------
                               From: Chris Garson [chris.garson@exlsolutions.net]
                               Sent: 8/14/2023, 3:42 PM
                               To: sfa-help@mail.ufl.edu
                               Cc: jiwon.byungarson@ufl.edu
                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                               [External Email]
                               [External Email]
                               Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student
                               Assistance Grant. Residency is only required and follows the same rules as Bright Futures.

                               Why is this not approvable?




                               Thanks,
                               Chris



                               On Mon, Aug 14, 2023 at 3:26 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                Marie,

                                 The FL State Assistance Grant and UF Undergraduate grant are not federal. You previously stated that FL aid was state-
                                 specific and FL residency was the requirement—and that it has been approved.

                                 Can you explain why these are different and tied to the federal awards when they are not related to the federal regulations
                                 in any way?

                                 Thanks,
                                 Chris




                                 On Mon, Aug 14, 2023 at 3:23 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                  Mr. Garson,

                                   I confirmed that all awards except the Bright Futures award and the Welcome Grant are on hold until we complete the
                                   citizenship review.

                                   Let me know if you have any further questions.

                                   Marie Guerra Rosado
                                   Student Financial Aid and Scholarships
                                   Division of Enrollment Management


                                   --------------- Original Message ---------------
                                   From: Chris Garson [chris.garson@exlsolutions.net]
                                   Sent: 8/14/2023, 2:31 PM
                                   To: sfa-help@mail.ufl.edu
                                   Cc: jiwon.byungarson@ufl.edu
                                   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                     80/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 111 of 146               ]
                                   [External Email]
                                   [External Email]
                                   Thanks. She will do the release now.

                                   The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

                                   Can you confirm that the following items are approved? They are all FL or UF.

                                       1. FL Student Assistance Grant
                                       2. FL Academic Scholars Award (Bright Futures)
                                       3. UF Undergraduate Grant
                                       4. UF Welcome Grant

                                   Thanks,
                                   Chris




                                   On Mon, Aug 14, 2023 at 2:27 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                   wrote:
                                     Mr. Garson,

                                     Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit the
                                     student's information to determine if DHS can verify citizenship. I have not received a response back yet but as soon
                                     as I have more information I will reach out to you.

                                     As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the other
                                     aid she was awarded is still pending final confirmation of her citizenship status. I noticed that your daughter has not
                                     set up her student authorizations to release financial information yet.

                                     Can you please have her update this information and include you on the form so I can discuss the details of her
                                     financial aid awards with you?

                                     I have included the instructions on how to set up the student authorizations form.

                                     Let me know if you have any further questions.

                                     Marie Guerra Rosado
                                     Student Financial Aid and Scholarships
                                     Division of Enrollment Management


                                     --------------- Original Message ---------------
                                     From: Chris Garson [chris.garson@exlsolutions.net]
                                     Sent: 8/14/2023, 11:58 AM
                                     To: sfa-help@mail.ufl.edu
                                     Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                     [External Email]
                                     [External Email]
                                     Marie,

                                     Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you
                                     get anything back on it instantly—or did it immediately move to 2nd stage?

                                     Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid
                                     approved?

                                     Thanks,
                                     Chris



                                     On Wed, Aug 09, 2023 at 11:01 AM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                      Marie,

                                       She was recently approved for Special Immigrant Juvenile Status (SIJS) on July 28th, which is not VAWA but it is
                                       somewhat related conceptually (it uses the same application form). This is completely separate from, and is not
                                       affected by, her concurrent Adjustment of Status application based on an I-130. The VAWA specifically,
                                       however, is completely incorrect. They must have not looked at the specific details before responding.

                                       As shown to you both by the receipt notice and the fact that you can still check the I-485 on the USCIS website as
                                       pending, she has a pending I-485 which makes her eligible by itself. Can you not use the confirmed pending 485
                                       as evidence of this? You can check this easily on the USCIS website yourself.

                                       When submitting the third-step request, it is important to specify exactly what you are attempting to verify (i.e, that
                                       she has a pending I-485). I'm not sure what you wrote originally, but this could have caused confusion.

                                       Please let me know as soon as possible.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                          81/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 112 of 146               ]
                                       Thanks,
                                       Chris




                                       On Wed, Aug 09, 2023 at 10:47 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                       help@mail.ufl.edu> wrote:
                                         Mr. Garson,

                                         Yes, the response was returned but it was a completely different status. The SAVE Response received is VAWA
                                         Self-Petitioner but the VAWA Status is that your daughter is not the self-petitioner.

                                         Please allow me a few days to research this new status to determine if we can approve your daughter for federal
                                         aid based on the documentation we have received.

                                         If you have any documentation from DHS about the VAWA status you can send me a copy and I will review it
                                         immediately.

                                         Let me know if you have any questions.

                                         Regards,

                                         Marie Guerra Rosado
                                         Student Financial Aid and Scholarships
                                         Division of Enrollment Management


                                         --------------- Original Message ---------------
                                         From: Chris Garson [chris.garson@exlsolutions.net]
                                         Sent: 8/8/2023, 10:33 PM
                                         To: sfa-help@mail.ufl.edu
                                         Cc: jiwon.byungarson@ufl.edu
                                         Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                         [External Email]
                                         [External Email]
                                         Marie,

                                         SAVE is now reporting that the request has been returned. Can you verify?

                                         Thanks,
                                         Chris



                                         On Tue, Aug 08, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                         help@mail.ufl.edu> wrote:
                                           Mr. Garson,

                                           I apologize for my delayed response. Thank you for this information. I will include this document with your
                                           case. I will continue to monitor your daughter's DHS case. I am hoping we will receive an update soon.

                                           If you have any questions please do not hesitate to reach out to me.

                                           Regards,

                                           Marie Guerra Rosado
                                           Student Financial Aid and Scholarships
                                           Division of Enrollment Management


                                           --------------- Original Message ---------------
                                           From: Chris Garson [chris.garson@exlsolutions.net]
                                           Sent: 8/2/2023, 4:04 PM
                                           To: sfa-help@mail.ufl.edu
                                           Cc: jiwon.byungarson@ufl.edu
                                           Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                           [External Email]
                                           [External Email]
                                           Marie,

                                           Thank you again for your call today and the information; it was very helpful.

                                           It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to
                                           enter the receipt number on the I-485 receipt that we sent you (IOE0915492398) into the USCIS/DHS case
                                           status check on the website here: https://egov.uscis.gov/

                                           This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time
                                           you run the check.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                         82/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 113 of 146               ]




                                           I may renew this assertion later, but I thought it may be an idea.

                                           Thanks,
                                           Chris



                                           On Mon, Jul 31, 2023 at 5:14 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                            Thank you for the update. We will wait to hear from you.

                                             Please feel free to contact me at (904) 402-2026 if you have any follow-up questions.

                                             Thanks,
                                             Chris




                                             On Fri, Jul 28, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                             help@mail.ufl.edu> wrote:
                                               Mr. Garson,

                                               I have notified my supervisors about your concerns and they are researching your case.

                                               As soon as I have more information I will contact you.

                                               Regards,

                                               Marie Guerra Rosado
                                               Student Financial Aid and Scholarships
                                               Division of Enrollment Management


                                               --------------- Original Message ---------------
                                               From: Chris Garson [chris.garson@exlsolutions.net]
                                               Sent: 7/28/2023, 9:24 AM
                                               To: sfa-help@mail.ufl.edu
                                               Cc: jiwon.byungarson@ufl.edu
                                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                               [External Email]
                                               [External Email]
                                               Hi Marie,

                                               Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34 CFR §
                                               668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose with the
                                               intention of becoming a citizen or permanent resident" are eligible for federal aid.

                                               The pending I-485 shows that she has a pending application for permanent residency and that is
                                               fully compliant with the SAVE response you received. Please let me know why the SAVE response is
                                               incompatible with this federal regulation that clearly makes her eligible for Title IV aid.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                  83/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 114 of 146               ]
                                               Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application for
                                               permanent residency) is an instrument that allows a person to be paroled once returning to the US from a
                                               trip abroad to resume processing of their I-485. The stated parole period upon entry is always 1 year for
                                               those in this category. Based on her EAD, her authorization to use advance parole is valid through
                                               February 2025, meaning that she can leave and return an infinite number of times to be paroled back into
                                               the US for 1 year each time, effectively making her parole period through February 12, 2026.

                                               I previously sent you a document from the University of Southern California that seems to understand this
                                               better. Only those with a pending application for permanent residency can receive an I-512 endorsement
                                               on their EAD, and USC seems to understand that. That's why their citizenship eligibility form makes
                                               specific reference to that endorsement as a valid way to evidence parole for the purposes of Title IV aid. If
                                               you're operating under the same federal regulations, why does USC accept this as valid evidence and
                                               you do not? They will receive the exact same SAVE responses in this case, which, as I noted above, is
                                               fully compatible with 34 CFR § 668.33(a)(2)(ii).

                                               Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                               Again, after speaking with our lawyer and with other schools that operate under the same federal
                                               regulations, we firmly believe that UF is misapplying the law in this case.

                                               Please advise.

                                               Thanks,
                                               Chris Garson



                                               On Fri, Jul 28, 2023 at 8:40 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                               help@mail.ufl.edu> wrote:
                                                 Mr. Garson,

                                                 I am not sure what happened but I did reply to your email on July 6th. Here is my response to your
                                                 email:


                                                                To: chris.garson, Jiwon Iris Byun-Garson                               July 6, 2023 at
                                                                11:14 AM

                                                                Mr. Garson,
                                                                I understand your concerns and want you to know that I will do whatever I can to assist
                                                                you and your daughter with this case.

                                                                Based on the information I received from the SAVE system for DHS, the status provided
                                                                was that "the applicant status was application pending as a non-national of the US that
                                                                has filed an application with USCIS for an extension, change or adjustment of status or to
                                                                obtain employment, but a decision has not yet been made".

                                                                Per our federal regulations, advance parole is not the same parolee status as an
                                                                individual who is paroled in the United States for at least one year [Section 212(d)(5) of
                                                                the Immigration and Nationality Act (INA)]. Therefore, individuals with advance parole
                                                                status are not eligible for Title IV for aid unless they also fall into some other Title IV-
                                                                eligible category (e.g., permanent residents, asylees, or parolees) and can document that
                                                                eligible status.

                                                                If you have any additional documentation that you can provide me that shows a status
                                                                other than advance parolee I can resubmit the forms to SAVE.

                                                                Please let me know how you want to proceed. If you have any additional questions feel
                                                                free to response back to this email or you can call me directly at 352.294.3259

                                                 You are correct, I did resubmit the documentation that was provided to SAVE. Per our federal
                                                 regulations, that was mentioned above, I am unable to approve for your daugther's citizenship status
                                                 without an eligible SAVE response. If you have any additional documentation that you can provide me
                                                 that shows a status other than advance parolee, please send me a copy and I will review it immediately.

                                                 Marie Guerra Rosado
                                                 Student Financial Aid and Scholarships
                                                 Division of Enrollment Management


                                                 --------------- Original Message ---------------
                                                 From: Chris Garson [chris.garson@exlsolutions.net]
                                                 Sent: 7/28/2023, 7:00 AM
                                                 To: jiwon.byungarson@ufl.edu; sfa-help@mail.ufl.edu
                                                 Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                                 [External Email]
                                                 [External Email]
                                                 Hi Marie,



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                      84/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 115 of 146               ]
                                                 I hope you've been well. Although we have not received a response from you, I see that on July 6th (the
                                                 day after I sent the previous email) , the DHS SAVE case was reopened, presumably because you
                                                 submitted a third step request. As of this email on July 28th, the case is still pending.




                                                 According to the "SAVE System Instructions for US Department of Education (School) Users" guide, the
                                                 maximum time the school is to wait is 15 business days. These 15 business days expired yesterday
                                                 July 27th. After this time, the school is to make a decision based on the documentation submitted and
                                                 to not follow up with the SAVE case further. Please see the excerpt cited below for further detail.




                                                 Source: https://fsapartners.ed.gov/sites/default/files/attachments/2019-11/SAVEInstruction
                                                 s30Final.pdf (page 30)

                                                 Linking source: https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2019-10-
                                                 16/save-instructions-us-department-education-school-users-version-30-available-updated-sept-9-2022

                                                 Please advise as soon as possible if you will follow these directives from the Department of Education,
                                                 such that we can ensure this is resolved before the term begins. Please also refer to my previous email
                                                 regarding the legal basis for her eligibility.

                                                 Thank you,
                                                 Chris Garson



                                                 On Wed, Jul 05, 2023 at 1:54 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                                  Hi Marie,

                                                   Thank you for the update. Jiwon forwarded your email to me; I'm responding as the father of Jiwon
                                                   Byun-Garson.

                                                   We have spoken to the Department of Education, the Department of Homeland Security, and our
                                                   immigration lawyer prior to submitting this, and all three have confirmed that her status (parolee) is
                                                   eligible for aid. Here is the legal basis for this.

                                                   First, the Department of Education's Federal Aid Student Handbook states the basis for my eligibility
                                                   as one of the eligible non-citizen categories:



                                                   Source: https://fsapartners.ed.gov/knowledge-center/fsa-handbook/2022-2023/vol1/ch2-us-
                                                   citizenship-eligible-noncitizens

                                                   Her evidence of parole status is indicated on my I-766 (Employment Authorization) with the
                                                   endorsement of "I-512 ADVANCE PROLE". Additionally, I have a pending I-485 and submitted the
                                                   applicable I-797C to evidence this. This card is valid for 2 years, meeting the 1 year parole
                                                   requirement along with a pending I-485 (showing clear intent to become a permanent resident).
                                                   These factors meet the eligible category of "Persons paroled into the US for at least one year" in
                                                   accordance with the above.

                                                   You can also see, for example, on the USC citizen verification form (linked below) that the
                                                   "Employment Authorization with the notation of 'Serves as I-512 Advance Parole'" is clearly eligible
                                                   for federal aid under the "Person Paroled into the US for at least one year" category.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        85/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 116 of 146               ]
                                                   Even though this is a different university, the federal rules still apply country-wide.

                                                   Source: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                                   Second, the source of the parolee with a pending I-485 aid eligibility stems from Title 34 of the
                                                   Federal Regulations.

                                                   34 CFR § 668.33(a)(2)(ii) states that persons "in the United States for other than a temporary
                                                   purpose with the intention of becoming a citizen or permanent resident" are eligible for federal aid.
                                                   The pending I-485 shows that she has a pending application for permanent residency.




                                                   Source: https://www.ecfr.gov/current/title-34/subtitle-B/chapter-VI/part-668/subpart-C/section-668.33


                                                   Third, the Department of Education, through the FAFSA process, has verified her eligibility with
                                                   USCIS/DHS shown below. The date matches the date we submitted her FAFSA application. You
                                                   indicated that you attempted to verify this yourself, but there is no record with DHS/USCIS that you
                                                   (the school) attempted to do so after this date. All requests for verification with DHS are stored in the
                                                   SAVE system. Her FAFSA shows that her status has been verified.




                                                   ** Please clarify your legal basis for denying her aid that the DOE, DHS, Federal Regulations, and
                                                   other schools clearly indicate she is eligible for. This may not be a situation you handle on a regular
                                                   basis, so please review the legal basis above and let me know how we can appeal this
                                                   determination. We can have our lawyer speak with your legal team if needed.

                                                   The Federal Aid Student Handbook indicates that you may need to submit a third-level SAVE request
                                                   to get the correct determination.

                                                   Please let us know as soon as possible so we can resolve before the term begins.

                                                   Regards,
                                                   Chris Garson




                                                   On Wed, Jul 05, 2023 at 11:59 AM, Jiwon I. Byun-Garson <jiwon.byungarson@ufl.edu> wrote:
                                                    Sent from my iPhone

                                                     Begin forwarded message:


                                                            From: EM - Office of Student Financial Aid and Scholarships <sfa-
                                                            help@mail.ufl.edu>
                                                            Date: July 5, 2023 at 9:36:04 AM EDT
                                                            To: "Byun-Garson, Jiwon I." <jiwon.byungarson@ufl.edu>
                                                            Subject: 2023-24 Eligible NonCitizenship Determination [
                                                            ref:_00D412ElGo._5001K1FnuoE:ref ]


                                                            ?
                                                 Hello Jiwon,

                                                 We submitted the documentation you gave to us for your eligible non-citizenship status to the
                                                 Department of Homeland Security for their review to see if you are eligible for financial aid.
                                                 Unfortunately, based on their review of the documentation provided, you are not eligible for financial aid
                                                 with your current status. If in the future your status changes, please do not hesitate to reach out to us
                                                 so that we can resubmit and check to see if your new status would qualify.

                                                 While federal funding for your university endeavor, at least with your current immigration status, is not
                                                 available, there are many other options available to you. You can check out our scholarship page to see
                                                 if you qualify for any institutional or outside scholarships: http://www.sfa.ufl.edu/types-of-
                                                 aid/scholarships/

                                                 If you have any questions, please contact the UF OneStop at www.onestop.ufl.edu.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       86/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                 Document
                            Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                    Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                            Determination  Page 117 of 146               ]

                                                      Regards

                                                      Marie Guerra Rosado
                                                      Student Financial Aid and Scholarships
                                                      Division of Enrollment Management

                                                      ref:_00D412ElGo._5001K1FnuoE:ref




    5 attachments
        untitled.
        105K
        untitled.
        144K
        untitled.
        41K
        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K


 EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>                                                        Fri, Aug 25, 2023 at 4:50 PM
 To: "chris.garson@exlsolutions.net" <chris.garson@exlsolutions.net>

   Hello Chris,

   You can respond to this email with attached copies of the documents you listed in your previous email. The documents will be submitted to the
   Department of Homeland Security for review. Our office will follow up with you once the documents are submitted and with the outcome of Jiwon's status
   once received from SAVE.

   Thank you,

   Tracy McMullen
   Student Financial Aid and Scholarships
   Division of Enrollment Management


   --------------- Original Message ---------------
   From: Chris Garson [chris.garson@exlsolutions.net]
   Sent: 8/24/2023, 5:30 PM
   To: sfa-help@mail.ufl.edu
   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

   [External Email]
   [External Email]
   Tracy,

   We would like to submit her parole documentation to you in order to qualify for the "Parolee" eligible status. Based on the requirements listed for this in
   the Federal Student Aid Handbook, this would be:

       1. Her parole stamp
       2. Her parole I-94
       3. I-797 receipt for I-485

   This would appear to be the most clear way to meet the Title IV requirements. What is the best way to get these documents to you so you can submit
   them to both FSA and/or SAVE for additional third-step verification? The first two documents were previously not included, so this is new.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                             87/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                 Document
                           Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                   Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                           Determination  Page 118 of 146               ]
   Please advise.

   Thanks,
   Chris




   On Thu, Aug 24, 2023 at 5:21 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
      Hello Chris,

      Our office recommends that families complete their FAFSA applications with the most accurate information about their bio-demographic
      information. If you decide to update the FAFSA, the comment codes will remain from the previous FAFSA answers. That is because the
      Department of Homeland Security cannot make a secondary match on the identity information provided. As mentioned, the FAFSA must be
      error-free and complete to receive federal student aid, institutional aid (UF Undergraduate Grant), and the Florida Student Assistance Grant
      (FSAG).

      We recommend contacting the Federal Student Aid Ombudsman Group by phone at 1-800-433-3243 or online at https://student.aid.gov/
      feedback-center/ for further guidance.

      Thank you,

      Tracy McMullen
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/23/2023, 4:52 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Tracy,

      We still believe she is an eligible non-citizen per our discussion, but if we concede that she is not for this purpose (which is your position as well),
      changing this on the FAFSA would then make her eligible for the UF Undergraduate Grant, correct? There would be no DHS match in this case,
      therefore making the FAFSA error-free.

      Given where we are with the start of the semester, this may make the most sense for us for the time being.

      Please confirm.

      Thanks,
      Chris



      On Wed, Aug 23 2023 at 16:30, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
       Hello Chris,

       We advise all students and parents to complete their FAFSA application accurately and honestly regarding bio-demographic information,
       dependency status, and financial information. The FAFSA must be error-free and complete to receive federal student aid, institutional aid
       (UF Undergraduate Grant), and the Florida Student Assistance Grant (FSAG).

       The requirement to receive FSAG funding states, “The student must be a Florida resident and a U.S. citizen or eligible non-
       citizen.” FSAG.pdf (floridastudentfinancialaidsg.org)


       Thank you,

       Tracy McMullen
       Student Financial Aid and Scholarships
       Division of Enrollment Management


       --------------- Original Message ---------------
       From: Chris Garson [chris.garson@exlsolutions.net]
       Sent: 8/23/2023, 10:57 AM
       To: sfa-help@mail.ufl.edu
       Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Marie,
https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                             88/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                 Document
                           Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                   Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                           Determination  Page 119 of 146               ]

      I emailed Jennifer & Tracy yesterday, but I thought I should also send to you this way.

      UF's position currently is that the FAFSA has an "error" due to the C-code of a DHS mismatch. If we change the FAFSA to designate Jiwon as neither a
      citizen or eligible non-citizen, DOE will no longer attempt a DHS match/SAVE request at all. And since the FSAG does not require either Title IV
      eligibility or being an eligible non-citizen, having an error-free FAFSA without an attempt of a DHS match at this stage should theoretically make her
      eligible for the FSAG, correct?

      Please let us know so we can get the FAFSA reprocessed with this changed information. We understand this will remove our claim to Title IV eligibility
      at this stage while we explore options with the DOE and legally.

      Thanks again for your help—and for assistance with setting up the meeting yesterday. It was much more efficient than trying to communicate over
      email, but I didn't think to ask this question then.

      Thanks,
      Chris



      On Mon, Aug 21, 2023 at 12:59 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
       Mr. Garson,

        I can definitely check the status again if it changes.

        Regards,

        Marie Guerra Rosado
        Student Financial Aid and Scholarships
        Division of Enrollment Management


        --------------- Original Message ---------------
        From: Chris Garson [chris.garson@exlsolutions.net]
        Sent: 8/21/2023, 12:11 PM
        To: sfa-help@mail.ufl.edu
        Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

        [External Email]
        [External Email]
        Got it. I will talk with SAVE again between now and then, and, if they inform me that it was changed, I will email back to see if you would be willing to
        check it.

        Thanks for your help,
        Chris



        On Mon, Aug 21, 2023 at 12:07 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
         Mr. Garson,

          No, it is no longer showing the SAVE response "VAWA". It now shows the SAVE response "application pending".

          Tomorrow when you and Jiwon arrive please go to the OneStop office located at S-107 Criser Hall. You will be meeting with my supervisor, Jennifer
          Bennett.

          Regards,

          Marie Guerra Rosado
          Student Financial Aid and Scholarships
          Division of Enrollment Management


          --------------- Original Message ---------------
          From: Chris Garson [chris.garson@exlsolutions.net]
          Sent: 8/21/2023, 12:00 PM
          To: sfa-help@mail.ufl.edu
          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

          [External Email]
          [External Email]
          Marie,

          Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still
          showing VAWA under that section?

          Thanks,
          Chris



          On Mon, Aug 21, 2023 at 11:58 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           89/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 120 of 146               ]
            Mr. Garson,

            The SAVE case number is 0023111080901TP that has the SAVE response "Application Pending".

            I will make sure that all the screenshots are available for your review tomorrow.

            Regards,

            Marie Guerra Rosado
            Student Financial Aid and Scholarships
            Division of Enrollment Management


            --------------- Original Message ---------------
            From: Chris Garson [chris.garson@exlsolutions.net]
            Sent: 8/18/2023, 5:20 PM
            To: sfa-help@mail.ufl.edu
            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

            [External Email]
            [External Email]
            Thanks for the update.

            SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were very
            clear that the VAWA response is incorrect and had updated it to show Pending I-485.

            Are you looking at the specific SAVE case 0023111080901TP?

            Please bring the printouts of SAVE with you to the meeting so we can look together.

            Please confirm if you are looking at that specific case, and have a good weekend.

            Chris



            On Fri, Aug 18, 2023 at 5:16 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
             Mr. Garson,

              I apologize for not including the update for the most recent status.

              The SAVE response received was "application pending" again without the I-485. According to the Federal Student Aid Handbook and other
              federal guidance we have received, this response is ineligible status to receive Title IV federal financial aid and the Florida Student Assistance
              Grant.

              I will inform my supervisors that you want to keep the meeting for Tuesday at 12:30pm.

              If you do wish to pursue this matter further, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group
              by phone at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

              Regards,

              Marie Guerra Rosado
              Student Financial Aid and Scholarships
              Division of Enrollment Management


              --------------- Original Message ---------------
              From: Chris Garson [chris.garson@exlsolutions.net]
              Sent: 8/18/2023, 4:38 PM
              To: sfa-help@mail.ufl.edu
              Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

              [External Email]
              [External Email]
              Marie,

              I did not see this email before attempting to contact you, as it went to a different part of my inbox.

              You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous
              times that you required.

              Is this not the correct status that is required?

              We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

              In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you
              have previously confirmed with me.

              Please advise as soon as possible.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                         90/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 121 of 146               ]
              Thanks,
              Chris



              On Fri, Aug 18, 2023 at 4:09 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
               Mr. Garson,

                  I apologize for the delay in my response.

                  I am writing to provide you with a summary of the status of the citizenship status verification related to your daughter’s FAFSA application for
                  the 2023-2024 aid year.

                  The documentation you have provided was submitted to the Department of Homeland Security, and the Systematic Alien Verification for
                  Entitlements (SAVE) responses received, per federal guidelines, are ineligible statuses to receive Title IV federal financial aid and the
                  Florida Student Assistance Grant.

                  Our office has consulted with Federal Student Aid regarding your situation and the Department of Homeland Security SAVE system
                  representatives. The SAVE eligible non-citizen 3rd step verification resulted in an ineligible status twice, based upon federal documentation
                  for eligible statuses. Our office then consulted with Federal Student Aid regarding this status and the verbal information you provided;
                  Federal Student Aid confirmed the initial determination that the documentation received from both you and SAVE cannot result in an eligible
                  status.

                  You have requested a meeting, in person, with our office to discuss the above. Before you make the trip to campus and potentially take
                  yourself away from work or other responsibilities, I wanted to make you aware that we cannot override the determination from the
                  Department of Homeland Security. Unless you have additional documentation to provide, there is nothing else we can do to assist you in
                  eligibility for federal financial aid or state need-based financial aid.

                  We have exhausted all options available through our office. If you still want to discuss this matter in-person, I am willing to meet with you.
                  However, I would only be able to reiterate the above facts and would not be able to help you further.

                  If you wish to pursue this matter, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by phone
                  at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

                  Regards,

                  Marie Guerra Rosado
                  Student Financial Aid and Scholarships
                  Division of Enrollment Management


                  --------------- Original Message ---------------
                  From: Chris Garson [chris.garson@exlsolutions.net]
                  Sent: 8/18/2023, 2:39 PM
                  To: sfa-help@mail.ufl.edu
                  Cc: countess@ufl.edu
                  Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                  [External Email]
                  [External Email]
                  Hi Marie,

                  I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to travel
                  down there for our meeting on Tuesday—or if everything is resolved now.

                  Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again later
                  today.

                  Thanks again for your help on this.

                  Chris



                  On Thu, Aug 17, 2023 at 2:35 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                   Hi Marie,

                    I left you a VM a few minutes ago; sorry I missed you. I just wanted to make sure you got my last email and to get an update on where we
                    are—and if we still need that meeting next week.

                    This has been really stressful for us, and we really would appreciate an update. I'm sure you're swamped with the term starting next week,
                    and I'm really sorry to add to that!

                    Thanks again for your help—and hope to hear from you soon.

                    Thanks,
                    Chris




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                           91/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 122 of 146               ]
                   On Wed, Aug 16, 2023 at 1:44 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                    Marie,

                     I just left you a VM, but I wanted to let you know that I was able to talk with someone at SAVE Case Resolutions & Audits to correct the
                     SAVE response you received on the case 0023111080901TP that had the incorrect VAWA response.

                     They acknowledged that the VAWA response was incorrect and they changed the response to Pending I-485, which is what you
                     indicated was necessary for your purposes.

                     Please call me at 904-402-2026.

                     Thanks,
                     Chris




                     On Tue, Aug 15, 2023 at 3:03 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                      It will be Jiwon and myself. I will attempt to ensure any other relevant parties are available by phone at that time if necessary.

                       Thanks,
                       Chris




                       On Tue, Aug 15, 2023 at 12:53 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                        Mr. Garson,

                         Yes sir, that does work for us.

                         Can you please tell me who all is coming with you so I can make sure we can accommodate everyone?

                         Regards,

                         Marie Guerra Rosado
                         Student Financial Aid and Scholarships
                         Division of Enrollment Management


                         --------------- Original Message ---------------
                         From: Chris Garson [chris.garson@exlsolutions.net]
                         Sent: 8/15/2023, 11:45 AM
                         To: sfa-help@mail.ufl.edu
                         Cc: jiwon.byungarson@ufl.edu
                         Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                         [External Email]
                         [External Email]
                         That's fine. Please confirm if that works.

                         Thanks,
                         Chris



                         On Tue, Aug 15, 2023 at 9:09 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                          Mr. Garson,

                            There is a scheduling conflict, can we meet at 12:30pm on 8/22?

                            Marie Guerra Rosado
                            Student Financial Aid and Scholarships
                            Division of Enrollment Management


                            --------------- Original Message ---------------
                            From: Chris Garson [chris.garson@exlsolutions.net]
                            Sent: 8/14/2023, 5:15 PM
                            To: sfa-help@mail.ufl.edu
                            Cc: jiwon.byungarson@ufl.edu
                            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                            [External Email]
                            [External Email]
                            Thank you for the prompt reply.

                            We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

                            Chris


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                       92/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 123 of 146               ]



                           On Mon, Aug 14, 2023 at 5:12 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                            Mr. Garson,

                             I spoke with my supervisor and the earliest availability is next week. Here are the days and times we can meet:

                             Tuesday 8/22/23 - open all day
                             Wednesday 8/23/23- Anytime before 3:00pm
                             Thursday 8/24/23- Anytime before 2:00pm

                             Please let me know if you would like to have conference call, Zoom meeting, or in person.

                             Regards,

                             Marie Guerra Rosado
                             Student Financial Aid and Scholarships
                             Division of Enrollment Management


                             --------------- Original Message ---------------
                             From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                             Sent: 8/14/2023, 4:24 PM
                             To: chris.garson@exlsolutions.net
                             Cc: jiwon.byungarson@ufl.edu
                             Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                             Mr. Garson,

                             Yes, I will notify my supervisors and get back to you as soon as possible.

                             Regards,

                             Marie Guerra Rosado
                             Student Financial Aid and Scholarships
                             Division of Enrollment Management


                             --------------- Original Message ---------------
                             From: Chris Garson [chris.garson@exlsolutions.net]
                             Sent: 8/14/2023, 4:22 PM
                             To: sfa-help@mail.ufl.edu
                             Cc: jiwon.byungarson@ufl.edu
                             Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                             [External Email]
                             [External Email]
                             Yes, they are need-based awards based on the FAFSA. The FAFSA is what demonstrates the need. However, the fact that
                             you even received the FAFSA data from the DOE indicates that there were no errors in processing. There is nothing listed as
                             an error on her FAFSA when logging in, and the FAFSA shows as fully processed with no errors.

                             I understand the Title IV is a separate matter, but the immigration status for purposes of Title IV has nothing to do with the
                             need demonstrated on the FAFSA. The FAFSA has been fully processed, and you would not have even received it if there
                             were errors on it.

                             Can we schedule a conference with you and your supervisors this week to discuss this and other items? This is not being
                             interpreted correctly.

                             Thanks,
                             Chris



                             On Mon, Aug 14, 2023 at 4:19 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                              Mr. Garson,

                               I apologize I did not see your previous email.

                               The FL Student Assistance Grant and UF Undergraduate grant are not federal but these two awards are need-based
                               awards and eligibility is determined from information provided on the FAFSA. In order to receive these awards we must have
                               an error-free FAFSA and the student must show need on their federal need analysis report.

                               I hope this addresses your concerns.

                               Let me know if you have any further questions.

                               Regards,

                               Marie Guerra Rosado
                               Student Financial Aid and Scholarships
                               Division of Enrollment Management

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                          93/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 124 of 146               ]



                               --------------- Original Message ---------------
                               From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                               Sent: 8/14/2023, 4:10 PM
                               To: chris.garson@exlsolutions.net
                               Cc: jiwon.byungarson@ufl.edu
                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                               Mr. Garson,

                               Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free
                               FAFSA. Once we receive the final confirmation for your daughter's citizenship status we will be able to determine her
                               eligibility for the FSAG award.

                               You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me from
                               OSFA.

                               Please let me know if you have any further questions.

                               Regards,

                               Marie Guerra Rosado
                               Student Financial Aid and Scholarships
                               Division of Enrollment Management


                               --------------- Original Message ---------------
                               From: Chris Garson [chris.garson@exlsolutions.net]
                               Sent: 8/14/2023, 3:42 PM
                               To: sfa-help@mail.ufl.edu
                               Cc: jiwon.byungarson@ufl.edu
                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                               [External Email]
                               [External Email]
                               Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student
                               Assistance Grant. Residency is only required and follows the same rules as Bright Futures.

                               Why is this not approvable?




                               Thanks,
                               Chris



                               On Mon, Aug 14, 2023 at 3:26 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                Marie,

                                 The FL State Assistance Grant and UF Undergraduate grant are not federal. You previously stated that FL aid was state-
                                 specific and FL residency was the requirement—and that it has been approved.

                                 Can you explain why these are different and tied to the federal awards when they are not related to the federal regulations
                                 in any way?

                                 Thanks,
                                 Chris




                                 On Mon, Aug 14, 2023 at 3:23 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                  Mr. Garson,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                     94/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 125 of 146               ]
                                   I confirmed that all awards except the Bright Futures award and the Welcome Grant are on hold until we complete the
                                   citizenship review.

                                   Let me know if you have any further questions.

                                   Marie Guerra Rosado
                                   Student Financial Aid and Scholarships
                                   Division of Enrollment Management


                                   --------------- Original Message ---------------
                                   From: Chris Garson [chris.garson@exlsolutions.net]
                                   Sent: 8/14/2023, 2:31 PM
                                   To: sfa-help@mail.ufl.edu
                                   Cc: jiwon.byungarson@ufl.edu
                                   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                   [External Email]
                                   [External Email]
                                   Thanks. She will do the release now.

                                   The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

                                   Can you confirm that the following items are approved? They are all FL or UF.

                                       1. FL Student Assistance Grant
                                       2. FL Academic Scholars Award (Bright Futures)
                                       3. UF Undergraduate Grant
                                       4. UF Welcome Grant

                                   Thanks,
                                   Chris




                                   On Mon, Aug 14, 2023 at 2:27 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                   wrote:
                                     Mr. Garson,

                                     Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit the
                                     student's information to determine if DHS can verify citizenship. I have not received a response back yet but as soon
                                     as I have more information I will reach out to you.

                                     As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the other
                                     aid she was awarded is still pending final confirmation of her citizenship status. I noticed that your daughter has not
                                     set up her student authorizations to release financial information yet.

                                     Can you please have her update this information and include you on the form so I can discuss the details of her
                                     financial aid awards with you?

                                     I have included the instructions on how to set up the student authorizations form.

                                     Let me know if you have any further questions.

                                     Marie Guerra Rosado
                                     Student Financial Aid and Scholarships
                                     Division of Enrollment Management


                                     --------------- Original Message ---------------
                                     From: Chris Garson [chris.garson@exlsolutions.net]
                                     Sent: 8/14/2023, 11:58 AM
                                     To: sfa-help@mail.ufl.edu
                                     Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                     [External Email]
                                     [External Email]
                                     Marie,

                                     Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did you
                                     get anything back on it instantly—or did it immediately move to 2nd stage?

                                     Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid
                                     approved?

                                     Thanks,
                                     Chris




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                          95/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 126 of 146               ]
                                     On Wed, Aug 09, 2023 at 11:01 AM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                      Marie,

                                       She was recently approved for Special Immigrant Juvenile Status (SIJS) on July 28th, which is not VAWA but it is
                                       somewhat related conceptually (it uses the same application form). This is completely separate from, and is not
                                       affected by, her concurrent Adjustment of Status application based on an I-130. The VAWA specifically,
                                       however, is completely incorrect. They must have not looked at the specific details before responding.

                                       As shown to you both by the receipt notice and the fact that you can still check the I-485 on the USCIS website as
                                       pending, she has a pending I-485 which makes her eligible by itself. Can you not use the confirmed pending 485
                                       as evidence of this? You can check this easily on the USCIS website yourself.

                                       When submitting the third-step request, it is important to specify exactly what you are attempting to verify (i.e, that
                                       she has a pending I-485). I'm not sure what you wrote originally, but this could have caused confusion.

                                       Please let me know as soon as possible.

                                       Thanks,
                                       Chris




                                       On Wed, Aug 09, 2023 at 10:47 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                       help@mail.ufl.edu> wrote:
                                         Mr. Garson,

                                         Yes, the response was returned but it was a completely different status. The SAVE Response received is VAWA
                                         Self-Petitioner but the VAWA Status is that your daughter is not the self-petitioner.

                                         Please allow me a few days to research this new status to determine if we can approve your daughter for federal
                                         aid based on the documentation we have received.

                                         If you have any documentation from DHS about the VAWA status you can send me a copy and I will review it
                                         immediately.

                                         Let me know if you have any questions.

                                         Regards,

                                         Marie Guerra Rosado
                                         Student Financial Aid and Scholarships
                                         Division of Enrollment Management


                                         --------------- Original Message ---------------
                                         From: Chris Garson [chris.garson@exlsolutions.net]
                                         Sent: 8/8/2023, 10:33 PM
                                         To: sfa-help@mail.ufl.edu
                                         Cc: jiwon.byungarson@ufl.edu
                                         Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                         [External Email]
                                         [External Email]
                                         Marie,

                                         SAVE is now reporting that the request has been returned. Can you verify?

                                         Thanks,
                                         Chris



                                         On Tue, Aug 08, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                         help@mail.ufl.edu> wrote:
                                           Mr. Garson,

                                           I apologize for my delayed response. Thank you for this information. I will include this document with your
                                           case. I will continue to monitor your daughter's DHS case. I am hoping we will receive an update soon.

                                           If you have any questions please do not hesitate to reach out to me.

                                           Regards,

                                           Marie Guerra Rosado
                                           Student Financial Aid and Scholarships
                                           Division of Enrollment Management


                                           --------------- Original Message ---------------
                                           From: Chris Garson [chris.garson@exlsolutions.net]

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        96/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 127 of 146               ]
                                           Sent: 8/2/2023, 4:04 PM
                                           To: sfa-help@mail.ufl.edu
                                           Cc: jiwon.byungarson@ufl.edu
                                           Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                           [External Email]
                                           [External Email]
                                           Marie,

                                           Thank you again for your call today and the information; it was very helpful.

                                           It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to
                                           enter the receipt number on the I-485 receipt that we sent you (IOE0915492398) into the USCIS/DHS case
                                           status check on the website here: https://egov.uscis.gov/

                                           This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time
                                           you run the check.




                                           I may renew this assertion later, but I thought it may be an idea.

                                           Thanks,
                                           Chris



                                           On Mon, Jul 31, 2023 at 5:14 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                            Thank you for the update. We will wait to hear from you.

                                             Please feel free to contact me at (904) 402-2026 if you have any follow-up questions.

                                             Thanks,
                                             Chris




                                             On Fri, Jul 28, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                             help@mail.ufl.edu> wrote:
                                               Mr. Garson,

                                               I have notified my supervisors about your concerns and they are researching your case.

                                               As soon as I have more information I will contact you.

                                               Regards,

                                               Marie Guerra Rosado
                                               Student Financial Aid and Scholarships
                                               Division of Enrollment Management


                                               --------------- Original Message ---------------
                                               From: Chris Garson [chris.garson@exlsolutions.net]

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                         97/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 128 of 146               ]
                                               Sent: 7/28/2023, 9:24 AM
                                               To: sfa-help@mail.ufl.edu
                                               Cc: jiwon.byungarson@ufl.edu
                                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                               [External Email]
                                               [External Email]
                                               Hi Marie,

                                               Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34 CFR §
                                               668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose with the
                                               intention of becoming a citizen or permanent resident" are eligible for federal aid.

                                               The pending I-485 shows that she has a pending application for permanent residency and that is
                                               fully compliant with the SAVE response you received. Please let me know why the SAVE response is
                                               incompatible with this federal regulation that clearly makes her eligible for Title IV aid.

                                               Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application for
                                               permanent residency) is an instrument that allows a person to be paroled once returning to the US from a
                                               trip abroad to resume processing of their I-485. The stated parole period upon entry is always 1 year for
                                               those in this category. Based on her EAD, her authorization to use advance parole is valid through
                                               February 2025, meaning that she can leave and return an infinite number of times to be paroled back into
                                               the US for 1 year each time, effectively making her parole period through February 12, 2026.

                                               I previously sent you a document from the University of Southern California that seems to understand this
                                               better. Only those with a pending application for permanent residency can receive an I-512 endorsement
                                               on their EAD, and USC seems to understand that. That's why their citizenship eligibility form makes
                                               specific reference to that endorsement as a valid way to evidence parole for the purposes of Title IV aid. If
                                               you're operating under the same federal regulations, why does USC accept this as valid evidence and
                                               you do not? They will receive the exact same SAVE responses in this case, which, as I noted above, is
                                               fully compatible with 34 CFR § 668.33(a)(2)(ii).

                                               Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                               Again, after speaking with our lawyer and with other schools that operate under the same federal
                                               regulations, we firmly believe that UF is misapplying the law in this case.

                                               Please advise.

                                               Thanks,
                                               Chris Garson



                                               On Fri, Jul 28, 2023 at 8:40 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                               help@mail.ufl.edu> wrote:
                                                 Mr. Garson,

                                                 I am not sure what happened but I did reply to your email on July 6th. Here is my response to your
                                                 email:


                                                                  To: chris.garson, Jiwon Iris Byun-Garson                               July 6, 2023 at
                                                                  11:14 AM

                                                                  Mr. Garson,
                                                                  I understand your concerns and want you to know that I will do whatever I can to assist
                                                                  you and your daughter with this case.

                                                                  Based on the information I received from the SAVE system for DHS, the status provided
                                                                  was that "the applicant status was application pending as a non-national of the US that
                                                                  has filed an application with USCIS for an extension, change or adjustment of status or to
                                                                  obtain employment, but a decision has not yet been made".

                                                                  Per our federal regulations, advance parole is not the same parolee status as an
                                                                  individual who is paroled in the United States for at least one year [Section 212(d)(5) of
                                                                  the Immigration and Nationality Act (INA)]. Therefore, individuals with advance parole
                                                                  status are not eligible for Title IV for aid unless they also fall into some other Title IV-
                                                                  eligible category (e.g., permanent residents, asylees, or parolees) and can document that
                                                                  eligible status.

                                                                  If you have any additional documentation that you can provide me that shows a status
                                                                  other than advance parolee I can resubmit the forms to SAVE.

                                                                  Please let me know how you want to proceed. If you have any additional questions feel
                                                                  free to response back to this email or you can call me directly at 352.294.3259

                                                 You are correct, I did resubmit the documentation that was provided to SAVE. Per our federal
                                                 regulations, that was mentioned above, I am unable to approve for your daugther's citizenship status
                                                 without an eligible SAVE response. If you have any additional documentation that you can provide me
                                                 that shows a status other than advance parolee, please send me a copy and I will review it immediately.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        98/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 129 of 146               ]

                                                 Marie Guerra Rosado
                                                 Student Financial Aid and Scholarships
                                                 Division of Enrollment Management


                                                 --------------- Original Message ---------------
                                                 From: Chris Garson [chris.garson@exlsolutions.net]
                                                 Sent: 7/28/2023, 7:00 AM
                                                 To: jiwon.byungarson@ufl.edu; sfa-help@mail.ufl.edu
                                                 Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                                 [External Email]
                                                 [External Email]
                                                 Hi Marie,

                                                 I hope you've been well. Although we have not received a response from you, I see that on July 6th (the
                                                 day after I sent the previous email) , the DHS SAVE case was reopened, presumably because you
                                                 submitted a third step request. As of this email on July 28th, the case is still pending.




                                                 According to the "SAVE System Instructions for US Department of Education (School) Users" guide, the
                                                 maximum time the school is to wait is 15 business days. These 15 business days expired yesterday
                                                 July 27th. After this time, the school is to make a decision based on the documentation submitted and
                                                 to not follow up with the SAVE case further. Please see the excerpt cited below for further detail.




                                                 Source: https://fsapartners.ed.gov/sites/default/files/attachments/2019-11/SAVEInstructions30Final.pdf (
                                                 page 30)

                                                 Linking source: https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2019-10-
                                                 16/save-instructions-us-department-education-school-users-version-30-available-updated-sept-9-2022

                                                 Please advise as soon as possible if you will follow these directives from the Department of Education,
                                                 such that we can ensure this is resolved before the term begins. Please also refer to my previous email
                                                 regarding the legal basis for her eligibility.

                                                 Thank you,
                                                 Chris Garson



                                                 On Wed, Jul 05, 2023 at 1:54 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                                  Hi Marie,

                                                   Thank you for the update. Jiwon forwarded your email to me; I'm responding as the father of Jiwon
                                                   Byun-Garson.

                                                   We have spoken to the Department of Education, the Department of Homeland Security, and our
                                                   immigration lawyer prior to submitting this, and all three have confirmed that her status (parolee) is
                                                   eligible for aid. Here is the legal basis for this.

                                                   First, the Department of Education's Federal Aid Student Handbook states the basis for my eligibility
                                                   as one of the eligible non-citizen categories:

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                        99/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 130 of 146               ]



                                                   Source: https://fsapartners.ed.gov/knowledge-center/fsa-handbook/2022-2023/vol1/ch2-us-
                                                   citizenship-eligible-noncitizens

                                                   Her evidence of parole status is indicated on my I-766 (Employment Authorization) with the
                                                   endorsement of "I-512 ADVANCE PROLE". Additionally, I have a pending I-485 and submitted the
                                                   applicable I-797C to evidence this. This card is valid for 2 years, meeting the 1 year parole
                                                   requirement along with a pending I-485 (showing clear intent to become a permanent resident).
                                                   These factors meet the eligible category of "Persons paroled into the US for at least one year" in
                                                   accordance with the above.

                                                   You can also see, for example, on the USC citizen verification form (linked below) that the
                                                   "Employment Authorization with the notation of 'Serves as I-512 Advance Parole'" is clearly eligible
                                                   for federal aid under the "Person Paroled into the US for at least one year" category.

                                                   Even though this is a different university, the federal rules still apply country-wide.

                                                   Source: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                                   Second, the source of the parolee with a pending I-485 aid eligibility stems from Title 34 of the
                                                   Federal Regulations.

                                                   34 CFR § 668.33(a)(2)(ii) states that persons "in the United States for other than a temporary
                                                   purpose with the intention of becoming a citizen or permanent resident" are eligible for federal aid.
                                                   The pending I-485 shows that she has a pending application for permanent residency.




                                                   Source: https://www.ecfr.gov/current/title-34/subtitle-B/chapter-VI/part-668/subpart-C/section-668.33


                                                   Third, the Department of Education, through the FAFSA process, has verified her eligibility with
                                                   USCIS/DHS shown below. The date matches the date we submitted her FAFSA application. You
                                                   indicated that you attempted to verify this yourself, but there is no record with DHS/USCIS that you
                                                   (the school) attempted to do so after this date. All requests for verification with DHS are stored in the
                                                   SAVE system. Her FAFSA shows that her status has been verified.




                                                   ** Please clarify your legal basis for denying her aid that the DOE, DHS, Federal Regulations, and
                                                   other schools clearly indicate she is eligible for. This may not be a situation you handle on a regular
                                                   basis, so please review the legal basis above and let me know how we can appeal this
                                                   determination. We can have our lawyer speak with your legal team if needed.

                                                   The Federal Aid Student Handbook indicates that you may need to submit a third-level SAVE request
                                                   to get the correct determination.

                                                   Please let us know as soon as possible so we can resolve before the term begins.

                                                   Regards,
                                                   Chris Garson




                                                   On Wed, Jul 05, 2023 at 11:59 AM, Jiwon I. Byun-Garson <jiwon.byungarson@ufl.edu> wrote:
                                                    Sent from my iPhone

                                                     Begin forwarded message:


                                                            From: EM - Office of Student Financial Aid and Scholarships <sfa-
                                                            help@mail.ufl.edu>
                                                            Date: July 5, 2023 at 9:36:04 AM EDT
                                                            To: "Byun-Garson, Jiwon I." <jiwon.byungarson@ufl.edu>
                                                            Subject: 2023-24 Eligible NonCitizenship Determination [
                                                            ref:_00D412ElGo._5001K1FnuoE:ref ]


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:1774598902119…                     100/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                 Document
                            Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                    Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                            Determination  Page 131 of 146               ]
                                                                ?
                                                     Hello Jiwon,

                                                     We submitted the documentation you gave to us for your eligible non-citizenship status to the
                                                     Department of Homeland Security for their review to see if you are eligible for financial aid.
                                                     Unfortunately, based on their review of the documentation provided, you are not eligible for financial aid
                                                     with your current status. If in the future your status changes, please do not hesitate to reach out to us
                                                     so that we can resubmit and check to see if your new status would qualify.

                                                     While federal funding for your university endeavor, at least with your current immigration status, is not
                                                     available, there are many other options available to you. You can check out our scholarship page to see
                                                     if you qualify for any institutional or outside scholarships: http://www.sfa.ufl.edu/types-of-
                                                     aid/scholarships/

                                                     If you have any questions, please contact the UF OneStop at www.onestop.ufl.edu.

                                                     Regards

                                                     Marie Guerra Rosado
                                                     Student Financial Aid and Scholarships
                                                     Division of Enrollment Management

                                                     ref:_00D412ElGo._5001K1FnuoE:ref




    5 attachments
        untitled.
        105K
        untitled.
        144K
        untitled.
        41K
        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K


 Chris Garson <chris.garson@exlsolutions.net>                                                                                      Tue, Sep 5, 2023 at 11:57 AM
 To: EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>

   Hi Tracy,

   Hope you had a good weekend. Just to confirm, submitting parole docs to SAVE will very likely not change the underlying response of the pending I-485,
   since the pending I-485 trumps a parole status.

   According to the FSA handbook, students claiming parole status WITH an I-797C for a pending I-485 need not submit the documents to SAVE at all.

   Please see the below: [If the student does not submit an I-797C, send their alternative documentation to SAVE.] — To be clear, we are submitting this I-
   797C and have provided it to you.




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:1774598902119…                        101/116
9/7/23, 1:45 AM    Case 1:23-cv-00272-MW-HTC                 Document
                           Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                   Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                           Determination  Page 132 of 146               ]
   Otherwise, please find her parole documents attached with the I-797C.

   Thanks,
   Chris


   On Fri, Aug 25, 2023 at 4:50 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
    Hello Chris,

      You can respond to this email with attached copies of the documents you listed in your previous email. The documents will be submitted to the
      Department of Homeland Security for review. Our office will follow up with you once the documents are submitted and with the outcome of Jiwon's
      status once received from SAVE.

      Thank you,

      Tracy McMullen
      Student Financial Aid and Scholarships
      Division of Enrollment Management


      --------------- Original Message ---------------
      From: Chris Garson [chris.garson@exlsolutions.net]
      Sent: 8/24/2023, 5:30 PM
      To: sfa-help@mail.ufl.edu
      Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

      [External Email]
      [External Email]
      Tracy,

      We would like to submit her parole documentation to you in order to qualify for the "Parolee" eligible status. Based on the requirements listed for this in
      the Federal Student Aid Handbook, this would be:

          1. Her parole stamp
          2. Her parole I-94
          3. I-797 receipt for I-485

      This would appear to be the most clear way to meet the Title IV requirements. What is the best way to get these documents to you so you can submit
      them to both FSA and/or SAVE for additional third-step verification? The first two documents were previously not included, so this is new.

      Please advise.

      Thanks,
      Chris




      On Thu, Aug 24, 2023 at 5:21 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
        Hello Chris,

        Our office recommends that families complete their FAFSA applications with the most accurate information about their bio-demographic
        information. If you decide to update the FAFSA, the comment codes will remain from the previous FAFSA answers. That is because the
        Department of Homeland Security cannot make a secondary match on the identity information provided. As mentioned, the FAFSA must
        be error-free and complete to receive federal student aid, institutional aid (UF Undergraduate Grant), and the Florida Student Assistance
        Grant (FSAG).

        We recommend contacting the Federal Student Aid Ombudsman Group by phone at 1-800-433-3243 or online at
        https://student.aid.gov/feedback-center/ for further guidance.

        Thank you,

        Tracy McMullen
        Student Financial Aid and Scholarships
        Division of Enrollment Management


        --------------- Original Message ---------------
        From: Chris Garson [chris.garson@exlsolutions.net]
        Sent: 8/23/2023, 4:52 PM
        To: sfa-help@mail.ufl.edu
        Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

        [External Email]
        [External Email]
        Tracy,

        We still believe she is an eligible non-citizen per our discussion, but if we concede that she is not for this purpose (which is your position as well),
        changing this on the FAFSA would then make her eligible for the UF Undergraduate Grant, correct? There would be no DHS match in this case,

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:1774598902119…                                102/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 133 of 146               ]
        therefore making the FAFSA error-free.

        Given where we are with the start of the semester, this may make the most sense for us for the time being.

        Please confirm.

        Thanks,
        Chris



        On Wed, Aug 23 2023 at 16:30, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
         Hello Chris,

         We advise all students and parents to complete their FAFSA application accurately and honestly regarding bio-demographic information,
         dependency status, and financial information. The FAFSA must be error-free and complete to receive federal student aid, institutional aid
         (UF Undergraduate Grant), and the Florida Student Assistance Grant (FSAG).

         The requirement to receive FSAG funding states, “The student must be a Florida resident and a U.S. citizen or eligible non-
         citizen.” FSAG.pdf (floridastudentfinancialaidsg.org)


         Thank you,

         Tracy McMullen
         Student Financial Aid and Scholarships
         Division of Enrollment Management


         --------------- Original Message ---------------
         From: Chris Garson [chris.garson@exlsolutions.net]
         Sent: 8/23/2023, 10:57 AM
         To: sfa-help@mail.ufl.edu
         Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

        [External Email]
        [External Email]
        Marie,

        I emailed Jennifer & Tracy yesterday, but I thought I should also send to you this way.

        UF's position currently is that the FAFSA has an "error" due to the C-code of a DHS mismatch. If we change the FAFSA to designate Jiwon as neither
        a citizen or eligible non-citizen, DOE will no longer attempt a DHS match/SAVE request at all. And since the FSAG does not require either Title IV
        eligibility or being an eligible non-citizen, having an error-free FAFSA without an attempt of a DHS match at this stage should theoretically make her
        eligible for the FSAG, correct?

        Please let us know so we can get the FAFSA reprocessed with this changed information. We understand this will remove our claim to Title IV
        eligibility at this stage while we explore options with the DOE and legally.

        Thanks again for your help—and for assistance with setting up the meeting yesterday. It was much more efficient than trying to communicate over
        email, but I didn't think to ask this question then.

        Thanks,
        Chris



        On Mon, Aug 21, 2023 at 12:59 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
         Mr. Garson,

          I can definitely check the status again if it changes.

          Regards,

          Marie Guerra Rosado
          Student Financial Aid and Scholarships
          Division of Enrollment Management


          --------------- Original Message ---------------
          From: Chris Garson [chris.garson@exlsolutions.net]
          Sent: 8/21/2023, 12:11 PM
          To: sfa-help@mail.ufl.edu
          Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

          [External Email]
          [External Email]
          Got it. I will talk with SAVE again between now and then, and, if they inform me that it was changed, I will email back to see if you would be willing
          to check it.

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:1774598902119…                          103/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 134 of 146               ]

          Thanks for your help,
          Chris



          On Mon, Aug 21, 2023 at 12:07 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
           Mr. Garson,

            No, it is no longer showing the SAVE response "VAWA". It now shows the SAVE response "application pending".

            Tomorrow when you and Jiwon arrive please go to the OneStop office located at S-107 Criser Hall. You will be meeting with my supervisor,
            Jennifer Bennett.

            Regards,

            Marie Guerra Rosado
            Student Financial Aid and Scholarships
            Division of Enrollment Management


            --------------- Original Message ---------------
            From: Chris Garson [chris.garson@exlsolutions.net]
            Sent: 8/21/2023, 12:00 PM
            To: sfa-help@mail.ufl.edu
            Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

            [External Email]
            [External Email]
            Marie,

            Thank you for the clarification. That was the case where VAWA was indicated after third-step verification. That is what was corrected. Is it still
            showing VAWA under that section?

            Thanks,
            Chris



            On Mon, Aug 21, 2023 at 11:58 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
             Mr. Garson,

              The SAVE case number is 0023111080901TP that has the SAVE response "Application Pending".

              I will make sure that all the screenshots are available for your review tomorrow.

              Regards,

              Marie Guerra Rosado
              Student Financial Aid and Scholarships
              Division of Enrollment Management


              --------------- Original Message ---------------
              From: Chris Garson [chris.garson@exlsolutions.net]
              Sent: 8/18/2023, 5:20 PM
              To: sfa-help@mail.ufl.edu
              Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

              [External Email]
              [External Email]
              Thanks for the update.

              SAVE informed me that it shows "Pending I-485 - Temporary Employment Authorized". I will verify with them again on Monday, as they were
              very clear that the VAWA response is incorrect and had updated it to show Pending I-485.

              Are you looking at the specific SAVE case 0023111080901TP?

              Please bring the printouts of SAVE with you to the meeting so we can look together.

              Please confirm if you are looking at that specific case, and have a good weekend.

              Chris



              On Fri, Aug 18, 2023 at 5:16 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
               Mr. Garson,

                  I apologize for not including the update for the most recent status.


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:1774598902119…                          104/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 135 of 146               ]
                  The SAVE response received was "application pending" again without the I-485. According to the Federal Student Aid Handbook and other
                  federal guidance we have received, this response is ineligible status to receive Title IV federal financial aid and the Florida Student
                  Assistance Grant.

                  I will inform my supervisors that you want to keep the meeting for Tuesday at 12:30pm.

                  If you do wish to pursue this matter further, the best course of action would be for you to contact the Federal Student Aid Ombudsman
                  Group by phone at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

                  Regards,

                  Marie Guerra Rosado
                  Student Financial Aid and Scholarships
                  Division of Enrollment Management


                  --------------- Original Message ---------------
                  From: Chris Garson [chris.garson@exlsolutions.net]
                  Sent: 8/18/2023, 4:38 PM
                  To: sfa-help@mail.ufl.edu
                  Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                  [External Email]
                  [External Email]
                  Marie,

                  I did not see this email before attempting to contact you, as it went to a different part of my inbox.

                  You have not addressed the fact that the SAVE status has been corrected to "Pending I-485", which is exactly what you told me nemerous
                  times that you required.

                  Is this not the correct status that is required?

                  We still will require the meeting, and we will plan to be there Tuesday at 12:30pm per our last discussion.

                  In the meantime, please provide an update regarding the corrected status. Per federal regulations, she is entitled to aid in this status, as you
                  have previously confirmed with me.

                  Please advise as soon as possible.

                  Thanks,
                  Chris



                  On Fri, Aug 18, 2023 at 4:09 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                   Mr. Garson,

                    I apologize for the delay in my response.

                    I am writing to provide you with a summary of the status of the citizenship status verification related to your daughter’s FAFSA application
                    for the 2023-2024 aid year.

                    The documentation you have provided was submitted to the Department of Homeland Security, and the Systematic Alien Verification for
                    Entitlements (SAVE) responses received, per federal guidelines, are ineligible statuses to receive Title IV federal financial aid and the
                    Florida Student Assistance Grant.

                    Our office has consulted with Federal Student Aid regarding your situation and the Department of Homeland Security SAVE system
                    representatives. The SAVE eligible non-citizen 3rd step verification resulted in an ineligible status twice, based upon federal
                    documentation for eligible statuses. Our office then consulted with Federal Student Aid regarding this status and the verbal information
                    you provided; Federal Student Aid confirmed the initial determination that the documentation received from both you and SAVE cannot
                    result in an eligible status.

                    You have requested a meeting, in person, with our office to discuss the above. Before you make the trip to campus and potentially take
                    yourself away from work or other responsibilities, I wanted to make you aware that we cannot override the determination from the
                    Department of Homeland Security. Unless you have additional documentation to provide, there is nothing else we can do to assist you in
                    eligibility for federal financial aid or state need-based financial aid.

                    We have exhausted all options available through our office. If you still want to discuss this matter in-person, I am willing to meet with you.
                    However, I would only be able to reiterate the above facts and would not be able to help you further.

                    If you wish to pursue this matter, the best course of action would be for you to contact the Federal Student Aid Ombudsman Group by
                    phone at 1-800-433-3243 or online at https://student.aid.gov/feedback-center/ for further guidance.

                    Regards,

                    Marie Guerra Rosado
                    Student Financial Aid and Scholarships
                    Division of Enrollment Management



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:1774598902119…                           105/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 136 of 146               ]
                   --------------- Original Message ---------------
                   From: Chris Garson [chris.garson@exlsolutions.net]
                   Sent: 8/18/2023, 2:39 PM
                   To: sfa-help@mail.ufl.edu
                   Cc: countess@ufl.edu
                   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                   [External Email]
                   [External Email]
                   Hi Marie,

                   I really hate to be a pain as I'm sure you're very busy, but we're trying to plan our week next week and need to know if we still need to
                   travel down there for our meeting on Tuesday—or if everything is resolved now.

                   Could you please acknowledge receipt and give us an update sometime today? My number is 904-402-2026. I will try your office again
                   later today.

                   Thanks again for your help on this.

                   Chris



                   On Thu, Aug 17, 2023 at 2:35 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                    Hi Marie,

                     I left you a VM a few minutes ago; sorry I missed you. I just wanted to make sure you got my last email and to get an update on where
                     we are—and if we still need that meeting next week.

                     This has been really stressful for us, and we really would appreciate an update. I'm sure you're swamped with the term starting next
                     week, and I'm really sorry to add to that!

                     Thanks again for your help—and hope to hear from you soon.

                     Thanks,
                     Chris




                     On Wed, Aug 16, 2023 at 1:44 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                      Marie,

                       I just left you a VM, but I wanted to let you know that I was able to talk with someone at SAVE Case Resolutions & Audits to correct
                       the SAVE response you received on the case 0023111080901TP that had the incorrect VAWA response.

                       They acknowledged that the VAWA response was incorrect and they changed the response to Pending I-485, which is what you
                       indicated was necessary for your purposes.

                       Please call me at 904-402-2026.

                       Thanks,
                       Chris




                       On Tue, Aug 15, 2023 at 3:03 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                        It will be Jiwon and myself. I will attempt to ensure any other relevant parties are available by phone at that time if necessary.

                           Thanks,
                           Chris




                           On Tue, Aug 15, 2023 at 12:53 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                            Mr. Garson,

                               Yes sir, that does work for us.

                               Can you please tell me who all is coming with you so I can make sure we can accommodate everyone?

                               Regards,

                               Marie Guerra Rosado
                               Student Financial Aid and Scholarships
                               Division of Enrollment Management


                               --------------- Original Message ---------------

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:1774598902119…                            106/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 137 of 146               ]
                           From: Chris Garson [chris.garson@exlsolutions.net]
                           Sent: 8/15/2023, 11:45 AM
                           To: sfa-help@mail.ufl.edu
                           Cc: jiwon.byungarson@ufl.edu
                           Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                           [External Email]
                           [External Email]
                           That's fine. Please confirm if that works.

                           Thanks,
                           Chris



                           On Tue, Aug 15, 2023 at 9:09 AM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                            Mr. Garson,

                             There is a scheduling conflict, can we meet at 12:30pm on 8/22?

                             Marie Guerra Rosado
                             Student Financial Aid and Scholarships
                             Division of Enrollment Management


                             --------------- Original Message ---------------
                             From: Chris Garson [chris.garson@exlsolutions.net]
                             Sent: 8/14/2023, 5:15 PM
                             To: sfa-help@mail.ufl.edu
                             Cc: jiwon.byungarson@ufl.edu
                             Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                             [External Email]
                             [External Email]
                             Thank you for the prompt reply.

                             We can be there in person at 1:30pm on 8/22. Please confirm and we'll look forward to seeing you all then.

                             Chris



                             On Mon, Aug 14, 2023 at 5:12 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                              Mr. Garson,

                               I spoke with my supervisor and the earliest availability is next week. Here are the days and times we can meet:

                               Tuesday 8/22/23 - open all day
                               Wednesday 8/23/23- Anytime before 3:00pm
                               Thursday 8/24/23- Anytime before 2:00pm

                               Please let me know if you would like to have conference call, Zoom meeting, or in person.

                               Regards,

                               Marie Guerra Rosado
                               Student Financial Aid and Scholarships
                               Division of Enrollment Management


                               --------------- Original Message ---------------
                               From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                               Sent: 8/14/2023, 4:24 PM
                               To: chris.garson@exlsolutions.net
                               Cc: jiwon.byungarson@ufl.edu
                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                               Mr. Garson,

                               Yes, I will notify my supervisors and get back to you as soon as possible.

                               Regards,

                               Marie Guerra Rosado
                               Student Financial Aid and Scholarships
                               Division of Enrollment Management


                               --------------- Original Message ---------------
                               From: Chris Garson [chris.garson@exlsolutions.net]
                               Sent: 8/14/2023, 4:22 PM

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:1774598902119…                  107/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 138 of 146               ]
                               To: sfa-help@mail.ufl.edu
                               Cc: jiwon.byungarson@ufl.edu
                               Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                               [External Email]
                               [External Email]
                               Yes, they are need-based awards based on the FAFSA. The FAFSA is what demonstrates the need. However, the fact that
                               you even received the FAFSA data from the DOE indicates that there were no errors in processing. There is nothing listed
                               as an error on her FAFSA when logging in, and the FAFSA shows as fully processed with no errors.

                               I understand the Title IV is a separate matter, but the immigration status for purposes of Title IV has nothing to do with the
                               need demonstrated on the FAFSA. The FAFSA has been fully processed, and you would not have even received it if there
                               were errors on it.

                               Can we schedule a conference with you and your supervisors this week to discuss this and other items? This is not being
                               interpreted correctly.

                               Thanks,
                               Chris



                               On Mon, Aug 14, 2023 at 4:19 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu> wrote:
                                Mr. Garson,

                                 I apologize I did not see your previous email.

                                 The FL Student Assistance Grant and UF Undergraduate grant are not federal but these two awards are need-based
                                 awards and eligibility is determined from information provided on the FAFSA. In order to receive these awards we must
                                 have an error-free FAFSA and the student must show need on their federal need analysis report.

                                 I hope this addresses your concerns.

                                 Let me know if you have any further questions.

                                 Regards,

                                 Marie Guerra Rosado
                                 Student Financial Aid and Scholarships
                                 Division of Enrollment Management


                                 --------------- Original Message ---------------
                                 From: EM - Office of Student Financial Aid and Scholarships [sfa-help@mail.ufl.edu]
                                 Sent: 8/14/2023, 4:10 PM
                                 To: chris.garson@exlsolutions.net
                                 Cc: jiwon.byungarson@ufl.edu
                                 Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                 Mr. Garson,

                                 Per Florida Statute, the Florida Student Assistant Grant (FSAG) also requires that the student complete an error-free
                                 FAFSA. Once we receive the final confirmation for your daughter's citizenship status we will be able to determine her
                                 eligibility for the FSAG award.

                                 You can see this requirement in the "Applying for an Award" section of the FSAG section of the fact sheet you sent me
                                 from OSFA.

                                 Please let me know if you have any further questions.

                                 Regards,

                                 Marie Guerra Rosado
                                 Student Financial Aid and Scholarships
                                 Division of Enrollment Management


                                 --------------- Original Message ---------------
                                 From: Chris Garson [chris.garson@exlsolutions.net]
                                 Sent: 8/14/2023, 3:42 PM
                                 To: sfa-help@mail.ufl.edu
                                 Cc: jiwon.byungarson@ufl.edu
                                 Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                 [External Email]
                                 [External Email]
                                 Following up on my last email, please see the eligibility requirements per Florida Statutes regarding the FL Student
                                 Assistance Grant. Residency is only required and follows the same rules as Bright Futures.

                                 Why is this not approvable?


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:1774598902119…                        108/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 139 of 146               ]




                                 Thanks,
                                 Chris



                                 On Mon, Aug 14, 2023 at 3:26 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                  Marie,

                                   The FL State Assistance Grant and UF Undergraduate grant are not federal. You previously stated that FL aid was
                                   state-specific and FL residency was the requirement—and that it has been approved.

                                   Can you explain why these are different and tied to the federal awards when they are not related to the federal
                                   regulations in any way?

                                   Thanks,
                                   Chris




                                   On Mon, Aug 14, 2023 at 3:23 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                   wrote:
                                     Mr. Garson,

                                     I confirmed that all awards except the Bright Futures award and the Welcome Grant are on hold until we complete the
                                     citizenship review.

                                     Let me know if you have any further questions.

                                     Marie Guerra Rosado
                                     Student Financial Aid and Scholarships
                                     Division of Enrollment Management


                                     --------------- Original Message ---------------
                                     From: Chris Garson [chris.garson@exlsolutions.net]
                                     Sent: 8/14/2023, 2:31 PM
                                     To: sfa-help@mail.ufl.edu
                                     Cc: jiwon.byungarson@ufl.edu
                                     Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                     [External Email]
                                     [External Email]
                                     Thanks. She will do the release now.

                                     The only federal aid she has listed is her Pell Grant, the Pell Grant supplement, and Federal Work/Study.

                                     Can you confirm that the following items are approved? They are all FL or UF.

                                           1. FL Student Assistance Grant
                                           2. FL Academic Scholars Award (Bright Futures)
                                           3. UF Undergraduate Grant
                                           4. UF Welcome Grant

                                     Thanks,
                                     Chris




                                     On Mon, Aug 14, 2023 at 2:27 PM, EM - Office of Student Financial Aid and Scholarships <sfa-help@mail.ufl.edu>
                                     wrote:
                                       Mr. Garson,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:1774598902119…                  109/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 140 of 146               ]
                                       Currently, I am waiting for the DOE to finish the verification checks that occur when we request that they resubmit
                                       the student's information to determine if DHS can verify citizenship. I have not received a response back yet but as
                                       soon as I have more information I will reach out to you.

                                       As for the aid your daughter is eligible for, the only aid she is approved for is her Bright Futures award. All of the
                                       other aid she was awarded is still pending final confirmation of her citizenship status. I noticed that your daughter
                                       has not set up her student authorizations to release financial information yet.

                                       Can you please have her update this information and include you on the form so I can discuss the details of her
                                       financial aid awards with you?

                                       I have included the instructions on how to set up the student authorizations form.

                                       Let me know if you have any further questions.

                                       Marie Guerra Rosado
                                       Student Financial Aid and Scholarships
                                       Division of Enrollment Management


                                       --------------- Original Message ---------------
                                       From: Chris Garson [chris.garson@exlsolutions.net]
                                       Sent: 8/14/2023, 11:58 AM
                                       To: sfa-help@mail.ufl.edu
                                       Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                       [External Email]
                                       [External Email]
                                       Marie,

                                       Hope you had a good weekend. I see that you submitted the additional SAVE request and that it's in review. Did
                                       you get anything back on it instantly—or did it immediately move to 2nd stage?

                                       Also, can you confirm that the only aid not yet approved is the Pell Grant & supplement? Is all of her other aid
                                       approved?

                                       Thanks,
                                       Chris



                                       On Wed, Aug 09, 2023 at 11:01 AM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                        Marie,

                                         She was recently approved for Special Immigrant Juvenile Status (SIJS) on July 28th, which is not VAWA but it is
                                         somewhat related conceptually (it uses the same application form). This is completely separate from, and is
                                         not affected by, her concurrent Adjustment of Status application based on an I-130. The VAWA specifically,
                                         however, is completely incorrect. They must have not looked at the specific details before responding.

                                         As shown to you both by the receipt notice and the fact that you can still check the I-485 on the USCIS website
                                         as pending, she has a pending I-485 which makes her eligible by itself. Can you not use the confirmed pending
                                         485 as evidence of this? You can check this easily on the USCIS website yourself.

                                         When submitting the third-step request, it is important to specify exactly what you are attempting to verify (i.e,
                                         that she has a pending I-485). I'm not sure what you wrote originally, but this could have caused confusion.

                                         Please let me know as soon as possible.

                                         Thanks,
                                         Chris




                                         On Wed, Aug 09, 2023 at 10:47 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                         help@mail.ufl.edu> wrote:
                                           Mr. Garson,

                                           Yes, the response was returned but it was a completely different status. The SAVE Response received is
                                           VAWA Self-Petitioner but the VAWA Status is that your daughter is not the self-petitioner.

                                           Please allow me a few days to research this new status to determine if we can approve your daughter for
                                           federal aid based on the documentation we have received.

                                           If you have any documentation from DHS about the VAWA status you can send me a copy and I will review it
                                           immediately.

                                           Let me know if you have any questions.

                                           Regards,


https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194… 110/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 141 of 146               ]
                                           Marie Guerra Rosado
                                           Student Financial Aid and Scholarships
                                           Division of Enrollment Management


                                           --------------- Original Message ---------------
                                           From: Chris Garson [chris.garson@exlsolutions.net]
                                           Sent: 8/8/2023, 10:33 PM
                                           To: sfa-help@mail.ufl.edu
                                           Cc: jiwon.byungarson@ufl.edu
                                           Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                           [External Email]
                                           [External Email]
                                           Marie,

                                           SAVE is now reporting that the request has been returned. Can you verify?

                                           Thanks,
                                           Chris



                                           On Tue, Aug 08, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                           help@mail.ufl.edu> wrote:
                                             Mr. Garson,

                                             I apologize for my delayed response. Thank you for this information. I will include this document with your
                                             case. I will continue to monitor your daughter's DHS case. I am hoping we will receive an update soon.

                                             If you have any questions please do not hesitate to reach out to me.

                                             Regards,

                                             Marie Guerra Rosado
                                             Student Financial Aid and Scholarships
                                             Division of Enrollment Management


                                             --------------- Original Message ---------------
                                             From: Chris Garson [chris.garson@exlsolutions.net]
                                             Sent: 8/2/2023, 4:04 PM
                                             To: sfa-help@mail.ufl.edu
                                             Cc: jiwon.byungarson@ufl.edu
                                             Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                             [External Email]
                                             [External Email]
                                             Marie,

                                             Thank you again for your call today and the information; it was very helpful.

                                             It may not matter, but one other thing you can do to independently verify that the I-485 is still pending is to
                                             enter the receipt number on the I-485 receipt that we sent you (IOE0915492398) into the USCIS/DHS case
                                             status check on the website here: https://egov.uscis.gov/

                                             This will show you the below, which indicates directly from DHS that the I-485 is pending as of the date/time
                                             you run the check.




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194…                     111/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 142 of 146               ]




                                             I may renew this assertion later, but I thought it may be an idea.

                                             Thanks,
                                             Chris



                                             On Mon, Jul 31, 2023 at 5:14 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                              Thank you for the update. We will wait to hear from you.

                                               Please feel free to contact me at (904) 402-2026 if you have any follow-up questions.

                                               Thanks,
                                               Chris




                                               On Fri, Jul 28, 2023 at 11:32 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                               help@mail.ufl.edu> wrote:
                                                 Mr. Garson,

                                                 I have notified my supervisors about your concerns and they are researching your case.

                                                 As soon as I have more information I will contact you.

                                                 Regards,

                                                 Marie Guerra Rosado
                                                 Student Financial Aid and Scholarships
                                                 Division of Enrollment Management


                                                 --------------- Original Message ---------------
                                                 From: Chris Garson [chris.garson@exlsolutions.net]
                                                 Sent: 7/28/2023, 9:24 AM
                                                 To: sfa-help@mail.ufl.edu
                                                 Cc: jiwon.byungarson@ufl.edu
                                                 Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                                 [External Email]
                                                 [External Email]
                                                 Hi Marie,

                                                 Thank you; I'm not sure why neither of us received your email. However, I'd like to refer you to 34
                                                 CFR § 668.33(a)(2)(ii) states that persons "in the United States for other than a temporary purpose with
                                                 the intention of becoming a citizen or permanent resident" are eligible for federal aid.

                                                 The pending I-485 shows that she has a pending application for permanent residency and that is
                                                 fully compliant with the SAVE response you received. Please let me know why the SAVE response is
                                                 incompatible with this federal regulation that clearly makes her eligible for Title IV aid.

                                                 Please also note that I-512 advance parole for the purposes of those with a pending I-485 (application
                                                 for permanent residency) is an instrument that allows a person to be paroled once returning to the US
https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194… 112/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 143 of 146               ]
                                                 from a trip abroad to resume processing of their I-485. The stated parole period upon entry is always 1
                                                 year for those in this category. Based on her EAD, her authorization to use advance parole is valid
                                                 through February 2025, meaning that she can leave and return an infinite number of times to be
                                                 paroled back into the US for 1 year each time, effectively making her parole period through February
                                                 12, 2026.

                                                 I previously sent you a document from the University of Southern California that seems to understand
                                                 this better. Only those with a pending application for permanent residency can receive an I-512
                                                 endorsement on their EAD, and USC seems to understand that. That's why their citizenship eligibility
                                                 form makes specific reference to that endorsement as a valid way to evidence parole for the purposes
                                                 of Title IV aid. If you're operating under the same federal regulations, why does USC accept this as
                                                 valid evidence and you do not? They will receive the exact same SAVE responses in this case, which,
                                                 as I noted above, is fully compatible with 34 CFR § 668.33(a)(2)(ii).

                                                 Please review this document: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                                 Again, after speaking with our lawyer and with other schools that operate under the same federal
                                                 regulations, we firmly believe that UF is misapplying the law in this case.

                                                 Please advise.

                                                 Thanks,
                                                 Chris Garson



                                                 On Fri, Jul 28, 2023 at 8:40 AM, EM - Office of Student Financial Aid and Scholarships <sfa-
                                                 help@mail.ufl.edu> wrote:
                                                   Mr. Garson,

                                                   I am not sure what happened but I did reply to your email on July 6th. Here is my response to your
                                                   email:


                                                                  To: chris.garson, Jiwon Iris Byun-Garson                                 July 6, 2023 at
                                                                  11:14 AM

                                                                  Mr. Garson,
                                                                  I understand your concerns and want you to know that I will do whatever I can to assist
                                                                  you and your daughter with this case.

                                                                  Based on the information I received from the SAVE system for DHS, the status
                                                                  provided was that "the applicant status was application pending as a non-national of
                                                                  the US that has filed an application with USCIS for an extension, change or adjustment
                                                                  of status or to obtain employment, but a decision has not yet been made".

                                                                  Per our federal regulations, advance parole is not the same parolee status as an
                                                                  individual who is paroled in the United States for at least one year [Section 212(d)(5) of
                                                                  the Immigration and Nationality Act (INA)]. Therefore, individuals with advance parole
                                                                  status are not eligible for Title IV for aid unless they also fall into some other Title IV-
                                                                  eligible category (e.g., permanent residents, asylees, or parolees) and can document
                                                                  that eligible status.

                                                                  If you have any additional documentation that you can provide me that shows a status
                                                                  other than advance parolee I can resubmit the forms to SAVE.

                                                                  Please let me know how you want to proceed. If you have any additional questions feel
                                                                  free to response back to this email or you can call me directly at 352.294.3259

                                                   You are correct, I did resubmit the documentation that was provided to SAVE. Per our federal
                                                   regulations, that was mentioned above, I am unable to approve for your daugther's citizenship status
                                                   without an eligible SAVE response. If you have any additional documentation that you can provide
                                                   me that shows a status other than advance parolee, please send me a copy and I will review it
                                                   immediately.

                                                   Marie Guerra Rosado
                                                   Student Financial Aid and Scholarships
                                                   Division of Enrollment Management


                                                   --------------- Original Message ---------------
                                                   From: Chris Garson [chris.garson@exlsolutions.net]
                                                   Sent: 7/28/2023, 7:00 AM
                                                   To: jiwon.byungarson@ufl.edu; sfa-help@mail.ufl.edu
                                                   Subject: Re: 2023-24 Eligible NonCitizenship Determination [ ref:_00D412ElGo._5001K1FnuoE:ref ]

                                                   [External Email]
                                                   [External Email]
                                                   Hi Marie,



https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194… 113/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 144 of 146               ]
                                                   I hope you've been well. Although we have not received a response from you, I see that on July
                                                   6th (the day after I sent the previous email) , the DHS SAVE case was reopened, presumably
                                                   because you submitted a third step request. As of this email on July 28th, the case is still pending.




                                                   According to the "SAVE System Instructions for US Department of Education (School) Users" guide,
                                                   the maximum time the school is to wait is 15 business days. These 15 business days expired
                                                   yesterday July 27th. After this time, the school is to make a decision based on the documentation
                                                   submitted and to not follow up with the SAVE case further. Please see the excerpt cited below for
                                                   further detail.




                                                   Source: https://fsapartners.ed.gov/sites/default/files/attachments/2019-11/SAVEInstruction
                                                   s30Final.pdf (page 30)

                                                   Linking source: https://fsapartners.ed.gov/knowledge-center/library/electronic-announcements/2019-
                                                   10-16/save-instructions-us-department-education-school-users-version-30-available-updated-sept-9-
                                                   2022

                                                   Please advise as soon as possible if you will follow these directives from the Department of
                                                   Education, such that we can ensure this is resolved before the term begins. Please also refer to my
                                                   previous email regarding the legal basis for her eligibility.

                                                   Thank you,
                                                   Chris Garson



                                                   On Wed, Jul 05, 2023 at 1:54 PM, Chris Garson <chris.garson@exlsolutions.net> wrote:
                                                    Hi Marie,

                                                     Thank you for the update. Jiwon forwarded your email to me; I'm responding as the father of Jiwon
                                                     Byun-Garson.

                                                     We have spoken to the Department of Education, the Department of Homeland Security, and our
                                                     immigration lawyer prior to submitting this, and all three have confirmed that her status (parolee) is
                                                     eligible for aid. Here is the legal basis for this.

                                                     First, the Department of Education's Federal Aid Student Handbook states the basis for my
                                                     eligibility as one of the eligible non-citizen categories:



                                                     Source: https://fsapartners.ed.gov/knowledge-center/fsa-handbook/2022-2023/vol1/ch2-us-
                                                     citizenship-eligible-noncitizens

                                                     Her evidence of parole status is indicated on my I-766 (Employment Authorization) with the
                                                     endorsement of "I-512 ADVANCE PROLE". Additionally, I have a pending I-485 and submitted the
                                                     applicable I-797C to evidence this. This card is valid for 2 years, meeting the 1 year parole
                                                     requirement along with a pending I-485 (showing clear intent to become a permanent resident).
                                                     These factors meet the eligible category of "Persons paroled into the US for at least one year" in
                                                     accordance with the above.

                                                     You can also see, for example, on the USC citizen verification form (linked below) that the
                                                     "Employment Authorization with the notation of 'Serves as I-512 Advance Parole'" is clearly eligible
https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194… 114/116
9/7/23, 1:45 AM   Case 1:23-cv-00272-MW-HTC                 Document
                          Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                  Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                          Determination  Page 145 of 146               ]
                                                     for federal aid under the "Person Paroled into the US for at least one year" category.

                                                     Even though this is a different university, the federal rules still apply country-wide.

                                                     Source: https://financialaid.usc.edu/docs/NCIT.S.pdf

                                                     Second, the source of the parolee with a pending I-485 aid eligibility stems from Title 34 of the
                                                     Federal Regulations.

                                                     34 CFR § 668.33(a)(2)(ii) states that persons "in the United States for other than a temporary
                                                     purpose with the intention of becoming a citizen or permanent resident" are eligible for federal aid.
                                                     The pending I-485 shows that she has a pending application for permanent residency.




                                                     Source: https://www.ecfr.gov/current/title-34/subtitle-B/chapter-VI/part-668/subpart-C/section-
                                                     668.33


                                                     Third, the Department of Education, through the FAFSA process, has verified her eligibility with
                                                     USCIS/DHS shown below. The date matches the date we submitted her FAFSA application. You
                                                     indicated that you attempted to verify this yourself, but there is no record with DHS/USCIS that you
                                                     (the school) attempted to do so after this date. All requests for verification with DHS are stored in
                                                     the SAVE system. Her FAFSA shows that her status has been verified.




                                                     ** Please clarify your legal basis for denying her aid that the DOE, DHS, Federal Regulations, and
                                                     other schools clearly indicate she is eligible for. This may not be a situation you handle on a regular
                                                     basis, so please review the legal basis above and let me know how we can appeal this
                                                     determination. We can have our lawyer speak with your legal team if needed.

                                                     The Federal Aid Student Handbook indicates that you may need to submit a third-level SAVE
                                                     request to get the correct determination.

                                                     Please let us know as soon as possible so we can resolve before the term begins.

                                                     Regards,
                                                     Chris Garson




                                                     On Wed, Jul 05, 2023 at 11:59 AM, Jiwon I. Byun-Garson <jiwon.byungarson@ufl.edu> wrote:
                                                      Sent from my iPhone

                                                       Begin forwarded message:


                                                              From: EM - Office of Student Financial Aid and Scholarships <sfa-
                                                              help@mail.ufl.edu>
                                                              Date: July 5, 2023 at 9:36:04 AM EDT
                                                              To: "Byun-Garson, Jiwon I." <jiwon.byungarson@ufl.edu>
                                                              Subject: 2023-24 Eligible NonCitizenship Determination [
                                                              ref:_00D412ElGo._5001K1FnuoE:ref ]


                                                              ?
                                                   Hello Jiwon,

                                                   We submitted the documentation you gave to us for your eligible non-citizenship status to the
                                                   Department of Homeland Security for their review to see if you are eligible for financial aid.
                                                   Unfortunately, based on their review of the documentation provided, you are not eligible for financial
                                                   aid with your current status. If in the future your status changes, please do not hesitate to reach out
                                                   to us so that we can resubmit and check to see if your new status would qualify.

                                                   While federal funding for your university endeavor, at least with your current immigration status, is not
                                                   available, there are many other options available to you. You can check out our scholarship page to
                                                   see if you qualify for any institutional or outside scholarships: http://www.sfa.ufl.edu/types-of-

https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194… 115/116
9/7/23, 1:45 AM     Case 1:23-cv-00272-MW-HTC                 Document
                            Excel Solutions, LLC Mail - Re: 2023-24            1-7 Filed
                                                                    Eligible NonCitizenship   11/15/23[ ref:_00D412ElGo._5001K1FnuoE:ref
                                                                                            Determination  Page 146 of 146               ]
                                                     aid/scholarships/

                                                     If you have any questions, please contact the UF OneStop at www.onestop.ufl.edu.

                                                     Regards

                                                     Marie Guerra Rosado
                                                     Student Financial Aid and Scholarships
                                                     Division of Enrollment Management

                                                     ref:_00D412ElGo._5001K1FnuoE:ref




    8 attachments




                            I797C_for_I-485.jpg
                            483K




        I94 - Official Website.pdf
        184K
        Parole_Stamp.pdf
        78K
        untitled.
        105K
        untitled.
        144K
        untitled.
        41K
        d7b16ecd-8043-4430-9c09-4a79d167af63.
        120K
        untitled.
        48K




https://mail.google.com/mail/u/0/?ik=cb2087cb94&view=pt&search=all&permthid=thread-f:1774598902119480241&simpl=msg-f:17745989021194… 116/116
